          Case 2:20-cv-02321-DJH Document 78 Filed 12/08/20 Page 1 of 2




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11
     Attorneys for Defendant Arizona Secretary of State Katie Hobbs
12
13                             UNITED STATES DISTRICT COURT
14                                  DISTRICT OF ARIZONA
15   Tyler Bowyer; Michael John Burke; Nancy             No. CV-20-02321-PHX-DJH
     Cottle; Jake Hoffman; Anthony Kern;
16   Christopher M. King; James R. Lamon; Sam
     Moorhead; Robert Montgomery; Loraine                DEFENDANT SECRETARY OF
17   Pellegrino; Greg Safsten; Salvatore Luke            STATE HOBBS’ NOTICE OF
     Scarmardo; Kelli Ward; and Michael Ward,            ERRATA TO HER MOTION TO
18                                                       EXCLUDE THE TESTIMONY AND
19                   Plaintiffs,                         REPORTS OF PLAINTIFFS’
                                                         EXPERTS (DOC. 65)
20   v.

21   Doug Ducey, in his official capacity as
     Governor of the State of Arizona; and Katie
22   Hobbs, in her official capacity as Arizona
     Secretary of State,
23
                     Defendants.
24
25   Maricopa County Board of Supervisors; and
     Adrian Fontes, in his official capacity as
26   Maricopa County Recorder,
27                   Intervenors.
28

     {00526538.1 }
         Case 2:20-cv-02321-DJH Document 78 Filed 12/08/20 Page 2 of 2




 1                   Defendant Secretary of State Katie Hobbs files this Notice of Errata submitting
 2   Exhibits 1-11 inadvertently not filed with her Motion to Exclude the Testimony and
 3   Reports of Plaintiffs’ Experts (Doc. 65).
 4
 5                   Respectfully submitted this 8th day of December, 2020.
 6                                                    COPPERSMITH BROCKELMAN PLC
 7
                                                      By s/ Roopali H. Desai
 8                                                          Roopali H. Desai
                                                            D. Andrew Gaona
 9                                                          Kristen Yost

10                                                    SUSMAN GODFREY L.L.P.
                                                           Justin A. Nelson
11                                                         Stephen E. Morrissey
12                                                         Stephen Shackelford
                                                           Davida Brook
13
                                                      Attorneys for Defendant Arizona Secretary of
14                                                    State Katie Hobbs
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     {00526538.1 }                                      -2-
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 1 of 261




                        EXHIBIT 1
  Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 2 of 261




                      IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF ARIZONA



TYLER BOYER, MICHAEL JOHN
BURKE, NANCY COTTLE, JAKE
HOFMAN, ANTHONY KERN,                                         CASE NO. 20:cv-2321
CHRISTOPHER M. KING, JAMES R.
LAMON, SAM MOREHEAD, ROBERT
MONTGOMERY, LORAINE
PELLEGRINO, GREG SAFSTEN,
SALVATORE LUKE SCARMARDO,
KELLI WARD and MICHAEL WARD,

                      Plaintiffs.
                                      v.

DOUG DUCEY, in his official capacity as
Governor of the State of Arizona, and
KATIE HOBBS, in her capacity as the
Arizona Secretary of State,

                             Defendants.



      EXPERT RULE 26(A)(2)(B) EXPERT DISCLOSURES AND FACT
                            WITNESSES




       COMES NOW Plaintiffs, Tyler Bowyer, Michael John Burke, Nancy Cottle, Jake

Hoffman, Anthony Kern, Christopher M. King, James R. Lamon, Sam Moorhead, Robert

Montgomery, Loraine Pellegrino, Greg Safsten, Salvatore Luke Scarmado, Kelli Ward, and

Michael Ward, by and through their undersigned counsel, and file Expert and Fact Disclosure:




                                               1
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 3 of 261




                   Experts anticipated for the Evidentiary Hearing:

   a. William Briggs, is an expert witness that provided a declaration and statistical

       analysis for the present matter. Attached is his expert report in the attached

       Declaration. (See Complaint Exh. 2 and 2A-F).


           i. Briggs’ original expert report includes the only charts that he may refer to
              in live testimony.

           ii. As stated in his expert report, the data relied on was created by Matt
               Braynard, and the topline reports of those data were attached as pdfs and
               submitted as part of his original report.

   b. Dr. Briggs’ rebuttal report in another case. (See Exh. 1, attached hereto).

   c. In his rebuttal report, Dr. Briggs states that his work is entirely pro bono.

   d. Attached is Dr. Briggs’ CV, which includes a publications list. (See Exh.2F to the
      Complaint).

       a. Dr. Briggs has submitted declaration in the Northern District of Georgia 20-

           cv-04809, ED Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.


2. Brian Teasley, is an expert witness that provided a declaration and statistical analysis
   for the present matter.

       a. His expert report is attached as Exh. 4 to the Complaint.

   e. Teasley’s’ original expert report, declaration includes the charts that he may refer

       to in live testimony.

   f. Mr. Teasley is appearing entirely pro bono.

   g. Attached is Brian Teasley’s CV is attached as Exh. 2, hereto.

   a. He has submitted declarations in the ED Michigan 20-cv-13134, ED Wisconsin

       20-cv-02321.

3. Russell James Ramsland, Jr.


                                         2
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 4 of 261




       a. Mr. Ramsland’s report is attached to the Complaint as Ex. 17.

       b. Mr. Ramsland’s CV is attached hereto as EX. 3, hereto.

       c. He has submitted declarations in the Northern District of Georgia 20-cv-

           04809; 20-cv-ED Michigan 20-cv-13134; ED Wisconsin 20-cv-0232.

4. Spider, whose identity is currently redacted for security reasons:

       a. His testimony will be based on his report currently attached to the Complaint

           as Exh. 12; and in the attached declarations, EX. 4.

       b. He is appearing pro bono, has not published in the prior 10 years.

       c. He has the following background: Education: Texas A&M associate degree

           in robotics and engineering; Associates Degree ITT Tech, Texas in network

           systems; Experience: US Army 305th Military Intelligence; US Army (other)

           US Intelligence Agencies; Freelance computer security consultant

       d. He has submitted declarations in the Northern District of Georgia 20-cv-

           04809, ED Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.



5. Declaration of Matthew Bromberg Ph.D

       a. Matt Bromberg’s report is currently attached as a Declaration to the Complaint

           as Exh. 19, which includes his background and CV information;

       b. He is appearing pro bono.

       c. He has submitted declaration in the ED Michigan 20-cv-13134, ED Wisconsin

           20-cv-02321.

6. Phillip Waldron. Mr. Waldron’s background and the basis of his testimony is

   attached. Ex. 5. He is not getting paid for his appearance.


                                         3
   Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 5 of 261




                                         Fact witnesses

   The following are fact witnesses that may be called at the hearing:


1. Anna Orth:
      a. Poll Observer
      b. Pima County
      c. 520-979-8330
      d. Anna Orth is anticipated testify to election violations she observed, including the

           disparate treatment of Republican observers deprived Republican voters of their

           rights to equal protection of the law and should nullify any presumption that

           election workers applied the law in a fair, impartial and objective manner.


2. Janese “Jan” Bryant:
      a. Poll Observer,
      b. Maricopa County
      c. 208-859-3394
      d. Janese Jan Bryant will testify to election violations she observed, including the

           disparate treatment of Republican observers deprived Republican voters of their

           rights to equal protection of the law and should nullify any presumption that

           election workers applied the law in a fair, impartial and objective manner.



3. Greg Wodynski:
      a. Digital Adjudication Observer
      b. Maricopa County
      c. 480-828-9425
      d. His declaration is attached to the Complaint as Exh. 22.

4. Les Minkas:
      a. Poll Observer
      b. Maricopa County
      c. 847-927-0856

5. Diane Serra:

                                            4
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 6 of 261




        a. Poll Observer
        b. Maricopa County
        c. 602-402-5836

        d. Her Declaration is attached to the Compl., Ex. 5.

6. Judith Burns: Poll Observer,
      a. Maricopa County
      b. 810-923-5984
      c. Her Declaration is attached to the Compl. At Ex. 21.


7. Kathleen Alvey:
      a. Poll Observer
      b. Pima County
      c. 520-829-2117
      d. Kathleen Alvey is anticipated to testify to election violations she observed,

            including the disparate treatment of Republican observers deprived Republican

            voters of their rights to equal protection of the law and should nullify any

            presumption that election workers applied the law in a fair, impartial and

            objective manner.


8.   Linda Brickman:
        a. Maricopa County,
        b. GOP Chair
        c. 602-330-9422
        d. Her Declaration is attached to the Complaint as Ex. 23.


9.   Mark Low:
       a. Poll Observer,
       b. Maricopa County
       c. 480-363-1154
       d. His Declaration is attached to the Complaint as Ex. 20.


10. Redacted Fact Witness, TM:
       a. Redacted witness TM’s Declaration is attached to the Complaint as Ex. 13.

     See Compl., Section I and Declarations attached thereto.


                                              5
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 7 of 261




   11. Senator Kelly Townsend:
         a. Senator in the AZ legislature
         b. Maricopa County
         c. kellyjtownsend@yahoo.com

          d. Senator Townsend is anticipated to information related to election violations.

   12. Redacted - Venezuela Smartmatic Affidavit 11.116.2020, attached as Ex. 1 to the

       Complaint.

   13. Joe Oltmann, his Declaration is attached to the Complaint as Exh. 6.Anna Mercedes Diaz

       Cardozo

   14. Anna Mercedes Diaz Cardozo, her Affidavit is attached to the Complaint as Exh. 8.

   15. Ronald Watkins, his Declaration is attached to the Complaint as Exh. 14.

   16. Jane Doe. (name redacted) Will testify about illegal ballots being shipped around the

       United States including to Arizona on or about before Nov. 3, 2020.

   17. Ryan Hartwig. Present at Phoenix airport and will testify about a suspicious airplane and

       activity at Phoenix airport on or around Nov. 3, 2020.




       Respectfully submitted, this 1st day of December 2020.




                                             /s Sidney Powell*
                                             Sidney Powell PC
                                             Texas Bar No. 16209700
2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
forthcoming




                                                6
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 8 of 261




Of Counsel:
Emily P. Newman (Virginia Bar No. 84265)
Julia Z. Haller (D.C. Bar No. 466921)
Brandon Johnson (D.C. Bar No. 491730)


2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
Forthcoming

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P.O. Box 52584
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Howard Kleinhendler
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                                           7
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 9 of 261




                       EXHIBIT 2
 Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 10 of 261
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 11 of 261
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Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 13 of 261
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 14 of 261




                        EXHIBIT 3
  Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
  Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 15 of 261




                                      Teasley
                        Using Data to Improve Your Marketing




                           Personnel Profile: Brian Teasley



Brian Teasley has over thirty years of experience solving problems in various industries.
His marketing experience includes work with numerous Fortune 100 companies.

Brian has worked for Sprint Integrated Marketing, Bronner, Slosberg and Humphrey
(now Digitas/Publicis), and USWeb/CKS/marchFIRST. Before starting Teasley, Brian
was SVP of Customer Analytics at Harmonic Communications (a Sequoia Capital
Company) in San Francisco.

His projects include work for:

Philip Morris, BASF, Sandvik Special Metals, Delco Batteries, Rosemount Aerospace
Engineering, FHP (California Healthcare), American Express, Business Week, Sears,
Federal Express, AT&T (local, long distance, wireless, Universal card), IBM, Kodak,
Enron, Braun, Cantel (Canadian Wireless), Mastercard, Walgreens, and Nabisco, the U.S.
Navy, HP, Prudential, Daimler/Chrysler and others

He has taught Business Statistics and Decision Science courses in the MBA programs of
Iowa State University, Baker University, and was a guest professor at American
University. He is a former adjunct faculty member at New York University (NYU).

He was awarded a U.S. patent - number: 20080774536 - for his “Location-based
Information Delivery System for Pedestrian Use” and is the inventor of the world’s first
handheld GPS tour guide system.

He has a M.S. degree in Applied Statistics from Iowa State University and a BA in
Mathematics and Statistics from St. Olaf College. He is also a member of Phi Beta
Kappa.




                                     © Teasley
                                    www.teasley.net
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                         EXHIBIT 4
    Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 17 of 261



                        Exhibit 3
              Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 18 of 261


Source 1

Subject Matter Expert
Computer Security/Analyst

Co-Founder/Executive of multiple technology focused companies in the areas of :

Government - Federal/State Contracts

Worked for one of the Top 10 GSA consulting companies as a software developer and software security
contractor for a large government agency.

Contracted to a large government agency in visualization and processing real-time ground-based sensor data
and management of radio packet modem communication systems.

Created a digital signature approval system for a large government agency.

Selected, tested, managed, trained and deployed a software tool for insider threat monitoring, identification
and tracking in a large government agency.

Co-Founder

Cyber Security & Government Consulting and commercial technology provider concentrating on sensor data,
mobile applications, video, security, and data processing.
A media company focused on generating insight into complex markets using live video, real-time alerts, in
depth searching capabilities, and analysis.
An advertising agency and data analytics company that created a system to purchase, track, and optimize tv,
radio and online advertising.
A robotics company focused on autonomous navigation in secure and dangerous environments.
A political tools consulting company focusing on communication, call to action systems, social outreach tools,
and marketing services. Provide real-time and historic election data with custom insight and metrics.
A clean energy technology consulting, advising, and solutions company focused on devices and data
visualization.
Executive
Consulting company focused on creation of secure intranet and extranet portals for large telecom hardware
manufacture, venture capital firms, and large state agencies. And oversaw security audits and ISO
certifications.
               Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 19 of 261


                               IN THE UNITED STATES DISTRICT COURT

                                               DISTRICT OF ARIZONA



TYLER BOYER, MICHAEL JOHN
BURKE, NANCY COTTLE, JAKE
HOFMAN, ANTHONY KERN,                                               CASE NO.
CHRISTOPHER M. KING, JAMES R.
LAMON, SAM MOREHEAD, ROBERT
MONTGOMERY, LORAINE
PELLEGRINO, GREG SAFSTEN,
SALVATORE LUKE SCARMARDO,
KELLI WARD and MICHAEL WARD,

                        Plaintiffs.
                                          v.

DOUG DUCEY, in his official capacity as
Governor of the State of Arizona, and
KATIE HOBBS, in her capacity as the
Arizona Secretary of State,

                                Defendants.



EXPERT RULE 26(A)(2)(B) EXPERT DISCLOSURES AND FACT WITNESSES




        COMES NOW Plaintiffs, Tyler Bowyer, Michael John Burke, Nancy Cottle, Jake Hoffman, Anthony

Kern, Christopher M. King, James R. Lamon, Sam Moorhead, Robert Montgomery, Loraine Pellegrino, Greg

Safsten, Salvatore Luke Scarmado, Kelli Ward, and Michael Ward, by and through their undersigned counsel,

and file Expert and Fact Disclosure:



        After a general election and recount, Joe Biden has been declared the winner of Arizona’s General

Election for President by a difference of 10,457 votes. But the vote count certified by defendants on November

30, 2020 fails to recognize the votes are steeped in fraud. Hundreds of thousands of votes counted toward Mr.

Biden’s final tally were the product of fraudulent, illegal, ineligible and outright fictitious ballots. Plaintiffs

support this claim through the evidence laid out in the Complaint which includes the following conclusions.

                                      Experts anticipated for the Evidentiary Hearing:
       Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 20 of 261


   a. William Briggs, is an expert witness that provided a declaration and statistical analysis for the

       present matter. Attached is his expert report in the attached Declaration. (See Complaint Exh.

       2 and 2A-F).


            i. Briggs’ original expert report includes the only charts that he may refer to in live
               testimony.

           ii. As stated in his expert report, the data relied on was created by Matt Braynard, and the
               topline reports of those data were attached as pdfs and submitted as part of his original
               report.

   b. Dr. Briggs’ rebuttal report, in this matter. (See Exh. 1, attached hereto).

   c. In his rebuttal report, Dr. Briggs states that his work is entirely pro bono.

   d. Attached is Dr. Briggs’ CV, which includes a publications list. (See Exh.2F to the Complaint).

       a. Dr. Briggs has submitted declaration in the Northern District of Georgia 20-cv-04809, ED

           Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.


2. Brian Teasley, is an expert witness that provided a declaration and statistical analysis for the present
   matter.

       a. His expert report is attached as Exh. 4 to the Complaint.

   e. Teasley’s’ original expert report, declaration includes the charts that he may refer to in live

       testimony.

   f. Mr. Teasley is appearing entirely pro bono.

   g. Attached is Brian Teasley’s CV is attached as Exh. 2, hereto.

   a. He has submitted declarations in the ED Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.

3. Russell James Ramsland, Jr.

       a. Mr. Ramsland’s report is attached to the Complaint as Ex. 17.

       b. Mr. Ramsland’s CV is attached hereto as EX. 3, hereto.

       c. He has submitted declarations related to the claims in the Northern District of Gerogia 20-

           cv-04809, ED Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.

4. Spider, who’s identity is currently redacted for security reasons:
          Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 21 of 261


           a. His report is currently attached to the Complaint as Exh. 12. And in the attached in the

               attached declarations.

           b. He is appearing pro bono.

           c. He has the following background: Education: Texas A&M associate degree in robotics and

               engineering; Associates Degree ITT Tech, Texas in network systems; Experience: US

               Army 305th Military Intelligence; US Army (other) US Intelligence Agencies; Freelance

               computer security consultant

           d. He has submitted declarations related to the claims herein in the Northern District of

               Gerogia 20-cv-04809, ED Michigan 20-cv-13134, ED Wisconsin 20-cv-02321.



   5. Declaration of Matthew Bromberg Ph.D

           a. Matt Bromberg’s report is currently attached as a Declaration to the Complaint as Exh. 19,

               which includes his background and CV information;

           b. He is appearing pro bono.

           c. He has submitted declaration in the ED Michigan 20-cv-13134, ED Wisconsin 20-cv-

               02321.

                                                Fact witnesses

   The following are fact witnesses:


1. Anna Orth:
      a. Poll Observer
      b. Pima County
      c. 520-979-8330
      d. Anna Orth is anticipated testify to election violations she observed, including the disparate

           treatment of Republican observers deprived Republican voters of their rights to equal

           protection of the law and should nullify any presumption that election workers applied the law

           in a fair, impartial and objective manner.


2. Janese “Jan” Bryant:
      a. Poll Observer,
      b. Maricopa County
           Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 22 of 261


        c. 208-859-3394
        d. Janese Jan Bryant will testify to election violations she observed, including the disparate

           treatment of Republican observers deprived Republican voters of their rights to equal

           protection of the law and should nullify any presumption that election workers applied the law

           in a fair, impartial and objective manner.



3. Greg Wodynski:
      a. Digital Adjudication Observer
      b. Maricopa County
      c. 480-828-9425
      d. His declaration is attached to the Complaint as Exh. 22.

4. Les Minkas:
      a. Poll Observer
      b. Maricopa County
      c. 847-927-0856

5. Diane Serra:
      a. Poll Observer
      b. Maricopa County
      c. 602-402-5836

        d. Her Declaration is attached to the Compl., Ex. 5.

6. Judith Burns: Poll Observer,
      a. Maricopa County
      b. 810-923-5984
      c. Her Declaration is attached to the Compl. At Ex. 21.


7. Kathleen Alvey:
      a. Poll Observer
      b. Pima County
      c. 520-829-2117
      d. Kathleen Alvey is anticipated to testify to election violations she observed, including the

           disparate treatment of Republican observers deprived Republican voters of their rights to equal

           protection of the law and should nullify any presumption that election workers applied the law

           in a fair, impartial and objective manner.


8.   Linda Brickman:
        a. Maricopa County,
        b. GOP Chair
        c. 602-330-9422
        d. Her Declaration is attached to the Complaint as Ex. 23.
              Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 23 of 261



   9.   Mark Low:
          a. Poll Observer,
          b. Maricopa County
          c. 480-363-1154
          d. His Declaration is attached to the Complaint as Ex. 20.


   10. Redacted Fact Witness, TM:
          a. Redacted witness TM’s Declaration is attached to the Complaint as Ex. 13.

        See Compl., Section I and Declarations attached thereto.

   11. Senator Kelly Townsend:
          a. Senator in the AZ legislature
          b. Maricopa County
          c. kellyjtownsend@yahoo.com

           d. Senator Townsend is anticipated to information related to election violations.

   12. Redacted - Venezuela Smartmatic Affidavit 11.116.2020, attached as Ex. 1 to the Complaint.

   13. Joe Oltmann, his Declaration is attached to the Complaint as Exh. 6.Anna Mercedes Diaz Cardozo

   14. Anna Mercedes Diaz Cardozo, her Affidavit is attached to the Complaint as Exh. 8.

   15. Ronald Watkins, his Declaration is attached to the Complaint as Exh. 14.




        Respectfully submitted, this 1st day of December 2020.




                                              /s Sidney Powell*
                                              Sidney Powell PC
                                              Texas Bar No. 16209700
2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
forthcoming
              Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 24 of 261


Of Counsel:
Emily P. Newman (Virginia Bar No. 84265)
Julia Z. Haller (D.C. Bar No. 466921)
Brandon Johnson (D.C. Bar No. 491730)


2911 Turtle Creek Blvd, Suite 300
Dallas, Texas 75219

*Application for admission pro hac vice
Forthcoming

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GA Bar No. 774588
L. LIN WOOD, P.C.
P.O. Box 52584
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Howard Kleinhendler
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Howard Kleinhendler Esquire
369 Lexington Avenue, 12th Floor
New York, New York 10017
(917) 793-1188
howard@kleinhendler.com
              Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 25 of 261



CERTIFICATE OF SERVICE

       This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Motion To File Affidavits

Under Seal and For In Camera Review with the Clerk of Court using the CM/ECF system, and that I have

delivered the filing to the Defendants by email and FedEx at the following addresses:
                Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 26 of 261


                                   SOURCE 4
           OPEN SOURCE INTELLIGENCE OFFICER – Allied Security Operations Group



INTELLIGENCE ANALYST
  Trained intelligence analyst with over 10 years professional experience conducting civil
  and criminal investigations. Transform raw data into actionable intelligence by utilizing
  modern reporting tools and data visualization techniques. Leverage open/closed source
  intelligence to research, analyze and extract decision-useful information to create
  comprehensive behavior, reputation and threat assessments for individuals and entities.

AREAS OF EXPERTISE
                  Open/Closed Source Intelligence                                     Intelligence Systems/Databases
                         Threat Assessments                                           Data Analysis and Visualization
                Due Diligence Analysis and Reporting                                   Creating/Filing Court Exhibits
                      Criminal Investigations                                       Indexed/Non-Indexed Web Queries


                                       PROFESSIONAL EXPERIENCE Previous to ASOG

      TheAkeeliGroup, Houston1 TX                                    I                                        September 2018-2019
  SR, INTELLIGENCE ANALYST

  Provide extensive behavior, lifestyle and reputation assessments for corporate clients.
  Perform due diligence analysis and social link analysis using open source collection
  methodologies.
  •    Conduct in-depth investigations of individuals, and corporations using OSINT techniques, proprietary databases, analyst
       software, and data visualization software; Utilize link analysis to provide actionable intelligence analyses for clients.
  •    Develop and execute OSINT, digital vulnerability and cyber security training for C-suite executives.
  •    Domestic and global investigations that gatherunique data going beyond traditional searches, exploiting
       metadata, postings that are tangential to the ultimate subject of inquiry and data sets
       not indexed by traditional
       search engines.
  •    Utilize intelligence sources include the deep web, dark web, social media sites, news organizations, proprietary databases,
       .and private investigative databases.

  Social Surveillance, Houston, TX
  FOUNDER AND SR. INTELLIGENCE ANALYST
                                                                 I                                             January 2017-Present


  Launched a social media and investigative consultancy for professional sports
  franchises. Provide specialized investigations and training to meet the growing need for
  enhanced due diligence using Open Source Intelligence. Licensed training school
  #Y05219201 (TX); Licensed Private Investigator #00352311 (TX).
  •    Conduct in-depth investigations of individuals, corporations, and criminal enterprises using OSINT techniques, closed-
       source databases, and analyst software; Utilize link analysis software to provide actionable intelligence reports for clients;
       Licensed Investigation Agency.
  •    Develop and execute OSINT training courses and cyber security training for law enforcement, executive protection
       agencies, and business leaders.
  •    Consult for NFL teams on issues concerning security', privacy, and reputation management.
  •    Monitor and analyze a broad range of social media platforms for threats and/or changes in public sentiment pertaining
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    to events, organizations and/or high-profile individuals.

North central Texas Fusion Center, M cKinney, TX                      July 2013-January 2014
INTELLIGENCE ANALYST

Served as an Intelligence Analyst and supported the Collin County Sheriff’s Office
Crimes Against Children Taskforce with investigation and prosecution of sex crimes
and the planning and development of intelligence reports and products.
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•    Developed instructions, guides, and manuals in line with dissemination standards and
     methods dealing with conventional intelligence problems, questions, and situations.
•    Evaluated and interpreted incoming intelligence reports and information related to terrorism,
     actual or potential threats against critical infrastructure, counterterrorism, counterintelligence,
     and other issues of strategic and tactical importance.
•    Planned and conducted public meetings, briefings, and other activities in support of the Fusion
     Center to provide the dissemination of key intelligence information to federal and local law
     enforcement agencies.

Kina County Prosecutor's Office, Seattle, WA
                                                                                                     Januar
y 2006-August 2013
LEGAL SPECIALIST                                               I
Served as Legal Specialist Ill within the King County Prosecutor’s
Office, managed junior analysts as head of the Sexually Violent
Predators division of Criminal Justice Internship at King County
Prosecutor's Office.
•    Led four staff interns with full responsibility for onbjo1arding, managing and training and
     supervision of day-to-day wort< and execution of long-term projects
•    Managed and analyzed confidential materials include victim data, surveillance, criminal histories,
     and police
     evidence; searched for and tracked witnesses, victims, and offenders
     across the nation
•    Provided Investigative and trial support for nine attorneys and three paralegals; assembled briefs and
     exhibits for

     filings in County Court, Court of Appeals, State Superior Court and
     Federal Courts
•    Developed presentation and facilitated training to over 500 employees on new electronic
                                                I
     filing systems and implementation of new processes and procedures
•    Collaborated with attorneys and paralegals in all phases of Sexually Violent Predator
     Commitment trial preparation, from initial investigation to final disposition       .
•    Drafted subpoenas, declarations and correspondence ensured compliance with Civil Rules of
     Procedure and
     Local Court Rules; scheduled dispositions, court reporters and
     testimony providers such as Expert Sex Offender Treatment Providers
     for availabilities
•    Compiled thousands of pages of data and evidence (e.g. redacted, enhanced and edited
     surveillance video, interviews and phones calls) for relevant case and court file purposes
•    Developed innovative ways to incorporate various media platforms such as video, phone,
     maps and analytic software for court exhibits and evidence


                                             EDUCATION

                    Master of Science (MS) - Justice, Administration and Leadership
                                  University of Texas, 2015
                                  Cumulative GPA: 3.9/4.0
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                                           Bachelor of Arts
                                           (BA) - Criminal
                                               Justice
                                            University of
                                             Washington,
                                           2007 Cumulative
                                            GPA: 3.9/ 4.0
                 Graduated with Honors, Dean's list (4 times)

                                      TECHNICAL SKILLS
•    Certifications (ICS 100, 200 and 700);
•    Michael Bazzel Open Source Intelligence Systems Training Certificate.
•    Thomson Reuters CLEAR investigative research and risk management software
•    Transunion TLOxp investigative research and risk management software
•    Maltego and Analyst Software Packages (Analyze intelligence and construct criminal cases);
•    Open Source Intelligence Analysis (Locate targets and build suspect target packages from any location)
•    Web-Based Applications (Facebook, LinkedIn, Twitter);
•    Microsoft Office (Microsoft Word, PowerPoint, Excel, Outlook)
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                        EXHIBIT 5
  Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
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                        Exhibit 4
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Declaration of NAME {redacted}.
Pursuant to 28 U.S.C Section 1746, I, {redacted}, make the following declaration.

1. I am over the age of 21 years and I am under no legal disability, which would prevent me
   from giving this declaration.
2. I was an electronic intelligence analyst under 305th Military Intelligence with experience
   gathering SAM missile system electronic intelligence. I have extensive experience as a white
   hat hacker used by some of the top election specialists in the world. The methodologies I
   have employed represent industry standard cyber operation toolkits for digital forensics and
   OSINT, which are commonly used to certify connections between servers, network nodes
   and other digital properties and probe to network system vulnerabilities.
3. I am a US citizen and I reside at {redacted} location in the United States of America.
4. It can be seen using open source methodology that the SSL certificates from
   *.dominionvoting.com were registered on the 24th of July 2019. This SSL certificate were
   used multiple times from locations ranging from Canada, Serbia, and the United States.
   These images verify that Dominion systems were connected to foreign systems across the
   globe. Also seen is that the SSL certificate is used for the email server that was the same for
   the secure HTTP connections.
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              443.https.tls.certificate.parsed.fingerprint_sha256:
   8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 34 of 261




All share:

443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 35 of 261




Email ip address

206.223.168.94

Serbian ip address

82.117.198.54

Dominion site

204.132.219.214

Cloudflare link

104.18.91.9

Canadian ip address

206.223.190.85

Denver ip address

204.132.121.11
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 36 of 261




Page: 1/1 Results: 7 Time: 155ms
206.223.168.94 (webmail.dominionvoting.com)
BEANFIELD (21949) Toronto, Ontario, Canada
443/https
*.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
82.117.198.54
SERBIA-BROADBAND-AS Serbia BroadBand-Srpske Kablovske mreze d.o.o. (31042) Kac,
Vojvodina, Serbia
443/https
*.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
204.132.219.214
CENTURYLINK-US-LEGACY-QWEST (209) United States
443/https
*.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
104.18.91.9
CLOUDFLARENET (13335) United States
443/https, 80/http, 8080/http
Direct IP access not allowed | Cloudflare *.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
104.18.90.9
CLOUDFLARENET (13335) United States
443/https, 80/http, 8080/http
Direct IP access not allowed | Cloudflare *.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
206.223.190.85 (206-223-190-85.beanfield.net)
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 37 of 261




BEANFIELD (21949) Toronto, Ontario, Canada
22/ssh, 443/https
*.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c
204.132.121.11 (204-132-121-11.dia.static.qwest.net)
CENTURYLINK-US-LEGACY-QWEST (209) Denver, Colorado, United States
21/ftp, 22/ssh, 443/https, 80/http
DVS Fileshare *.dominionvoting.com, dominionvoting.com
443.https.tls.certificate.parsed.fingerprint_sha256:
8f73a14d5f0fc10ebfa3086a99b9e7a550e822c71d762e627b73d12e5f1b8b9c


I declare under penalty of perjury that the forgoing is true and correct to the best of my
knowledge. Executed this November 23th, 2020.
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Declaration of NAME {redacted}.
Pursuant to 28 U.S.C Section 1746, I, {redacted}, make the following declaration.

5. I am over the age of 21 years and I am under no legal disability, which would prevent me

   from giving this declaration.

6. I was an electronic intelligence analyst under 305th Military Intelligence with experience

   gathering SAM missile system electronic intelligence. I have extensive experience as a white

   hat hacker used by some of the top election specialists in the world. The methodologies I

   have employed represent industry standard cyber operation toolkits for digital forensics and

   OSINT, which are commonly used to certify connections between servers, network nodes

   and other digital properties and probe to network system vulnerabilities.

7. I am a US citizen and I reside at {redacted} location in the United States of America.

8. The following link analysis was gathered through open source methodologies and are easily

   verifiable.

9. As Dominion and Smartmatic makes claims that they are not connected in any way, not only

   are they connected but their business registration was in the same building on a foreign island

   to obfuscate their business dealings.
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https://offshoreleaks.icij.org/nodes/101732449
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https://offshoreleaks.icij.org/nodes/101724285
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 41 of 261




I declare under penalty of perjury that the forgoing is true and correct to the best of my
knowledge. Executed this November 23th, 2020.
      Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 42 of 261




                              Smartmatic SSL Certificate
Declaration of NAME {redacted}.
Pursuant to 28 U.S.C Section 1746, I, {redacted}, make the following declaration.

10. I am over the age of 21 years and I am under no legal disability, which would prevent me
   from giving this declaration.
11. I was an electronic intelligence analyst under 305th Military Intelligence with experience
   gathering SAM missile system electronic intelligence. I have extensive experience as a white
   hat hacker used by some of the top election specialists in the world. The methodologies I
   have employed represent industry standard cyber operation toolkits for digital forensics and
   OSINT, which are commonly used to certify connections between servers, network nodes
   and other digital properties and probe to network system vulnerabilities.
12. I am a US citizen and I reside at {redacted} location in the United States of America.
13. Researching Smartmatic’s website and reading their public manuals about the reuse of SSL
   certificate’s, I started to investigate Smartmatic’s SSL certificates. Upon searching their
   website is currently behind Cloudflare yet using the same SSL certificate it made it easy to
   locate where Smartmatic’s website was located. Smartmatic’s website is in the Philippine’s
   on their Election commission’s server (Comelec.gov.ph).
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14. As can be seen in the images above the SSL certificate used was registered by the email address
    jesus.suarez@smartmatic.com on the 9th of April 2016.
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Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 49 of 261
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15. As seen from Jesus’ LinkedIn profile, he was employed by Smartmatic as their Master Information
    Security Specialist from August 2008 – March 2017, within the time frame of the registered SSL
    certificate for Smartmatic and within Venezuela.
16. This evidence shows that Smartmatic was indeed connected to Venezuela as well as shows that their
    dealings with the Philippine’s is still on-going as their website is in their election commission servers
    with matching and current SSL certificates.



I declare under penalty of perjury that the forgoing is true and correct to the best of my
knowledge. Executed this November 23th, 2020.
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                      EXHIBIT 6
Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
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Arizona State Legislature Holds Public Hearing on 2020 Election.mp4

The scanners to process ballots and upload. So basically it's a signal of a potential anomaly
where we would want to go in and do forensic analysis on the ballots that were processed in
those batches to analyze the way that these systems work is that you can run votes and run
votes and run votes.

And if you get write in ballots or error ballots, it just accumulates them into a batch file. And
there may be, you know, 2000, 3000, 4000, [00:00:30] 5000 votes in this batch file. And then
the administrator or the tabulator can file and they they send it in and it records those votes in
the user's manual. There's, you know, ways that it shows that the administrator can vote that
batch, you know, 80 percent, 20 percent, 100 percent. However the the administrator chooses.
And that basically is a tool to to allow them to move votes through the system faster. [00:01:00]

So Arizona was was a little bit different. It had a pretty strong rise up right up at the front, the
first part of voting day. Whereas the other states and I can show you those have a gradual
increase in votes. And this may have been due to the fact that Arizona allowed early counting
and tabulation so those batch files could have been dropped in right away.

But this injection spike at eight six [00:01:30] forty eight p.m. and this is adjusted from Zulu
time. So this is one hundred and forty three thousand one hundred votes that were injected
that was in excess of what the machines could have processed. The real reason that we believe
that this spike was a little bit of an anomaly.

And I should show the email that was sent to the Arizona legislature forcer. [00:02:00]

Yes.

So this was an anonymous email that was sent to all members of the Arizona legislature. And it
was also sent to DOJ, this individual sent the email, wanted to remain anonymous, but had
enough [00:02:30] concern that he sent this to the criminal division at the U.S. Department of
Justice. He did not want to be included in the investigation, but the information that they
recorded was what we would like the opportunity to investigate on your behalf or a forensics
team of your choosing.

That doesn't matter to us, but says that please be advised that Pima County recorder located a
240 Norristown Avenue, Tucson, Arizona, in [00:03:00] Pima County, Arizona, and the
Democratic Party added fraud votes in the initial count to the vote by mail totals released at
8:00 p.m. on November 3rd, 2020. So this coincides with what we observed in the data
analytics at that date, that that spike. We weren't aware of this until this email, until after the
fact. So there were approximately 35000 fraud votes added to each Democratic candidates
vote totals. Candidates impacted [00:03:30] include county, state and federal election
candidates through the utilization of the automated ballot count machines and Pima County
elections, which were not dominion, but they had the same pretty much functionality. My
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understanding is that 35000 was embedded into each Democrat vote totals below where the
meeting notes in a meeting I was invited to by the Democrat Party in Pima County, Arizona, on
September 10th, 20 20 no phones or recording devices were allowed. A presentation was given,
including detailed plans to embed [00:04:00] 35000 in a spread configured distribution to each
Democrat candidates vote totals. When I ask how in the world that will 35000 votes be kept
hidden from being discovered, it was stated that spread distribution will be embedded across
the total registered voter range and will not exceed the registered vote count. And the 35000
was determined allowable for Pima County based on our county registered vote count. It was
also stated that total voter turnout versus total registered voters [00:04:30] determine how
many votes we can embed.

This embedding will auto adjust based on voter turnout. Because the embed votes are
distributed sporadically, all embedded votes will not be found if audited because the embeds
are in groups of approximately one thousand. This is so county report can declare an oversight
issue or error as groups of 1000 is a normal and acceptable error. So if you believe that you're
one vote counts for one vote, this is. Maricopa [00:05:00] County embed totals will be
substantially higher than Pima due to imbeds being calculated based on the total number of
registered voters. When I ask, has this ever been tested and how do we know it works? The
response was, yes, this has been tested and has shown significant success in Arizona, judicial
retention, elections since 2014, even undetectable, and post audit because no candidate will
spend the kind of funds needed to audit and contact voters to verify votes and [00:05:30] the
full potential of total registered voters, which is more than 500000 registered voters this year.
Our Secretary of state has removed precinct level detail for election night releases so
candidates can't see precinct overvotes. This is what I have for the meeting. Just thought I'd
report this. Not sure if you can do anything since I was unable to have a recording device in the
meeting. Again, we hope this individual would we come forward and issue this as an affidavit.
But this [00:06:00] is significant.

And we also noted that the reporting numbers from Pima and Maricopa County merged
Election Day votes with right. And votes with absentee ballots. So there's no way to in the
publicly available data to pass those votes into into the segments. And I believe we noted in the
piece of information that was provided view that Maricopa [00:06:30] County had a one point
nine million mail in ballot request. So and those there was a Maricopa County official on
videotape that did say that they did not validate the signatures on the right and ballots this
year.

So that's a one point nine million vote fraud potential, even if it's zero point one percent of the
vote. There's [00:07:00] a lot of room for error.

Can we just review that quickly for one second so we get it right? Ladies and gentlemen, please.
I know that you're passionate about this, but there are a lot of people in this world that want to
hear this. And if we can't hear the witnesses over remarks, that deprives people of hearing the
truth.
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So what I take from your testimony, Colonel, is that 35000 votes were embedded [00:07:30] for
each Democratic candidate in Pima County. Correct. That is that is the allegation of this email
allegation by the gentleman who hasn't given us an affidavit. Correct. That they were
distributed based on the voter turnout carefully so they wouldn't look suspicious. That's
correct. And that's essentially what the Dominion Smartmatic. And that's that's essentially their
modus operandi. Right, that that's there. They don't just put in 10000 [00:08:00] votes. They
put it in carefully.

So it's hard to detect. They move the algorithms around to different precincts until they get the,
uh, the aggregate number that they want and need. And then they shift the algorithms to, uh,
to other precincts.

Did the Democratic candidates who got the benefit of those 35000 false votes include Biden
and Harris?

According to this email, it was all local and federal races. [00:08:30]

So if that were true, then the result of the election is totally opposite the one that they're so
anxious to certify, correct?

Yes, sir.

Now and again, this is what you said to every Arizona legislature, that now we don't know if the
gentleman is telling the truth or not. Correct.

But would it be possible if you had the machines in [00:09:00] Pima County to be able to see if
there's evidence of this?

In order to do that, there would have to be a full forensic audit from the the USB that drives the
voting to the PCMCIA, CIA cars, to the tabulators, to the rooters.

I'm just asking, could it be done if you if you had the will to do it? Yes, sir. If you wanted to find
out if the vote in Pima County were honest or not, wouldn't you do it? Yes, sir. And without
doing it, you really have no idea. That's [00:09:30] correct. And the machines you used in in
Pima County are different. But are they that much more secure?

These systems, these they all have similar vulnerabilities. Our team focused on Dominion. The
are our partner team focused on S.A.S., and they're they're very similar as far as vulnerabilities.

Now, did he say anything that suggests the same thing happened in Maricopa County?

This gentleman [00:10:00] appeared to be a an I.T. specialist in Pima County, so he only wrote
allegedly to what he observed.
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And do we have any knowledge that anyone from the state of Arizona attempted to look for
him?

I believe the legislators, some of the legislators did try to to locate this gentleman.

Anybody from law enforcement.

Not [00:10:30] that I'm aware of, but again, I'm I'm not law enforcement, so I'm not sure, but
even if you can't find him, you could determine the validity of this or maybe determine the
validity of this by doing a forensic audit. Correct. There's a there's an available scientific tool
that would tell you I mean, did Biden get 35000 phony votes?

That's correct, and it's not being utilized, [00:11:00] as far as you know, by the state of Arizona,
Pima County, I believe that total vote total was less than less than a million and in Pima County,
so it would it would be possible and feasible to do a full audit about audit. And I also was
informed that your state, through the the Counterterrorism Information Center and the DPS
here in Arizona, [00:11:30] do have the capability to analyze and validate ballots for INQ
consistency. So if there were mass produced ballots in Maricopa County that were stuffed, your
DPS, I've been informed, has the capability to analyze those ballots for paper consistency and
inconsistency. So if there were mass produced ballots, you could determine that on your own.

Excuse me, Colonel. So I think what you're saying, and I'm going to repeat this back to you,
[00:12:00] these might be preprinted ballots to simply move through the system. Is that what
you're suggesting?

There are indications we have affidavits from Pennsylvania that there were ballots that were
prepositioned in a bobtail trailer, a tractor trailer truck, and that these ballots were the thought
was if this was a cache, that they could go and grab the amount of ballots they needed and take
them to the specific tabulation centers. And [00:12:30] that's an affidavit that's from from our
Pennsylvania, where currently a.

So repeat one more time the piece of information then I think people were shocked about
because it is hard to believe. Did you say that a Pima County official said that they didn't
validate any of the mail in votes?

That was Maricopa Maricopa. They didn't validate the signature. They didn't validate the
signatures [00:13:00] on the mail in ballots.

And that's one point nine million. Correct. And do we know who that is? I would have to get the
video. Well, could you get it for us? Oh, yes, sir. Now, you have to do it right now before the
end of the year.

That would render every one of the one point nine million votes that absolutely never checked
for fraud, deceit, mistake, and if their mailman votes, that can't be done. Now, [00:13:30]
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they've been separated from the envelope, correct? Would indicate. So those are basically one
point nine million votes that are illegal votes or that had the potential to be illegal votes that
weren't validated the signatures, what can we can we determine now if any of them are legal or
illegal?

If the envelopes were separated from the ballots, there would be no way to tell. A ballot
[00:14:00] for candidate, you could still go back and look at the envelopes to validate the
signatures, but you wouldn't know what the ballot and that's the reason you're supposed to
have an observer when you do that. That is that is part of the chain of custody procedures, I
believe, in Arizona.

And when they talk about chain of custody, after they're talking about. Right. Correct. Because
a lot of witnesses are going to talk about that . So let's just sum up a few of the things that you
also found. Tell us about the green button in Maricopa County [00:14:30] on the machine. And
there is one witness that's going to testify that all day she saw election officials constantly
pressing the green button when somebody was vot ing.

So what what that was when the voter wasn't sure. And I believe this was also linked to another
witness that's going to talk about with the differences in the pens and the sharpies that the
Maricopa elections division in early voting, [00:15:00] they specified that only use ballpoint
pens for voting. And on Election Day, they specified only use sharpies. And the idea is that as
the bleed through on the ballot, as the scanners would cause an error and an error ballot by
creating the error ballot, the election officials basically would slide those votes into a batch file
that could be adjudicated by the election administrator or the operator. [00:15:30] And the the
green button was to say, OK, there's an error, but go ahead and push cast ballot. And it punches
that into into an error file that can be adjudicated by the election administrator.

Now, you examined the voter database and your team did say or you examined the voter
database, you and your team, those were actually some local Arizona folks that examined that.
[00:16:00] So you took that from, I suppose, great data. Oh, I see. OK. He spoke directly to local
investigators here. And you have here voter database discrepancies, 6000 voters at least
entered into a database with no sex and default date of birth. And they're nonexistent in Lexis
Nexis.

Correct. And I believe there will be a witness to to discuss that later this morning.

So [00:16:30] unless those can be those can be discovered, those votes would have to be would
have to be eliminated.

Correct. And it was explained to me that the way that happens is that they you can register
online for a driver's license at the same time, you can register for voter registration. But the
driver's license doesn't require the same information as the voter rolls. And so those kind of go
into a queue that the secretary of state would approve for the voter rolls over time. But
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[00:17:00] there appear to be 6000 voters there on the voter rolls and the voter database with
no sex and a default date of birth.

So whenever they entered zero one zero one, you know, nineteen hundred or whatever that
date was, they also discovered over 2000 votes that used a false address and address of a
vacant lot. Correct.

You already told us about the 1915 487 mail in votes that [00:17:30] were not verified with
regard to signature in Pima County. In Maricopa County. Correct. Also in Pima and Maricopa
County, Republican poll watchers were very often forced to stay inside, outside and unable to
view the vote process.

Correct.

Is there an estimate of the number of illegal immigrants that voted in in the election? Has
anyone done an estimate [00:18:00] of that?

The American Immigration Council suggests that there are about three hundred thousand
ineligible voters. And then the, uh, one of the local newspaper reported that there were
another three hundred and.

12000, I believe, nine incarcerated felons and other illegal other ineligible voters as any attempt
being made to investigate that, to determine if they [00:18:30] can locate a sufficient number
of illegal immigrants voting illegally, that would have a bearing on the outcome of the election.

That would really be done by the, you know, the county election.

But has it been done or not? They're going to certify the vote apparently without doing it.

I'm not I'm not aware if it would be you'd have to be an idiot not to think that illegal aliens,
immigrants voted. Right. It's very possible. How many are there in [00:19:00] Arizona?
Approximately anybody's guess. But what's the lowest number?

Anybody help me with that and for the the local legislatures, five million, four million, I wish we
knew, sir. I wish we knew.

Mr. Chairman, what's the lowest number we could represent?

Mr. Chairman, my colleague, Representative Townsend, I have had several discussions
[00:19:30] over the past few weeks about that number, and she could provide that to Mr.
Giuliani.

Mr. Chairman.
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Mr. Chairman, thank you. And Mr. Giuliani, Mayor Giuliani, I. I can't tell you how many people
are in this state that are potentially can vote illegally as an illegal alien. But I can tell you that
there is a way for them to vote under the federal only voter program, meaning that someone
here illegally or a fake [00:20:00] name, anybody that can put together a voter registration card
with a fake name or if they're not eligible to vote and are not in the lnvid system here in
Arizona when they register to vote. If they're not found in the MVD system, the DMV system,
they're not there, then they're contacted to see, do you have a birth certificate? You have
anything to prove your citizenship. When they don't answer, then their name is relegated to the
federal only voter list, which there's 36000 in the state of Arizona, [00:20:30] of people who
can't prove their citizenship, can't prove they exist other than when they show up to Election
Day. All they have to do is show their bank statements, their title to their car, anything you can
reproduce on your own computer with your fake name on there or whatever. And until a bank
statement and you get a ballot and you can vote for president and your congressperson and
senator. So up to 36000 plus people in Arizona could potentially vote. And I do have the
numbers of who [00:21:00] has voted in Maricopa County is 4100 of the true federal only and
another 4000 that are out supposedly out of state. So those alone haven't been researched
deeply enough to know does that name even exist as a person and are they here? Is that
someone here who's here illegally or not? So we don't know upwards of 8000 people in
Maricopa County alone who have cast a ballot who weren't able to.

Well, [00:21:30] that's pretty astonishing. So I will say I may be wrong, but let's say there were
five million illegal aliens in Arizona. It is it's beyond credulity that a few hundred thousand
didn't vote, particularly given Representative Townsend's explanation that there's an
encouragement that goes on to have them vote.

Now, every one of those votes would be an illegal [00:22:00] vote. Every one of those votes
denies a lawful voter of their franchise just wiped it out. Has there been any attempt to try and
investigate that after the election, even on a sample basis, like going to a district where there
are a large number of possible illegal aliens and go back, check the names and see where their
5000 were there, 10000 [00:22:30] or 20000? Has there been even an attempt to do that? Sure.
None that I'm aware of.

I mean, I think you can I can I speak to that mayor, please? Yes, please.

So we put in two years ago, we put in an election integrity unit in the attorney general's office.
And I've been on the phone with them, asking them, what are they going to be doing? How can
they look into this? And they told us that they don't have the authority to go out and look for
crime. They have to have it presented to [00:23:00] them so they can't go out and do an audit.
They can't go out and and actively research this. I also was told the same thing by the Board of
Supervisors, that they cannot perform an audit above and beyond what's already been done.
That's in statutes. So all we're really left with that I'm aware of is having and as much as I
appreciate this forum today and I'm very grateful for you, we need an actual committee hearing
like on the chair of the elections committee. If we were to hold an actual committee hearing,
we would have subpoena power [00:23:30] to go and look at the machines. So look at these
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things, you know, and inspect them and get down to it so we can do an audit. We just need to
conduct a committee hearing to give us that subpoena power to be able to do so.

Mr. Julian, so when when this vote is certified, if that's not done, there is no question, any
reasonable person's mind that the vote totals contain large numbers of illegal votes. From
[00:24:00] people who are not citizens of the United States, the question is how many? And the
officials certifying have made no effort to find out the truth, which seems to me gives the state
legislature a perfect reason to take over the conduct of this election because it's being
conducted irresponsibly and unfairly. Why [00:24:30] and why and why doesn't your state
legislature exercise its responsibility under the Constitution for.

Mr Giuliani, that that is the essential question that we are here to ask now any anything else,
Colonel, you did a great job.

He's available for any more questions if you are done.

If [00:25:00] you're done, Mr Giuliani. We do have a number of questions from the panel
members for you, sir. Good. Yes, sir. Right. The first thing I'd like to ask is you spoke on system
capability. And I know that much has been made of the excoriation of the state of Texas on the
Dominion equipment, software and all that. Can you provide just a very short comment on
what [00:25:30] why they said not only are we not recommending as we're prohibiting the use
of this equipment in our state of, in a nutshell, vulnerabilities that were issued, not addressed
or not fixed.

There were too many system vulnerabilities.

Ok, and you also referenced a comment about OHS, and I'm struggling. Why did OHS say
security for this election was the best? Did it ever been? Do [00:26:00] you have any insight into
that?

And my experience in life, there's generally two factors for individual. I mean, it's either
competence or commitment. So they were either incompetent or not committed to learning
the truth at the senior level, operative level.

And does OHS know about the information that you've shared with us so that you're sharing
with us in the process of this? Have you shared that with them [00:26:30] specifically and much
more so beyond what you're saying here? You've gone into much greater depth?

Yeah, our ah, we have relationships with our local.

We have relations with our local OHS personnel in Texas, both the the intelligence agencies,
um, when I started working on this project in August, I called them up, said, you guys have you
guys have got to come out. Look at it. They [00:27:00] did. They spent an initial three hours
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going through this data. Uh, at the end of that, one of them said, I think I need to go outside
and throw up.

Besides that, did they do anything about it?

They had multiple follow ups. Um, they drove up to our Dallas counterpart team, received over
600 gigabytes [00:27:30] of data that had been accumulated over over time. Our team provided
them over 200 gigabytes of confirmatory data. And they analyzed that, um, after they. After
they analyzed, there was a scan, a passive scan done, they conducted a limited scan and
determined that there were vulnerabilities. They held numerous [00:28:00] meetings with their
folks, the cyber, the sister cyber side and the INR, which is the intelligence assessment division.

And I'm sorry, could you let the folks who were watching know what this is?

This is the the the agency in DHS is responsible for cyber infrastructure.

Ok, members, any other questions? Representative Besuki, one note that might be important.
Members of the elections division [00:28:30] of SECV, I was told, would never attend the
meetings or the briefings that were conducted internal to DHS on the material that we had
presented. And I'm sorry, who is that that did not participate in the election security division
with inside of DHS? OK, thank you. Represent BCG.

Thank you, Mr. Chairman. And thank you, Colonel. I just wanted to make sure I have this
correct. So when we're talking about Mr. Crepe Krebs, is that correct? Correct. OK, he stated
the [00:29:00] most secure election in history. He stated, we're not connected to the Internet.
He stated, no votes leave this country. This is all things you've stated. He stated publicly. So he
used his website. Right. So are you willing to say under oath that you have seen the connection
to the Internet, you have seen it go off shore to Germany, Frankfurt? Are these things that you
have personally seen and can say that is not true?

Our our white hat hackers? [00:29:30] Yes, they have that traffic in the packets, so.

Why would he why would he make that kind of comment? Do you think?

Either not knowing, believing the myth, um, or not wanting.

The truth to be known.

Thank you, Senator. Really? Yes, thank you. Thank you, Mr. Chairman.

Good morning, [00:30:00] Colonel. I've got a couple of questions on the Board of Supervisors
during one of their hearings had said that that the techs for equipment that's by the way, the
county doesn't own this equipment. It's leased by Dominion and Smartmatic. But is it irregular
or is it S.O.P for the tech reps to be there during the election process?
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Yeah, that that's been something we observed in Michigan, Pennsylvania, whether [00:30:30]
they're full time committee employees or contractors.

There are Dominion employees that are there to run the equipment because the Board of
Supervisors hearing they had they'd actually made comments that they actually provided them
an office space with in the county for them to handle this stuff. My question is, a couple of
weeks ago, they did a test just to show that how the system was secure. And he did it before
and then after test. So everybody can see that [00:31:00] the Board of Supervisors and county
elections that see this is this is not what you're hearing is false, obviously, or is it during that
test is can they find the anomalies in there during that, that basically what I always call a dog
and pony show that show up in one of these tests, in a forensic examination?

No, just see.

Come here. Look at this is how we certify the machines and calibrate the machine. Whatever
[00:31:30] zeroed out this that obviously these Bhanot anomalies would not be showing up at
that moment, correct?

Correct. And it's our understanding that Dominion had a software update, at least in a couple of
states. I'm not sure about Maricopa County, but like the day before the election.

And bartone questions. I did have one question, thank you and Colonel, excellent information,
you [00:32:00] described Web traffic increased during the elections as opposed to how do you
measure the increase?

Um, are you talking just in in in on the Dominion Network? Yes. They just look at volume,
volume of data that's moving through the pipes.

And I'm not of our hacker team is that's they're the experts. I just kind of the big picture know
how to dance. [00:32:30] But they do they do measure volume traffic. Matter of fact, on the
Frankfurt server on Election Day, there was a German cybersecurity professor that was noting
that the increase in traffic would you know, he related back to covid and said, you know, we
haven't even hit our indoors winter season yet and we've hit the highest traffic. And he
specifically noted that one of the reasons was the American elections was an exponential
[00:33:00] increase.

I don't think it's an exponential, but I think it went from seven seven point something terabytes
a second to 10 terabytes. So it went to a lot of, you know, a pretty big increase.

Not an exponential, though, to my unqualified mind. I don't know exactly what that means, but
it sounds big.
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The volume jumped up pretty significantly on November 3rd and 4th to that particular server in
the pipes. Thank you. Yes, ma'am.

So. So [00:33:30] essentially about 33, 34, 35 percent increase.

I would have to go back and look at the numbers.

But I mean, you're from seven to 10 ballpark. Yeah, that's big. I can't. Yeah. All right. Very good.
Senator, go. Do you have any questions? Yeah. Thank you, Mr. Chair.

Colonel, he talking about the NGO system and that was you said Hugo Chavez. [00:34:00] He
was a partial owner in that. Now, that's that's the beginning of Dominion.

Um, NGOs was a separate company, but Dominion acquired Sequoia Systems that were spun
off of Shugo. And they also acquired Premiere, which was spun off of Diebold, but they all have
in common the Common Core of the common code really goes back to Shugo. [00:34:30] And
that one or or chart that it put up there kind of showed the licensing agreements that go back
and forth between Shugo and Dominion. So it's the the licensing for the for the software in the
code.

So it still stems from the studio system. That's correct. So and then you're stating Dominion
owns the data.

So does that mean when they see the vote count that they [00:35:00] own, that not the
counties, the state, they process it, they retain it, it's in their backup servers?

So they have they have the votes themselves as well, when that's supposed to be property of
the state, they've got they've got the data, they've got the voter voter data, voter registrations.

And then you said Dominion sits on the board and Mr. Crap's. Is that right?

That [00:35:30] was on the, uh, the website there. When you say the board, what is the board?
It was their Election Security Advisory Council, OK.

Thank you, sir. Thank you, Mr. Chairman.

Let's see, Representative Roberts, you're next. Thank you, Mr. Chairman. Colonel Walton,
earlier you were talking about the methods via Internet and internal methods. As far as I
[00:36:00] think you use the term, I forgot exactly how you said it. There was basically methods
from the Internet and then also internally that there could be manipulation of votes. So my
question is, is there. Do you have any knowledge of where the machines in Arizona connected
to the Internet at any point in time? And if not, or if so, are there logs internally [00:36:30] in
these machines that if we were to be able to subpoena these machines and demand them so
they could be examined, could could we see all of those changes that were made?
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So when you watch. CBS, CNN, any of the the mainstream media where they got the live
updates, that data is passed live. I mean, it's it's as the votes are updated. So it's, [00:37:00] you
know, nobody's. Getting on a plane and flying the hard drive to New York. I mean, it's uploaded
and it's connected. So it's it is connected to to the Internet and whether it's locally, I mean, they
can move votes with the cards, the voter cards, those can be preloaded and laptops with with
the software that could be interdicted and upload fake votes is in the allegation from from Pima
County, you know, in [00:37:30] batches of a thousand, they can scan blank ballots and then
the administrator can allocate that batch of blank ballots to one candidate or another, either in
100 percent or any percentages that they they allocate in the, you know, according to the user's
manual.

So to that point, just indulge me just a moment. Would you say that that is what we saw in the
2008 election with Governor Beven, where we actually saw on television [00:38:00] real time
the movement of some 500 votes from one candidate to another?

I mean, it was so stark you saw them go down on one and up on the other. And the exact
number, would that be a manifestation of what you're talking about?

So the the the working hypothesis from our counterparts on that, because they've worked out
and watched it and they actually went to Kentucky to assist the team there. It was it that was a
server level interdiction. So they went up to the server, downloaded a case case we [00:38:30]
filed, change the votes and reloaded it.

Thank you, Robert.

So just to kind of tack on to what we were just discussing, it's my understanding because there
was an article here in Arizona from the Arizona Daily Independent, there was a quote unquote,
whistleblower that was talking about issues that they had observed. And so one of the things
they were talking about was that the data from the machines was being moved via the hard
drive. So what [00:39:00] you just described as far as the real time data being uploaded and all
of that stuff, just for the layman, that same type of manipulation, whether you plug into an
Ethernet cable or what have you or you're doing it on and a user interface, the same type of
malfeasance could could be accomplished in that method as well.

And I think in looking at these systems, we identified, you know, almost a dozen ways that you
could [00:39:30] inject or interdict to manipulate votes.

On that note, you said earlier that pretty much all of these machines have vulnerabilities. So is
there any system out there that you're aware of that is worth exploring or do we just need to
go back to the paper ballot?

There is a he developed a system with some capital infusions. It's a system called [00:40:00]
votes votes and it's a block change type system. Again, it's when I first became aware of this, I
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went and talked to some friends of mine who were bank presidents. And I said, OK, why can't
we apply banking principles? Because if you want anything done right, you go talk to the money
people.

That's that's that's supertaster stuff. And he said, oh, yeah, this is it. It's an app.

You can do it as an app with a tie it in with real I.D. and a block chain type solution or, you
[00:40:30] know, the next generation solution. But there are systems and I believe the voting
system is deployed right now, I believe and I know West Virginia is one that I remember reading
on on the website.

Thank you, Senator Allen.

Any questions? Yes, thank you. Thank you, Mr. Chairman. Appreciate it. Thank you.

Here today, I'd like to go back to the Board of Supervisors [00:41:00] letter where they talk
about certifying the Maricopa County election. And they have five points that they make for the
reason why they call this a reliable election. And my concern is, of course, over the Dominion
tabulation equipment. They said it was vetted by Bipartisan Equipment Certification Advisory
Committee before the contract was finalized. And as required [00:41:30] by law, the committee
tested the functionality and accuracy of tabulation equipment before it was used in any Arizona
election. Well, after listening to your testimony, that does not give me any confidence because
the machines, of course, can perform very accurately. It is after it's after the fact after the
election starts, after the ballot is is starting to be put into the machine that that these problems
start arising. So is [00:42:00] that accurate to say that that this does not should not give us
confidence about this being a reliable election?

Ma'am, anything that is software based can be manipulated and changed with the click of a
button or, you know, you got two USB drives, plug one in and you get one algorithm, you pull it
out, you plug another one in, you get a different algorithm. And we also believe on the
connectedness, these can be pushed down from the top [00:42:30] and shift it down. So think
of it like a casino or a state lotto. Your whoever owns the eye in the sky, you can control the
margins, and that's really, I think, what what we're looking at.

Well, certainly from your testimony, I can see that. And I have one more question, if I could, Mr.
Chairman.

I believe Senator Braley has it to that point of view. All right. Go ahead. Are you all right? Please
proceed.

Well, [00:43:00] I was going to switch down to the one percent early ballots that they did, and I
had a question about that. So, Sunny, if you have something to what I said before. Go ahead.
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Thank you, Mr. Colonel. So basically what you're saying, for example, since the tax are already
there on site during this process. So if a machine jams up and naturally they call the tech over
there to go fix the unjam, they can literally without anybody noticing because they're the techie
people, they can stick a thumb drive in there and upload, change the [00:43:30] numbers,
manipulate whatever.

We there was an affidavit in in Pennsylvania from I think it was last week, a gentleman
supervisor had a Ziploc bags full of USB drives, and they noted that he was inserting the USB
drives into the machines at a much higher rate than would be necessary or that they had seen
in the past. So, yes, you know, it's [00:44:00] OK.

So now I have it to that point. Forgive me, but what I think you're saying is that they have just
created an electronic footprint. Either in the days to download that you're seeing real time that
you'd be seeing some kind of a spike, or is there something that's captured on the machine that
it's itself like a memory card that is resonant on the machine? Not that is actually talking to the
hard [00:44:30] drive.

The the machines, for the most part at the voting machines are just run by, you know,
removeable software and data cards to the cards that actually hold the votes. The the backup
servers is really where the true story would would reside. As far as the upload download, the
change, the the er warnings for the mismatch errors.

So would you be able to show [00:45:00] with specificity. A machine in Maricopa County going
all the way across the pond. Inserting data into a server or would it be an aggregate of all the
machines that were in Maricopa County, for example? Is it by individual tabulator or is it by the
server here that collects? Can you help me understand that piece? Let me I'll [00:45:30] put
that probably goes back to your headache graph.

I'm thinking schematic that shows.

The reason I ask the question is we're still looking for evidence and if that is in the evidence
package, that's certainly something that we would want to know about. If we don't have it
today, something that could be forwarded to the body [00:46:00] would be great.

Uh, let me see if I can make this bigger.

So this is the many voting, the high level, it's a block diagram of how everything's connected
and I can print this off and provide it to you or whoever would do your your [00:46:30] audits.
But it's kind of hard to.

Kind of hard to see when it's blown up, but you've got the ballot boxes, ballots taken out. This
tracks all the way through the image gas central to ballot images. And this is really what's
voted. The ballots are scanned into these image casters and there's an electronic image
created. It goes into results files and then it goes into validation, adjudication, auditing,
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reporting and publishing and then to democracy [00:47:00] suite in Ms. The Democracy Suite
servers, the database servers, the document management servers, and kind of shows you how
this all goes out to to the world from from this whole system, election data. You know, this is
kind of the top feed to all these servers.

But this is really it's it's a network. I mean, it's a computer. Company itself is not networked, it
has to be.

So let me reframe the question, we probably [00:47:30] would not be able to identify any
specific tabulation machine showing up on the server because it's all aggregated.

Yeah, it's it's these tabulation machines go through this process, but the results files.

So if you work it backwards from the server, you would be able to go back to a ballot       image.

An electronic ballot image. All right, thank you, Senator Allen. Yes, no question. [00:48:00]

Thank you, Mr. Chairman. The other thing in this letter by the Board of Supervisors was they
commented again of what made this a reliable election, that the Election Day ballots from two
percent of vote centers and one percent of early ballots as required by Arizona law. And it
yielded a 100 percent match to the results produced by the tabulation equipment. So. That
should give us, you [00:48:30] know, and all the counties do this, they do this hand count, this
little audit of a small percent of the votes to see how it matches up to the machine. So could
you explain how we shouldn't have confidence in that particular? How can they how can they
make that match up to the machine then when they just arbitrarily pick out one percent? If
they're if there's vote dumps that are happening and things that are happening throughout the
process, I would just say [00:49:00] it's it's.

So we learned a long time ago, garbage in, garbage out. If you've got one point nine million
votes that aren't, signatures are verified and they're just reading bubbled in, you know, ballot,
then, yes, the ballot cards, when they run 1000 ballot cards through, are going to come out
with a thousand so that, you know, that small batch would represent what those particular
ballots say.

But there is again, there's [00:49:30] that's why there's a chain of custody requirements. That's
one of the verification requirements at each step along the way. So if each one of those if one
of those steps is broken, then the validity of the whole process is is in question. You know, you
just don't know.

Right. Thank you. I think we're we're definitely, sir, in a new day when it comes to what is taking
place across this country with voting. And we're going to have to probably really look at that.
Thank you. Representative Townsend, do you have any questions? Thank you, Mr. [00:50:00]
Chairman.
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Colonel, I just have a quick follow up to some of the stuff we've been talking about as far as the
security of the machines themselves. And as we know, like whether or not something happened
or didn't happen, I'm most concerned with voter confidence. And if there's all these holes, then
we're going to really deflate or collapse voter confidence. So I would like you to reassure me on
one particular item in the tabulation room at the Mixtec here in Phoenix. In years past,
[00:50:30] it was you had to have a special badge and only people that were certified to be in
that room with the machines in the tabulation and all that were allowed in there this year. I was
told yesterday we had teams of 25 adjudicators in that room, in the tabulation room with those
machines. Would it have been possible for someone in that scenario to wander over to the
machine and have a conversation and put in this thumb drive you're talking about? Or is it
deeper than that or [00:51:00] something that's happened from remotely? Or how secure are
these machines? Because we know that there's no chain of custody on the hard drives and on,
you know, the machines we saw in a video left alone for almost a week in one of the voting
centers, untended, unsecure. You know, how could somebody, a regular person with nefarious
intentions, walk up and change this whole election by putting in a thumb drive and changing an
algorithm? Is that something that could have happened?

Or we don't have to worry about that either. [00:51:30]

An individual that has knowledge of the systems and have to. You know, operate in the system
could have an impact again from the server, but they could they could be sitting in Nigeria and,
you know, as long as they got an Internet connection, they could get to that particular server. If
they were had access to, you know, the data from the malware that's on the server, they could
get the login and password from [00:52:00] a Pima County operator or a Maricopa County
operator. So there are just so many places that they can be interdicted or penetrated. There's
just there's just too many to. You know, to describe it, there's a lot of a lot of ways it could be
interdicted, Mr. Chair and Colonel.

So I'm hearing you say is I can't be confident that a volunteer of a political party that, you know,
the [00:52:30] entire recorder's office and the elections director could everyone could have
been on the up and up. And this is the most secure election ever. But if one random volunteer
with the right information were to be in the tabulation room, could have been breached the
security of the of the machine. Correct. And therefore, we cannot stand here and say we are
confident with that kind of access to these machines, machines left in buildings for a week. We
cannot say with certainty that this is [00:53:00] a secure election and we have 100 percent
confidence that nothing went wrong.

And you just brought up that the chain of custody issue. And that's that's a critical vulnerability
path so that the chain of custody was broken, then you really you really don't know. You can't
you can't say with confidence that it was a fair.

Thank you, Mr. Chair. And, Colonel, last point, if you were in charge, would you want a recount?
Would you want an audit? Would you want a do over? [00:53:30] What would you do?
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A forensic audit will tell you what was processed. But to the mayor's point earlier, as soon as
those mail in ballots, which were one point nine million requested and I think.

A good a good roughly return, if those signatures weren't verified, then, you know, you can
count the same things over and over again. But, you know, it's you're starting with flawed.
Results already [00:54:00] an audit, a full audit would be able to tell you if those were, you
know, bad, bad ballots or preprinted ballots, you know, you could do a full forensic audit on the
actual ballots. But once the envelopes are separated from the ballot on that many mail in
ballots, it's it's it's almost it's almost impossible to go back without doing a forensic analysis of
each ballot paper.

Ok, and Mr. Sharon, Colonel, do you have any [00:54:30] information about potential
shipments of ballots to Arizona and other places from North Korea or something like do you
have any information like that?

There were several affidavits that were provided to the legal teams. I don't have those
affidavits with me now, but there were. Affidavits and suggestions, and I think more of those
are in it processed to to obtain more affidavits on those processes.

Mr. Mayor, thank you. Can [00:55:00] you tell us whether or not you have got the I don't know
if you heard the question or do you have affidavits that counterfeit ballots were somehow
shipped into Arizona?

All right, thank you, Representative Cook, any questions? Yes, yes, Mr. Chairman, thank you.

And I'll make it brief, but I do have some stuff that I'd like to say is that, Colonel, when I ran for
office in 2016, I got a phone call one day that one of our county recorder's office [00:55:30]
information had been breached and all of the voter information was for sale on the Dark Web.

That was my first instance of being as a becoming representative about this hacking and
computer stuff and was out there. I just went through my third election as the top vote getter.

And I would like to say that I continuously have been tried to be hacked on my personal or
ledger account or whatever is out there on the Internet. I later learned from people, [00:56:00]
Colonel, that the reason why this is done out of the country and according to your graph, is that
it is harder for us to track these people down and prosecute them when these computer
anomalies and things happen from outside the country, inside our country and state. Would
that be true?

We would not have the legal jurisdiction to go seize or search a server outside of the U.S..

Thank you, [00:56:30] Colonel. And would this make sense that if you had a simple phone
number and then you went on the Internet and then researched that phone number of where
you received a text message and it was from Ukraine, would that not be a red flag that your
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phone or information was trying to be attacked or infiltrated? Correct. It would be OK. So
moving on to that. Colonel, what I've noticed is that about these voting machines and these
plugged [00:57:00] in USB drives when in fact, when we watch across this great country of ours,
in many states, we have very few amount of counties compared to other states. In here, you've
got to target two counties if you notice that rule Arizona and rule Arizona legislators are up
here and we're ready to go to work today. Our constituents demand it and we demand it as
their representatives to work for them to solve these problems. But [00:57:30] but what
happens, Colonel, is that the same thing when we look at this country on a map and counties
that vote for the President Trump versus counties that don't, it's the population of the masses.
So I'm going to get to my point about Maricopa and Pima County. We all in Arizona, we call it
the great state of Maricopa because Maricopa County has more legislators at the legislature
than rule Arizona does. If we [00:58:00] add all of ours up, we still don't have the numbers to be
an equal voice at the state legislature. But we have to work harder, which we can't. So if we
look at Maricopa and Pima County, if I was going to now we're going to get down to vote
centers, OK, targeted vote centers, Colonel, I wouldn't have to have a USB drive or to infiltrate
every voting machine in every vote center in Maricopa in Pima County. Would I or would I just
need to target [00:58:30] those individual voting centers in those two massive counties in the
state to do what you are saying, to take votes and shift them over in those numbers? What do
you understand what I'm asking?

I've seen analysis that boil down national elections to zip codes.

Oh, to just zip codes.

Mr. Chairman, I get fired up when I [00:59:00] get into this stuff because I read and hear
everything that that these people have said, it has happened to me. And I just thank you again
for your information, confirmation. But when I go back to the 2016 hacking, what I see is a
pattern, Colonel, is that there is a plan, there is a larger plan, and it's not a conspiracy theory.
And I'm not nuts. But if I wanted to engage in a plan in 2016, Colonel, would I not start hacking
and getting the voter databases and information [00:59:30] projecting of why do we have what
is the number two thousand or twelve hundred voters, I believe in Maricopa County registered
that I believe have voted at a vacant lot. I mean, if I really wanted to go down the road, isn't
that the way you would target it?

Yeah.

And again, it's you can interdict this in multiple levels and multiple methods. And I think that's
what's happened.

It's a there's so much out there. And it's [01:00:00] it's to your point, you know, you're not a
conspiracy theorist, but it's really hard. They've made it so hard for the public to understand it.
And we call that in deception operations, ambiguity increasing.
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Thank you, Mr. Chairman. Colonel, I have the last question is, and what concerns me over what
I've read and seen is that could the data that you say could be traced back only to the scan
ballot at this point? So it can't go back to the individual voting machines? Could [01:00:30] that
be Bletch Bitz or whatever that stuff is? Could that be could could the tracks as long the longer
we take to actually get the machines and check these things out, could there be time to erase
that information and cover up? If there was a crime or.

Misdeal, there could be another batch. Files will go back to the precinct and the machines on
the tapes so you can track it all the way back to the machines in the precincts by the tapes. And
it's what we showed in the Antrim County, those [01:01:00] those printouts on the on the
precinct level so that you can go back.

But really, all that's necessary, there's not really a glitch, but it's just pulling the USB drive out of
the out of the voting machine and the tabulators.

So the the machines themselves, other than the servers, really don't have a lot of resident
information. The tabulation machines here, they can have some stored images. But the
[01:01:30] you know, where they you retain these you know, the federal election requirements
require and I can't remember the U.S. code title. Forty six rings a bell, but the 22 month
retention of federal elections records, it would be done in those the ballot images and, you
know, electronic backups. So the data is retained. And, you know, you can do forensics on it as
long as it's the actual the actual servers [01:02:00] and the actual machines.

Colonel, thank you for your time, your patriotism. And, Mr. Chairman, I yield any remaining
time I may have.

Thank you. I believe Senator Going has one more question, and I just need to remind the panel
time grows short . I think Mayor Giuliani has significant more witnesses and evidence that he'd
like to have heard.

Thank you, Mr. Chairman. Colonel, I just want to get on come back to the Dominion situation
[01:02:30] here where the where the backup servers. I'm sorry, where are the backup servers?

I am not exactly sure I can try to get that information provided to you and this company.

I think the mayor said they were a foreign company. The Canadian is out.

So we know we know there are sites in Toronto. Their offices are in Canada. So we know that
we know that there were data there. [01:03:00] They also have servers in Serbia and other
other places. But as far as knowing for sure where the data from Maricopa County went and
resides, we don't know that. But they've got backup servers.
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So an audit because we talked about that a little earlier. First off, would that find where the
where the server is and where the information would be traced, tracing the flow of [01:03:30]
the information? Yes, sir. The audit would do that. Right.

And but it also tell us whether or not it's true or not, that the one point nine million signatures
were or were not verified. Right. So we would have an absolute no.

Colonel, could you get a little bit closer to the microphone? I'm getting a lot of people are
saying I can't hear the guy talk.

Thank you to the adjudication of the signatures on the the ballots that would [01:04:00] be
totally separate, wouldn't be necessarily a digital forensic process. But that audit would be, you
know, have to be conducted at the county level and all those on all the envelopes.

So if we did an audit, we were able to do that. Tell me the things that could come out of that.

Well, if the signatures on the envelopes were invalid, you could necessarily [01:04:30] get a
percentage of the votes that would be disqualified. But again, when when the ballots are
separated from the envelopes, you know, you can't tell which ballot came from which
envelope. So really, all that would tell you as a percentage of that, the percentage of those
mailing or absentee ballots that were not legitimate.

So what would the what could the server tell us?

The server would basically tell [01:05:00] you all of the electronics of once the ballots are
processed, the batches and the the images that that will tell you where all those goes. And it'll
also tell you any changes to the software, any updates, algorithms that were in place. And
that's all present at the at the code level. And that's really what these companies have balked
at, providing access to the code because they said that that's their intellectual property and it's
they've been successful at preventing folks from [01:05:30] analyzing the code.

So they're they're utilizing their their system for our elections.

But it's their property. And in counties and states have signed up for that.

Thank you, Senator Berling, final question. Yes, Mr. Chairman. And Colonel, just for clarity, not
only can these machines be manipulated with a thumb drive and everything else, it [01:06:00]
can be changed remotely outside the voting center.

That's that's correct. And there are references in the user's manual that show how they get to
do that. Thank you, Mayor Giuliani.
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Anything else with your witness, sir? No, I think all right. I think we covered everything. Thank
you, sir. Do you have a next witness? I'm looking at the clock, and I know that we've got a time
management issue with one of our witnesses.

Yes, I think we should call and a fourth, OK, because she has an [01:06:30] appointment and
we'll call her first. OK, and then after that, Senator Colbeck, we need to make sure that we have
him at the airport by one o'clock. All right.

Thank you very much, Anna Horth. OK, OK. This is an author and a horse and a horse.

Anna [01:07:00] Horth. We'll check on her. And let's go back to. All right, Senator Colbeck.

Just so folks know that we've got folks in a separate room just so that we can bring them out
and have some kind of order here, Senator Colbeck.

Thank [01:07:30] you, sir, if you would, could you please introduce yourself?

Yes, my name is on Michigan, former Michigan State Senator Patrick Holbeck, and appreciate
the opportunity to speak with you. Mr. Chairman, the esteemed panel members for eight years,
I was sitting on the other side of this testimony. I was where you were sitting. And hopefully I'll
be able to provide that kind of a unique perspective and want to look out for in this election.

If you'll excuse me, I'm going to try to get my presentation up here and get that going. Kick
[01:08:00] it up.

The technology is great until you want to use it, it's more difficult when you can't see.

Nice job on the resolution of the screen here. By the. OK, and just for background purposes, as
[01:08:30] we're looking for to recognize my USB flash drive.

Here we go. Much better.

And [01:09:00] voila. OK, well, we still don't have it on the screen yet. There we go. All right,
and if you if you would please put it in play mode so we can see. Right. Please proceed.

All right. Thank you very much. It was a perfect compliment, I think, to Colonel [01:09:30]
Waldron's testimony here, because I kind of got a unique experience regarding this whole
election process. First of all, I am a former Michigan state senator. I served on the Senate,
Michigan Senate Elections and Government Reform Committee. I took those duties very
seriously to the point of diagramming out all of our election process, some pretty good
understanding of how elections are supposed to work from a book perspective. Um, but
another perspective that's useful to this discussion [01:10:00] is that something that I couldn't
do while I was running for office is actually I served as a poll challenger in Detroit at the ADA
County Board for the Election Day from five p.m. through the next day into the evening of the
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following day on November 4th. So I was actually at the Detroit the county boards. He may
have heard about all the things that happened there on the cardboard up on the windows. Yes,
I was there. I was one of the people blocked from returning back into the Detroit Avy County
Board [01:10:30] so I could resume my duties as poll challenger as a training our next batch of
poll challengers as to what they need to look out for and what we had been seeing.

And coincidentally, by the way, that was when they were counting the military ballots, which
just so you guys know, that's when they duplicate the ballots because the military ballots come
out in a format that's different from those that can be read by these tabulators. And if you
don't have a Republican and a Democrat watching that, it's right for malfeasance, [01:11:00] if
you will. And that's exactly what happened. So along with that background, I'm actually a
certified Microsoft small business specialist. In addition to being that I actually did cabling
design the International Space Station. So I have no problem working with technology. So it's
kind of a unique background. And, um, and just so happened that I was right there in the
Detroit area accounting board on the night of the election. So I'm going to focus in on just
highlight three areas of the diagram that Colonel Walton just showed you, because that's
[01:11:30] important for everybody.

Understand, for people on the ground. These are the key piece of technology you talked about.
Image can't control. That's the equipment that I witnessed out of the Detroit Accounting Board.
It features a high speed scanner and a workstation associated with that. These were networked
in turn with adjudicator machines, which anything that was rejected by the high speed scanner
would go over to this adjudicator machine that was part of the absentee ballot counting suite, if
you will, for Dominion.

In addition, they [01:12:00] had something that was called Local Data Center, where all the
election officials would work from a central computer workstation with a series of laptops, et
cetera, that that were connected to the rest of these computers won't get involved a little bit
later here. But that image cast central area is one of the key pieces of our key systems, if you
will, that are on the ground for the absentee ballots. In particular, if you're at an in-person
polling location, you'll have the image cast precinct set [01:12:30] up. And that's on the right
hand side of this diagram. Up on the top is kind of the local data center and the kind of the eye
in the sky, the overarching look at what's going on with the election. And we'll get into that a
little bit more detail later. And as you guys know, Dominion Voting Systems was used here in
Arizona, in Maricopa County, and they were using some of the same equipment we were just
talking about regarding cast precinct and also Mimecast Central that can do the scanner there.
So [01:13:00] I. I said that I was in your position before. Right. So if I were in your position,
these are kind of some of the key questions I would be asking in regards to all that we're
hearing about this testimony regarding this election. No one was a chain of custody for the
election. Artifacts broken up. Thank you very much, Senator elect Townsend, for bringing that
up. That is a key term for everybody to understand. Chain of custody. And we're going over
overrule diagram specifically where some of my comments are going to focus in on in that chain
of custody.
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All [01:13:30] right. And the key is to hit the right area.

All right. And was there evidence of election fraud? There can be fraud that happens that may
not even violate statute, but you know that the intent is there to defraud the election and they
take advantage of loopholes that we had in the law. For example, in Detroit, we know that
there was an ability for people to vote both at the poll and absentee. So some people's votes
were more important than others. Was there evidence that election statutes were violated?
Yeah, [01:14:00] in Michigan, we have evidence to suggest that's exactly what happened. Was
there evidence of foreign agents with the ability to manipulate the election data and third
parties getting access to that data? We believe that we've seen evidence of that as well. But the
other thing I need to ask is. Well, all right. What are we going to do about it if we see all this
happening and what options do you have as legislators? All right, so let's go to this chain of
custody and I could go into [01:14:30] a lot more detail on this chain of custody and all, but I'd
like to simplify it into just four key artifacts, qualified voter file, i.e., who's registered to go off
and vote in your st at e. Number two poll. But that's a precinct specific extract of the data from
your qualified voter file. The ballot itself, pretty important artifact, right? But then in the spirit
of the old Stalin quote, it's not he who votes that counts. It's the one who counts the vote that
counts. You got to look at the ballot tabulator and how the votes [01:15:00] are tallied. And
that was my focus when I went to the Detroit Avy County Board. I was one of those folks that
was not specifically assigned to any particular county and station. I was looking at the big
picture and we'll go over what I found here in a sec.

First of all, everybody hopefully has seen the idea that there's been a lot of voter anomalies.
This is our first clue that something's happened. When you're on the ground, you can see all the
things that are happening, you know, onesie, toussie style. He say, hey, wait a minute, that that
envelope with bacteria or you [01:15:30] can see that they adjudicated something in favor of
the Democrats or the Republican or something like that. That's easy to go off and see, but it's
very difficult to see the big picture that comes out afterwards with experts like Colonel
Waldron. And in this case, we first started seeing issues when people were talking about
benefits, law being violated. That's actually using criminal court cases to determine whether or
not fraud existed. So that was a first indicator that some of the analysis we've seen flagged that
that's not proof. I mean, it's getting them. It's telling you that it's [01:16:00] you've got
something off here that you got to investigate. Then we've seen linear regression analyses and
there's a lot of noise. And but it seemed to indicate a pattern of vote distribution that indicates
some data manipulation. Then most recently, we have actually seen folks who believe that
they've identified specifically what the algorithm that was used to switch some of the data. So
some other things that were kind of odd and you don't see while you're necessarily on the
ground, but in retrospect, you'll be able to get access [01:16:30] to it. This is actually
documented as part of the affidavit that was submitted in a lawsuit that's put in Michigan by
Sidney Pollen and in other states. And you guys have voted quite a bit. You guys are most of
you already served in office. Right. Do you remember any of your votes being tabulated with a
decimal point on the back of them?
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I, I don't remember any of my eight year serving in the Michigan Senate, anything, any time
where I actually had a decimal point after a vote tally.

So that would suggest that a partial person was voting.

Well, [01:17:00] sometimes, you know, there are people that tried to make you feel like a
partial person when you serve. But no, that wasn't the case here. And so you guys have
probably all heard about what I call the little switch, the Antrim County. We've heard testimony
on that already today.

And some of the things that could possibly happen, getting into the possible technical reasons
for that is maybe have an internal ballot bar, code switch on it where they have one bar code
style or ballot style that's flagged. [01:17:30] And then when they associate a specific scan of a
vote, they flip it over to a different bar code. So that may have the voters or the the candidates
flipped in it. Something else is something called a rank rank choice voting algorithm. That's one
of the modules inside of the Dominion Suite. And this is where you might see evidence of this is
the only place that I know of. At least I can start putting infractions, fractions into your vote,
because if you meet a certain vote threshold, it'll go off and switch that. It'll it'll [01:18:00]
prioritize the votes for the second choice, if you will, and give them 10 percent of the first
choice of whoever of the ten percent or whatever number you specify.

It'll actually get into the point of allocating percentage of the votes to one of the candidates.
Another thing is data manipulation via remote access. And another thing to look at as you guys
investigate what happened here didn't happen inside Arizona is take a look at your public
accuracy test.

And there are people that this [01:18:30] is usually in Michigan, at least it's specified what the
standards are for that by the secretary of state.

And if you don't run all the possible permutations of votes that might happen on a given ballot,
you may leave gaps that can be exploited. And I would submit we're going to show one of the
examples of where we believe one of those gaps is that you could maybe flip a vote from a
certain candidate to a write in candidate and preload this with. Right. Can't write in candidates.
And we think we have evidence [01:19:00] of that happening in Detroit.

So if you want to go off and check into this, one of the things you're going to need to do so.
Yeah, yep. As look into a compact flash cards, event logs and paper vote tallies. So these are
tabulated data card.

That's where the compact where that's where a lot of the election data would be wanted to
look at. It's going to be located. So please make sure you get your hands on that. Then we talk
about the big switch. Am I going to get a. A detail on this, suffice it to say, in Michigan, you
know, our current vote [01:19:30] deficit for President Trump is being projected as 154
thousand one hundred eighty eight votes.
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We got more than that that we can tie back to potential fraud. So in state of Michigan, I know a
lot of people have written us off in this context. But I tell you, Michigan is in play because of
what the level of fraud we've seen. So here's what our Detroit 80 county board looked like and
essentially it was set up.

So there's 503 precincts in the city of Detroit. They put in 134. These image cast Central Station
to all the way around. That's where the [01:20:00] poll books were located. And there are about
two to five precincts per image cast, central unit. We had five poll workers per station. Overall, I
would submit there's probably less than 10 Republican workers at the whole night sitting at
those. And by law, we're supposed to have a Republican, a Democrat adjudicating ballot. Here's
what I said, that I was looking at a big picture when I got in there. I was looking at the big
picture. First question I asked was one of these chief election officials. His [01:20:30] name was
Chris Thomas. I said who I worked with when I was serving in the Senate. I said, what? How are
you going to protect the chain of custody around the tallies of the individual tabulators and and
your report outs to the county and all points beyond that. So we talked about the idea of just
getting reported out to New York Times. You can see it on CNN and all that kind of stuff. Show
me how that chain of custody is protected. And this election official who is state elections
director of Michigan for two decades [01:21:00] said, I don't know. Now, this is kind of
important data point, don't you think so?

And I would imagine on the rest of the night I said, you know what? He finally acquiesced and
said, Tell you what, I'll let you know.

And then finally, the last statement he had on it, because I was pretty persistent, was saying,
you know, what am I going to tell you until after tomorrow? And I go, well, you know, the
primary duty of a poll challenger is to make sure that the election process are executed
effectively and efficiently and accurately and transparent manner. [01:21:30] He did not allow
that to be done. Now I can see physical transfer data. I can watch when somebody moves a
flash drive from a tabulator to a central station and I can go off and verify vote counts at that
hand. I can't get inside wires to go off and trace electrons through the Internet cables that I saw
a position. And that's the next point I want to highlight. And this is something important for you
to understand. Here's how these were connected. A lot of these election officials will square up
and down that none of these machines are connected to the Internet. And that's [01:22:00]
based on propaganda being pushed by companies like Dominion Voting Systems. They will say
that they have an air gap. They will say that they have firewalls in place. They have encryption
in place. And I hope to demonstrate here that that doesn't mean a heck of a lot. And any hacker
worth their salt knows that if one computer's connected the Internet, they're all connected to
the Internet firewall or not. And so here's a diagram that I put together based on and this is
literally midnight the next night before I forgot everything. I want to make sure I document
everything that was there. [01:22:30]

I went through and physically traced all the cables from all the tabulators and adjudicators to
the local data center at the big at the top. So it's that local data center that we have election
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officials that did confirm that that was connected to the Internet, but they said none of the
tabulated or anything else were connected to the Internet. I can show physical connection
between those tabulator tabulator machines, Internet cables to routers or magnets, which is
tough to tell from 12 feet away.

But [01:23:00] it's a router type of device connected to all the other devices on this network.
And as Colonel Walburn pointed out, it's designed to work as a network. And so all these
tabulators were connected to one another, all the adjudicated or connected to one another.
The local data center that they acknowledged was connected to the Internet were connected to
these tabulators and adjudicators. So and so if that wasn't enough, we went around to all the
different computers and observed on the bottom right hand corner of all the computers. I can't
do this because it defaults in a certain [01:23:30] slide presentation mode. If you have laptops
that are window enabled and you're connected to the Internet, you roll over that and you've
got a Windows 10 device, roll your mouse cursor over on the bottom right hand corner, you'll
see a land Internet connection icon and you roll over, it's going to pop up and say connected to
the Internet.

They wouldn't do that test for me to go off and demonstrate that. Yeah. So, guys, it's serious
stuff. And I also want to highlight I took a snapshot of what the Wi-Fi connections were at that
point in time. And one of them is called Avy, Underscore, [01:24:00] Connect.

I wonder what that was connecting part of their spec that they have in the contract with the
state of Michigan that are supposed to be connected to Ethernet cables, and they even have
cellular based modems that they can plug in to a lot of these items to transfer the data over the
Internet. They've got to Dominion Tech Support Manual that's connected to the Internet.
There's no denying that this was network connected. And by the way, even if they say a. Wasn't
connected to the Internet in the Detroit County, where I can [01:24:30] trace a physical
connection that says that the system that was used to tabulate 170, 2000 plus votes in the state
of Michigan with all network together. So even if it wasn't some guy sitting in an ice shanty in
Antarctica connected to the Internet, that one guy in the city of Detroit that had access to all
that information could modify the votes locally there.

So why does it matter? Well, we already talked about these man in the middle attacks we
talked about in the City Powell [01:25:00] lawsuit that's out there. There's additional exhibits
that highlight that these passwords are available on the Internet. And when you have a man in
the middle attack, you think you're getting the right data. You think you're talking to the right
person. But, yeah, you're talking to an in-between guy. We also got nasty left a key under the
mat. What I mean by that, all the specs on what files to look for, what their file size is,
everything else, or the voting system is left up on the Internet for everybody to go off into. I
went there myself. I could download this file, took that extract from it. You can find out
everything [01:25:30] you need to go off, manipulators, a hacker.

And we've got Challenger observations on the ground that attest to each and every one of
these. And I just want to highlight one of them, the poll worker observation that we actually he
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actually observed the fact that the printout of the tape said that there were a write in
candidates on it. Yet when you actually hear your test in his affidavit that there were no write in
ballots submitted, Senator Colbeck, we're out of time.

Yeah.

So thank you very much [01:26:00] for your testimony. We also appreciate the slide deck that
you presented. And if you are willing, would you please distribute it that to the members of this
panel? And I'm sure Mayor Giuliani would like to have it as well.

I will leave a comment for everyone. Any questions for this gentleman here or would you like to
move on to north? We can move on to. All right. Thank you very much. Senator North, would
you please come up to the witness stand?

I [01:26:30] guess at the table, not a stand, I was just corrected, the witness said.

Thank you for coming in. Thank you for having me.

Would you please give your name and Mayor closure's my name is Anna and I'm a resident and
registered voter in Pima County. I [01:27:00] volunteered as a poll observer .

Can you get a little bit closer to my car? Thank you.

Again, my name is Anna and I'm a resident and registered voter in Pima County. I volunteered
as a poll observer on October 16th, and then I signed up to work as a poll worker on November
3rd in a neighboring precinct.

Would [01:27:30] you like me to just give you an overview? Is that. Yes, please do.

Ok, well, I. I wrote in because I was aware of some irregularities that happened while I was a
poll observer and some different activity that I just felt uncomfortable with on Election Day. So
I'll go ahead and start with what happened on the [01:28:00] day that I was an observer. I was
certified prior to that to be able to watch the two people that would be correcting the the
problematic ballots, which I guess are called they were duplicates.

When I walked into the room, they said, I'm sorry, you're not you can't be in here. You're
[01:28:30] going to go into the another room. So I had to walk back to the front desk. I was
escorted from from that area back to this to one area where the ballots were being separated
from their envelope. And I I was there were 30 to 32 people doing this and there were probably
14 to 17 tables that where [01:29:00] they are sent to people. And it was supposed to be a
Democrat and a Republican. But not every table had a Democrat, but not every table had a
Republican. So many of those tables had either a libertarian or some. There was one table with
someone from the Green Party and then there were three or four tables that had a Pima
County worker at the at each of those tables. And they worked there at the elections office
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[01:29:30] because when people came in from the building, they talked to them. And their
conversations led me to believe things like, oh, did you leave your lunch? Did you bring lunch?
And they said, no, it's over at in my office. I'm going to go get it later. And she was back in five
minutes. So similar situation, conversations that went on with people who came in, with those
with those workers.

I found it difficult for me to be able [01:30:00] to oversee 32 people and what they were doing.
I was able to catch a few of the things that were mistakes or where ballots were just they were
taking them out of the envelopes and putting them on in a pile. And their job in this particular
building room was to watch, to make sure that the ballots were in [01:30:30] one direction and
then they would double check the count of the ballot to the envelope due to, I imagine, to
check it against the envelopes that came in.

Each table was given a bin to put these in, and these bins would then go to another area where
they were being stacked up to be tabulated starting on October 22nd. [01:31:00] Many of these
had mistakes or they were written in pencil. And the workers as I went around had questions.
You know, is this a good ballot? Is this not I was told by the gentleman that ushered me out of
the place where I was supposed to be and said, you aren't to talk to anyone. You do not
communicate with them. If you have an issue or you see an issue, you need to go to the
supervisor, which is at the front of the table [01:31:30] that burned the room. So as I saw
things, as I went around to each table, I would go to the supervisor and I let her know.

You know, they don't know what to do with this this ballot pencil or whatever, and she'd say,
no, it's fine, it's fine.

So as I went back to the tables where I saw these issues under my breath, I said, you need to go
tell her, you need to go talk to them about this. And so [01:32:00] many of them said, what do I
do with this ballot? It's in pencil. Oh, it's fine. It'll go through. Or it was some people wrote over
their ballot, over the little oval circle where they were supposed to mark and. Those were put
into a pile, a separate pile that would be called duplicates, those duplicates then went to
another table and were then taken to the room where I had been ushered out of. And there
was one person there [01:32:30] were supposed to be a second person. And I said, is there a
Republican at that table? Because I said, is there a Democrat and a Republican? And he said,
well, we hope so. They have to if they get here, but it'll just be, you know, just be me and
hopefully a second person. So I as I saw these ballots along this area, that was that they marked
as doop, which I understood to stand for duplicates that were going to be fixed. [01:33:00] They
would then be taken to the table, to the room where I could see a glass. It was a glass wall
between us and they were taken around to the other side to be dealt with. I didn't get to see
that at that point. So when I left and the other person took over for me at one o'clock, I was
there for five hours. I shared with her.

I said there's a lot of mistakes that are happening. They're just they're [01:33:30] not putting
them in the order that they need to be in. So when they get folded, they become a duplicate
because they can't be counted. The machine wasn't going to accept them. So it had to be then
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taken out of the pile and put in to a duplicate. So when I left, the man who had ushered me out
of the room, the first room. He came to get me at one o'clock and walked me straight over to
the front desk and he said, I hope everything [01:34:00] went well. And I said, well, my concern
is not necessarily where I was. It was hard for me to watch 32 people by myself. But more
concerning is when these ballots were opened in the other room. And so to give you kind of a
sense of how it worked as the ballots, however they were collected, were brought into an initial
area of the office of the elections in Pima County. And in that room, [01:34:30] they were then
the envelopes were then opened up and the signatures were checked.

So then they would go through a double door where they were then sent to the room that I
was in, where there were as many people as I explained before trying to put them in in order,
not necessarily of where they were from, but how they came in. So just let's just say there were
maybe 200, 250 per box, I'm not sure. But they they came from different [01:35:00] zip codes,
different areas. It was whatever was mailed in. And then those were then put aside to be
counted after the 22nd. It was my concern was the amount of ballots that were considered to
be problematic, that were then leaving the area that I was in, going to a room where there
were only supposed to be two people and yet not even sure there was two people. So that was
my experience as an observer [01:35:30] that I shared. I thought that was concerning. The other
thing is when I came back to drop off my ballot, I had to drop it off outside and there was no
longer a police officer. And we found out that it was because our mayor or not my I live in our
valley.

But the Tucson mayor had asked had wasn't allowing a police officer in front of the office
anymore because it was upsetting to [01:36:00] people to come and vote.

And so I asked the man so might have put my ballot out here and he said, yes. So I said, how
can I be sure someone isn't going to come and take this big box? And he said, no, we're you
know, we're watching it. And I said, Who's you? And it was him and an elderly woman who was
about 85. I don't know. I'm sorry. Meaning that she was she looked fragile and I don't know
how that could be protected, but I was a little concerned about that. It did make it in because
[01:36:30] when I checked my ballot, it was counted. But another question is how how do we
know who we voted for? That's a separate issue. But my point is, is that I don't know if my
ballot actually has the the people that I voted for. And, you know, as I said, that's something
separate from what I experienced there as an observer. I as a poll worker, I was assigned to be
a provisional [01:37:00] ballot clerk, and that was on Election Day. And on that day, I had
worked the primary in August. So I had an idea of who would come by, what the issues were.
But this time we had so many more people who needed a provisional ballot than we had been
allotted to have in this one precinct. So that was concerning. But the people [01:37:30] that
came to me were I had so many people who said I didn't ask for a mail in ballot. My wife isn't
listed as a as an early ballot person, but I am.

And that those are the kind of people that we had a lot of. But secondly, I had people who had
just moved here from other states and most of them were from two apartment [01:38:00]
complexes. It was it was concerning because as we counted them, we probably had over 40
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people who were in one apartment complex with one address who had moved here from other
states that I began to turn away a little. I'd say, I don't know. Within the hour we were so busy
that I took a break and went outside and a gentleman with a yellow shirt said, [01:38:30] hi, I'm
I'm with I'm with the Democratic Party. I'm here from California and I'm here at this precinct
specifically. I came from a Phoenix in Maricopa County, a precinct there. And we're here to help
turn. Arizona blue, and I don't know if we're just looking at me, he decided that he felt safe
saying that to me, maybe he assumed [01:39:00] that I would be OK with that. I was shocked.
And he and I said, oh, so what? He said, oh, I said, so what is what is your plan? What are you
doing? And you said, well, I have lawyers on call to contact immediat ely. If you if they don't
allow them to vote people to vote. And I said, well, there was a cutoff date and he said, no,
every count, every vote should count. So that made me nervous, of course, [01:39:30] because I
didn't know the law specifically and I didn't want to do something.

That would cause a problem, so I thought and he said, oh, I've only had to turn away. Now, just
a couple people were turned away and I was able to help.

One person to go back in. Well, that that was probably sent to me because I was the provisional
ballot [01:40:00] clerk, so of course, that was somebody that I had to take care of. So I went
back in and thought, well, this is unusual. I'm concerned that somebody outside is going to be
calling an attorney on something that I did because I said no. I sent somebody away and said,
I'm sorry. I mean, if you don't have any proof that you've lived here or proof of having
registered, I. I can't I can't give you a ball ot. So [01:40:30] I called the recorder's office and
explained this and she said, well, you have to let them. All votes will count, but it's on a case by
case basis . So at that point then I had to call in to the recorder's office every at every single
ballot. And you have to understand, we ran out of spaces. So, I mean, and we were at like 200.
I'm sure you can check on this, to be sure. But we were over the amount of ballots we had. But
[01:41:00] every time I called the recorder's office, they would ask me for their name and their
their birth date of birt h. And when they would look that up, she the person on the phone would
say, OK, well, you can go ahead and let them vote. And so I was trying to find a constant that I
could go by so that we could speed up the process. I mean, is it is it if they've moved here and
they have this and if they've moved here [01:41:30] in a certain date, what is it? And they
would not give me any consent.

They just said, you just have to call for every case is different. So my concern and why I wrote in
was that I had two people right after having a slew of people who came in from other states
wanting to vote without having been registered and allowed to vote per the recorder's
[01:42:00] office. I then had someone come in from Maricopa County and one from Pinal
County. It just happened right after. And each of them, when I called in, they said, nope, you're
going to have to have them go back to Maricopa County and the other will have to go back to
Pinal. And I said, well, how is that that this person from Wisconsin and this person from
Michigan and this person from Kentucky was able to do that, and she put me on hold for a
second and then came back and said, well, it's just that [01:42:30] we have their records more
accurately than we have for Maric opa. We just can't we don't have we're not able to process
the Maricopa County ballot. So I had to send them away. But then as the other people were
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coming through, it made me question why that was happening. So I. I asked them. Do you have
information that will prove that you are a resident, that I can I [01:43:00] can verify that you are
registered to vote here and they would pull out their card and it very clearly said that they were
Republican. They had a voter card. So to to test this theory out, I called the recorder's office.

And ask them and they were denied, I had to deny them, and so I was in a frenzy trying to
[01:43:30] take care of all of these people, but I found that the discrepancy between every.

Every vote counts, and only those that the recorder's office would allow was indicative.

Of how they chose who they wanted to, allowed to vote, and there was.

Consistency [01:44:00] in the.

Voter preference that they chose and that. Concerned me, because by the end of the night,
which was at eight, 15. After [01:44:30] we counted all of the votes and they got put in the box
and we were waiting for. Someone to come get them. I'm in the car and the.

The election was was already.

Outed for Arizona, which I found appalling. [01:45:00] First of all, after working 16 and a half
hours, taking in votes, but. The experience really led me to believe that it was not there should
have been a a system that we could have followed because I understood that registered voters
[01:45:30] ended on a certain date and you couldn't come in and vote. But I was having to allow
people to vote that literally had just moved here within two weeks, three weeks. And they were
all from two different. Not all that, I take it back. There was a large majority, a large percentage
of people who were had addresses from two apartment complexes. And the last thing is that I
had a homeless man who came in with the with the registration [01:46:00] and a reason I know
he's homeless because I said, where do you live? And he said he didn't speak English. And he
said, I don't have a home. But when I was at a shelter, they registered me at the recorder's
office. So when I called about it and they said, well, he was probably registered to be in this
precinct. And I said, but he doesn't live here. And they go, well, it's anybody who was registered
downtown can vote. And so I found that to be odd. And [01:46:30] last week for work, I was on
the other side of town and I saw this gentleman on this side, sun, with his shopping cart.

And I.

I swung into the parking space and called him and just said, hi, can I talk to you? And when he
saw me, she ran off. You know, who knows why? But my my point is, is these are the kind
[01:47:00] of people that that had apparently permission to vote in a precinct that was literally
25 miles away because they had a voting card that was given to them from downtown, that it
was a downtown precinct that allowed him to vote here. So my my point is, is that if somebody
from Pinal County in Maricopa County can't vote, how is it that, in my view in this precinct, how
is it that a homeless man from another area [01:47:30] of the town and also people from other
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state were able to get permission to vote? And that was concerning to me, and that's why I'm
here.

Mister, thank you very much. Mr. Giuliani, do you have any questions specific to this witness?
Sure. Please proceed. Try just just to give you a marker on time. It's 12 or two.

So you were there for 16 and a half hours on Election Day. [01:48:00] Yeah, yes. Wow. And you
were supposed to work with the ballots that were being that were being examined.

I was working with the voters, the ballots of voters who were not able to walk into the precinct
to vote normally on a ballots. So some of them came to me saying it says that I got an early
ballot.

And I never got it. Others [01:48:30] said it says it doesn't even say that I'm on their.

It says that I've already voted or I'm not allowed to vote here. Those are the kind of. So these
were ballots that had difficulties. Yes. And there were 20 or 30 to 35 people that were looking
at those ballots that you had to observe. No, that was OK. I know. And I just described to you
my experience as a poll worker on Election Day. Those 30 people that we mentioned earlier
were. [01:49:00] But were when I was a poll observer on the 16th of October.

Or at the elections office in your county and you were unable to see what they were doing.

I thought it was a room as big as almost maybe.

It half the size of this banquet room, and I was an observer [01:49:30] watching.

And as far away as we are, I could walk behind them, I could walk behind them, but I couldn't
walk behind 35 people at the same time. And what were they doing? They were taking them
out of the envelope. They had already been they had been brought in from the recorder's office
where that where the ballot had been opened, the envelope had been opened. And according
to [01:50:00] what I was told, the signature had already been checked in another room.

But you didn't see the signature?

No, I didn't get to see that they would take these out. And they what? Did you ask to see it?
Yes. And I was not allowed. Yes.

So they said and I wasn't allowed to talk to anybody. But I as I said before, I could talk to the
supervisor, these people who sat in each of these tables who [01:50:30] were representative of.

Mostly one party with Democrat Party, and they would take them out of the envelope and then
put them in a pile and then separate the on the inside envelope in Arizona. We have an
outsider both in the inside and then the ballot. Right. Right. So the ballot was then collected
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from the bin. So each table would get in a bin and they would separate [01:51:00] them, put
the ballots in in a pile, put the envelopes in a rubber band, put them to the side, and then mark
that they had so.

Such and such amount of of regular ballots and such as?

Amount of duplicates, problematic ballots that then have to be taken to a table.

And they would separate [01:51:30] those, take the duplicates, mark them, put them at a table
which which were then taken to the original room where I had been ushered out of, not that I
was not to put them in a room that you were excluded from the exam and. The signatures, yes,
no, they started examining the signatures, then removed to this. Through and then from this
room, they were then piled to then tabulator examination of the signatures.

No, [01:52:00] not in this room. The only room there was nothing you observed no examination
of signatures. And they refused to let you do that.

Right. I was only allowed to watch these people put these in piles. So when I was not sure.

So how many how many ballots do you think? Just a rough estimate. How many ballots? 1100. I
2000.

I would say each box had between 200 and 250 ballots. And I was there for five hours. And
during that time that I was there, each table went [01:52:30] through six to seven to eight,
depending on how fast they were and how many mistakes they made, because many times the
ballots were clipped, were straight and they had to recount them.

Or I would hear them say, so how do we how do we do that arithmetic?

All right. Well, let's see. Two hundred and fifty times eight. Somebody who's not nervous,
maybe you can say 2000. That's per table. And there were about 16 to 17 tables of two people
doing [01:53:00] this at the same time.

So. So as I best understand this, there were 2000 ballots on 17 tables. Yes. That you or anyone
else might know have got you got a chance? No Republican got a chance to observe that, as far
as you know.

Well, I was the only observer allowed.

I didn't at one time, so a gal took over for me at one o'clock when I left and I told her I'm
exhausted. I [01:53:30] don't know how you can watch all 17, but stand behind one of the
tables and you'll see that this particular table keeps folding them.
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And tearing them and once that happens, it has to become a duplicate. And when this becomes
a duplicate. It goes to that table and it goes to the room where we don't get to see what
happens to that. So. You can't talk to them, but you can do this and tell them, look, that's that's
that's Foldit or that's crooked or. [01:54:00]

And I said, if you see one again that has pencil on it, the supervisor is saying, yes. She told me
specifically that it could go through. I mean, told me that it it couldn't, but told them that it
could. So I said there's some discrepancy in what she's telling me and what she's telling the. So,
you know, just do your best to try to keep an eye on this particular cable is doing this. That
particular cable when I [01:54:30] walk by is. Doing that, that one over there has a Pima County
worker on it and she works here with them. And there's no Republican at that table, so it's it's
it's very concerning and and so when I was ushered out, they came specifically.

Twice to me and said, please don't talk to anybody and. You cannot live on your own, make
sure that [01:55:00] when it's time, what time you have to leave so we can walk you out when
they walk me out, the gentleman said, I hope everything went well.

And I said, well, I'm concerned because here they were. You know that my only concern is the
handling of the ballots, which makes them ineligible to go through the machine correctly. But
it's the room before me and the room after me that it's a concern I don't get to see.

Let me just let me ask you about that. So certain number of ballots were now put aside as
duplicates. [01:55:30] Yes. Duplicates means that they had a problem. Yes. That they have to be
duplicated. Right. So, I mean, there were two ballots, right? That's duplicates can sound like
two ballot. What I meant was there's something wrong with it and therefore we may have to
duplicate. Yes. And that's the room that I was originally. And they were put aside, put aside.
They were brought into another room and two people. You were not allowed to go in? No, I
was not allowed to go back there. So you you were cut off from that also? Yes, [01:56:00] I was.
We were cut off from observing the problem ballots.

Yes. I was specifically taken out of that room, ushered out and brought into this room, which
really was just the room, as I explained. And how many how many could you estimate that is on
each table would have an average of six. I would say maybe one sixteenth.

The [01:56:30] pile, so, you know, let's say an average of maybe 10 to 20 gallons, but by the
time I left, there were these bins were filled. They would fill them, they would go correct them
or whatever it is that they did and brought them back.

Best estimate, I would say my guess would be close to in the time, the day that I was there, just
five hours, maybe 2000 ballots, OK? Yes. [01:57:00]

And you had a sense. That when there was problems with ballots or.
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Whether someone should vote or not, the choices that were being made were to allow people
that appear to be voting for Biden and the Democrats to vote and declining those who
appeared to be people [01:57:30] who might be voting for Trump.

Well, the Republicans well, yes, I began to get that sense after I saw that people from other
states who weren't even registered in the state of Arizona were being allowed to to vote. I was
given direction that I had to give them a provisional ballot because as they walked out, there
was a gentleman out there who told me he was specifically there to make sure that every vote
[01:58:00] voter who wanted to vote could vote. And so that was on Election Day, though, Mr.
Giuliani. That's not on the observatory, the data on it and on that day that that happened. And
then when I would get a voter who was from another county and had some indication
sometimes they had a shirt that either said Trump on it or they they [01:58:30] showed me
their voter card and and said, I you know, they gave me some indication that they were a
Trump voter.

And I had to call on them like I did for every single person that came in to the recorder's office.
And I was told to send them away. And so it was at that point that I started to see that there
this isn't this isn't this can't be right. This can't be right. [01:59:00] So I tested this in and out.
And then especially as you recognize that, yeah, and so when I said they all you all live at this
apartment complex and you all live at this other one. And and they said, well, yeah, we have to,
you know, we're all coming in to vote. And so I said, well, are you ready? How long have you
lived here this year? The precinct here? Well, I've lived here. I've lived there. And they still were
allowed to vote, many of them.

Were [01:59:30] not residents for more than a month, other people said they were registered
in another state, but that they were here.

And and then, as I said, I think that the nail in the coffin for me was when this poor little old
homeless man and I speak Spanish. So I spoke to him and said, you know, how are you here?
And he said, I was told to come vote. I want to vote. And I said, OK, well, you know, do you
wear.

Do [02:00:00] you live and he goes, well, I lived in a shelter downtown. Well, downtown is 15
miles from where I live, so I'm sure that's not his precinct. He should be voting.

So you thought there were about 2000 like this?

Roughly, I would say easily, just in the five hours that I was there on one specific day, and that
was on a Friday. They were going to be counted. They were being collected to be tabulated.

Last question. The gentleman who said he was there [02:00:30] to turn Arizona blue.

Yes, that was he. What was his official position?
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He had he had a sign of specter of some kind. No, he was an observer, a poll observer that was
from California, from L.A. and in and on a break, I walked out there and and I said hello and just
walking. And he said hi. And I said, What are you doing? And he said, Well, I'm a poll observer
for the Democratic Party [02:01:00] and I'm here. I said, Oh, is he? Because the weather is hot
here. It's not as hot as it is at home. And I said, well, where are you from? And he said, I'm from
California. And he said, what do you do here?

And he said, Well, I'm here specifically to help turn this precinct blue.

But this is one of our problem ones, and I said, oh, and as I said to the panel over here, I don't
know why he felt comfortable telling me that, but he said, I [02:01:30] and I said, you came all
the way from L.A. because no, actually, my precinct in Maricopa, where it was another one that
we were we're focusing on and now I'm here.

What was he doing? Was he campaigning with you, encouraging people to vote for for Biden?
What was the what activities did he take part in to turn Arizona?

Well, as I understood, because I was inside working his job [02:02:00] was to make sure that
anybody who was turned away to vote, that he would have people he could call attorneys, in
his words, because I I have a couple of attorneys that I'm connected to right now that if
anybody is not allowed to vote, I can make sure that they're represented. And so anybody who
was not allowed to go in that polling place, I was the one that they would be talking to.

So, of course, that [02:02:30] was that was somewhat directed at me, since I'm the one who
would say, no, you can't vote. So I don't know what else he was doing. But he said there was a
group of them that were coming and they said there some time after you began doing that, he
was there.

Well, we started at five o'clock in the morning just getting ready. So when I went out for my
first break, I was maybe around 10 o'clock and he had been there and they were they I
[02:03:00] I'm sorry. I don't remember what he had on his shirt, but they were they were very
clear that they were they had T-shirts. They said that they match another person came in to
take over for him and it was a yellow shirt with something written on the front.

Right. Well, thank you very much for your service and courage to testify. I just make one point,
Mr. Chairman, of her testimony alone. And I see no reason why she isn't telling the truth.
[02:03:30] By the way, she is under oath in the sense that she submitted an affidavit under
penalty of perjury to what she just testified to. Thank you, sir. That 34000 vote on unobserved
change in election is not just any one witness.

Sir, thank you very much. Thank you, members. I know, I know everybody wants to ask a
question. We need. Well, [02:04:00] everybody has one. It is now 12, 15. I expect this hearing at
the rate that we're going, we will be here until late into the night. Please be brief with your
question, and I would appreciate it if there's no follow ups just so that we can have a lunch
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break and kind of set the expectation for the folks who are here and get back at it and we'll try
to make. The witnesses focus a little bit more. All right, thank you, Mr. Mayor.

Leo Suchi, [02:04:30] I'm sorry, Representative Suchi, your first and Mr. Birling.

Thank you, Mr. Chairman. Thank you for being here. Just a quick question about the voters that
you said were coming in that were from. At a town or they just move there, whatever their
reasoning was, did they have an Arizona?

With an address or anything to show you where they on the voter rolls or these, they were not
on the voter rolls, they had out-of-state driver's licenses. I don't know why, but. Have
[02:05:00] a either an electric bill or not.

Or some kind of a build that they showed me on their phone, showed me that they lived in this
particular precinct with that I would call the the recorder's office and you would verify through
them that they were indeed legal to vote. Right. And so then when I said, well, when did you
move here? Well, I moved here on such and such a date. But you had to have registered, I
think, in Arizona [02:05:30] by the 15th and then it was extended to the 22nd or the twenty or
so it was. It was just questionable that they were still allowed to vote. But I had a longtime
voter who wasn't allowed, who wasn't from another precinct, and yet someone could vote
from another state. Perfect.

Thank you, Senator Birling. Yes, sir. Thank you, ma'am. When the votes that needed to be
duplicated, the ones that need to be corrected, when they went to the end of the room, did
you notice anybody in there that was actually overseeing [02:06:00] that correction, a
Republican or a Democrat?

No. As I mentioned before, that's the first room I went into. And he explained to me that he this
is the room where that would happen, but that I was not allowed to be in there.

When you were in there before they sent you somewhere else, did you see a Republican and a
Democrat observed he was only one. You know how he was registered. Do you know if he's
registered Republican or Democrat?

I, I don't know, but I have an idea.

But that would be the bottom line is we'd [02:06:30] appreciate no speculation. Thank you very
much. It's a violation of the law anyway, because you're supposed to have both. Well, thank
you. All right, members, one question and then we're going to break for lunch, Representative
Townsend.

Thank you, Mr. Chairman. And I just have a really quick question. We had our county recorder
in Maricopa County instruct voters to cross out mistakes on their ballots for the November
election. And we later had a judge say no, that was likely breaking the law. You can't do that.
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We've [02:07:00] also heard from adjudicators saying that they had seen a full Republican
ballot, but all the way down, but that President Trump's name was crossed out and. The other
candidates was circled in, is it possible, in your opinion, in that other room that you weren't
allowed to be in when there wasn't a second person watching the.

The adjudication. Were there pens allowed, were there were they would someone be able to
cross [02:07:30] out one candidate and vote for someone else?

Well, again, I wasn't in their. Or to be able to say this accurately, but there's only, you know,
can make an assumption if. If a room requires two people in an observer that a person by
themselves. It's possible of course, it's possible that that's what happened, but those are the
kind of ballots that I'd see that because [02:08:00] I was able to see the.

As it came through in this room, there was they were either all for.

Gop or all for the Democratic Party, but one of the president, little Oval, had been marked off
or no crossed, which makes it a problematic ballot [02:08:30] so that.

That would have to go into the other room that you're asking me about, and again, I wasn't in
there to be able to speak accurately about what this person could or could have done or didn't
do. And that, to me was the big problem in this whole issue. I I'm useless to be able to watch
people just putting them in order. I should have had an observer watching.

Ok, thank you. All right. Sir, thank you very much for your [02:09:00] testimony. Ladies and
gentlemen, here's how we're going to manage the lunch break as you leave. Please wait a
minute before you walk out the door or you won't get back in as you're walking out the door,
you'll be given an ar mband. And in order to come back in, you'll have to show that armband we
are going to break. It's now 12, 22. We will be back here at one o'clock. It's going to be a short
break. Thank you.

All [02:10:00] right, welcome, everybody. Again, this is live, as well as with Blake with Bright
Side Broadcasting [02:10:30] Network. We are live on the ground here in Phoenix, Arizona,
where Team Trump is doing their legal hearing regarding election irregularities in the state of
Arizona. We've heard from three witnesses already, and it looks like we're going to be going
late into the night. So we will be taking a lunch break and reconvening at 1:00. So don't go
anywhere. We'll bring you the live coverage right back. But. Before we go anywhere, we have a
couple things we just like to point out from what we've heard [02:11:00] already today. And I
think our partners over at my pillow, we know that getting a restful night's sleep is crucial to
waking up on the right side of the bed and with Christmas right around the corner. Now is the
perfect time to stock up on all these products from a company with a Patriot owned company.
Visit my pillow dotcom to stock up on all the guests for yourself and your loved ones. My pillow
guarantees ultimate relaxation with a wide variety of items to choose from ranging. [02:11:30]
From ultra plush towels, dog beds, mattress toppers and keys. The dream sheets and so much
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more, including one of their biggest savings so far, which is the regular my pillows valued at
sixty nine, ninety eight. If you use codas and you can get those right now for just 29, 98, a huge
savings. Again, my pillow dotcom has hundreds of products to choose from. And if you use code
[02:12:00] Arizpe and at checkout you can get up to 66 percent off your entire order. This is the
perfect time to support a conservative company right before the holidays go out and get your
shopping done. Now, you do not want to wait till it's too late.

That being said, I mean, what what do you. I think so far a lot has happened today, we've heard
a lot of information, there's there's been an awful lot of information presented.

And I think that Mayor Giuliani's remarks at the beginning [02:12:30] about how there's a
narrative out there that the election was the most secure ever. And I think he believe he said,
please don't interrupt that narrative with the truth. And that's really, really what I think. I mean,
I believe that we're in a situation where there's limited media coverage of this event, and it's
not because of the information being provided isn't newsworthy. It's not because there aren't
facts here that are being discovered or being given to the lawmakers of Arizona for
consideration.

It's because they're [02:13:00] exactly other networks are perhaps just not feeling that there's a
story here. And in fact, this would be the largest political. Story of this century and even last
century, I mean, it's a scandal of immense proportions. If, in fact, voter fraud can be proven,
they're not even looking for it, and I think that's that's disturbing, not in the slightest.

And we've been to Phoenix a lot. We know Fox five, [02:13:30] Phoenix is had all the rallies and
I thought that we'd at least see them here today. But like you said, they don't even care.

I mean, not even enough to give an ounce of oxygen to breathe on their nightly news routine.
So it's it's shocking. It's upsetting, but. We honestly don't need them, what we have around
200000 watching alone on YouTube, so thank you to everyone. For tuning in, this should not be
a polarizing topic, I think people on both sides of the [02:14:00] spectrum right now should be
worried about election integrity hearing these. Witnesses, factually, it just doesn't make sense,
Dominion Software is in Smartmatic.

Software Systems Huge, which is owned by Hugo Chavez and has been raised in so many
corrupt Central and South American countries like Venezuela, I mean, that alone should tell you
that's not something that we want to be utilizing here in the United States when it is our
[02:14:30] election integrity, the presidential election of the United States.

Something's got to give.

Yes, and both the army colonel and the former senator from Michigan presented pretty clear
evidence that these servers were connected to the Internet, that they weren't air gap, they
were not just, you know, not immune from tampering by some form of malicious actor who
went on to gain access to those totals. So saying that it's the most secure election ever. I think
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[02:15:00] that's been completely blown out of the water today. I think there's just no way that
anybody can look at the. Data and look at the information and and hold that to be true, I think
that that story should be dead in the water at this point.

Yeah. With having the Ethernet cord connected to. The server, this does allow for Internet
access and in turn it allows for communication.

Between these servers to the black, what do they call the [02:15:30] black box? No, no, no.

Dark deep web. Deep web. I mean, anyone anyone like he said, any hackers can get on and
change this, so. Quote, I want to take away from that is that your Venmo account is more
secure than your 2020 vote, and that is what a information warfare specialist said today.

Absolutely. I believe that, you know the compact. Flash cards that they are using to transfer
[02:16:00] votes and just really it's really I don't. But just the fact that some of the media
service run on Windows 10 alone is enough for me to speak. Really give pause to it, I mean, the
fact that these things are so easily manipulated. By operators and then even one one operator
with the correct permissions at a remote workstation through the network, as these machines
are designed to work, has the ability to change totals, [02:16:30] is completely off putting. You
know, Janet Ellis had a great quote, too. And that's that was that. We're not asking you to
overturn an election. We're asking you to ensure that corruption does not stand. And I think
that's the core of what all of these hearings are about, to educate the American public that.
This is the election took place, the results are there, but the results that we're looking at are
fraudulent, are are at the very least beset by [02:17:00] the allegations and the possibility of
fraud and the fingerprints of fraud. It's it's completely there and what she's tasking the
lawmakers is to do is basically admit that you're not overturning an election, you're taking back
your constitutional authority as a member of your state legislature to appoint the electors that
you feel are appropriate for your state.

Thank you. And we are about to wrap it up here. Great commentary, Blake. But [02:17:30] to
wrap it up here, we need to clear this room. But we do want to remind you guys that Rightside
Broadcasting Network is almost entirely viewer funded, meaning we rely on your donations to
go from rally to rally, hearing and hearing and to cover the White House and the march for
Trump, which is currently going on today. So it's a bus tour covering twenty three cities in two
weeks and we cover all of that. There's a lot going on right now. We're providing as much
content as possible. So if you've enjoyed seeing a little bit of different avenues. Here at our
then [02:18:00] keep those donations coming and we'll keep providing you some of the
greatest coverage that we possibly can. There's a number of ways you can support us. The first
one is by clicking that dollar sign in the bottom right hand corner of the YouTube Supachai. And
the second way is via our website, whether you donate or not. Check out our website. That's W
w w darris B network dot com forehead's donate the third way by sending a check and we love
to read these letters that come with the checks and that is send those to our SBN at fifty and
[02:18:30] 50. Opelika Road Suite six box three four for Auburn, Alabama, three six eight three
zero moderators. Thank you for being here today and drop those addresses down below. We
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are going to hop out of here for exactly thirty minutes and we will be right back. So don't go
anywhere. This is the stream you want to stay on.
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                          EXHIBIT 7
    Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
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PHIL WALDRON
PROFILE
Proven senior leader, with specific expertise in the federal operations, I conduct business development and
strategic planning to achieve annual revenue goals in a tremendously complex, highly regulated, and rapidly
changing field. I have a unique background with extensive industry experience enabling identification of business
opportunities from a customer’s perspective. I drive access through contracting, system-based electronic systems
integration. I work with matrixed teams to identify shared business goals and focus capabilities and resources on
specific business needs. I develop and build relationships with key internal and external decision-makers,
including executives and Key Opinion Leaders to expand the level and scope of my influence to develop
business-to-business opportunities. I have a proven track record of results-focused leadership and team building. I
have a current Military Retiree Identification and retain a Top Secret Clearance.


EXPERIENCE
COLONEL, UNITED STATES ARMY (Retired)
As a senior officer in the US Army Reserve, I was responsible for planning, coordinating, budgeting and
executing Unconventional Warfare, Strategic Communications, Strategic Influence Operations, and Psychological
Operations. I enabled decision-making for senior civilian and military officials at the Under-Secretary and Four-
Star level. I gained extensive global operational experience working with a wide range of highly matrixed Inter-
Agency Teams on problem solving and course of action development. I also worked with coalition, host-nation,
and tribal faction leadership to build ad-hoc organizations to enhance US and Allied Strategic Objectives. I was
specifically trained in Key Leader Engagement, Negotiation, and Cultural Adaptation, and worked alone or in
small indigenous teams to engage with influential personalities. I developed skills in analyzing all-source
intelligence to identify opportunities, develop unique concepts for operational execution, and produce negotiated
agreements.

US Army Reserve Officer Apr 1997 to July 2016:**
• Senior Officer assigned to the United States Northern Command as the Strategic Information Operations
   Planner. Also served in Joint and Interagency designated special mission units for specific named operations,
   NATO, CENTCOM, SOCOM, SOUTHCOM, AFRICOM and the Defense Clandestine Service – Special
   Operations Directorate
• Analyzed, planned, coordinated, and integrated the execution of unconventional and sensitive strategic
   operations, requiring Top Secret / Sensitive Compartmented Information (TS-SCI) Clearance and Polygraph
• Responsible for briefing high level US government officials on observations and recommendations for
   sensitive national security operations.
• Conducted risk management, developed and gained approvals for new concepts and capabilities, and
   evaluated the execution and effectiveness of sensitive and compartmented operations

FEDERAL ACCOUNT DIRECTOR, PFIZER INC, Aug 2018 to May 2019: (Retired)
• Responsible for Market Access, Pricing and Contracting initiatives in the Federal Business Channels:
  Dept. of Defense (DoD), Dept. of Veteran’s Affairs (VA) and the Medicare Administrative Contractors
  (MACs)
• Work directly with senior leaders at VA PBM as well as the Defense Health Agency and Defense Logistics
  Agency to ensure formulary access for the BioSim Portfolio through value modeling and contracting.


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•   Served as a member of the Pfizer Colleague Council for the Veterans In Pfizer and the Veteran Recruiting
    Lead for Global Diversity and Inclusion Initiative

BIOSIMILAR ACCOUNT MANAGER, PFIZER INC, Nov 2016 to Jul 2018:
BUSINESS MANAGER, PFIZER INC. TEXAS, Sep 2000 to Nov 2016:
INSTITUTIONAL HEALTHCARE REPRESENTATIVE - POWERS RX, Dec 1996 to Sep 2000:


US Army Air Cavalry Officer, May 1986 to Apr 1997:**
• Served as a commissioned Army Officer in the 17th US Cavalry stationed at Ft. Bragg, NC, the 9th US Cavalry
    at Ft. Wainwright AK, and the 21st US Cavalry at Ft. Hood, TX
• Led Air Cavalry Troop in the conduct of Attack, Reconnaissance, and Combat Surveillance
• One of a handful of officers selected for a second company level command as Brigade Headquarters and
    Headquarters Troop Commander
** Awards and Decorations: Combat Action; Senior Army Aviator; Paratrooper; and Air Assault Badges.
Defense Meritorious Service Medal, Army Meritorious Service Medal and Joint Meritorious Unit Award
(Multiple) and many lesser awards and decorations. Detailed Military Biography, Evaluation Reports, Awards
and Decorations Available


EDUCATION
•   BS in Biomedical Science, Texas A&M University – Graduate 1986. Distinguished Military Graduate
•   US Army Command and General Staff College, ILE, Graduate 2008
•   US Army Information Operations Course, US Army Command and General Staff College, Honor Graduate
    2008
•   Masters of Business Administration, Jack Welch Management Institute, Strayer University – Graduate
    2014
•   Specific information on other DoD Training and Certifications available as required




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                        EXHIBIT 8
  Defendant’s Motion to Exclude Plaintiffs’ Expert Witnesses
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 1
 2
 3
 4
 5
 6                                        UNITED STATES DISTRICT COURT
 7                                            DISTRICT OF ARIZONA
 8   Tyler Bowyer; Michael John Burke; Nancy Cottle;             No. CV-20-02321-PHX-DJH
     Jake Hoffman; Anthony Kern; Christopher M.
 9   King; James R. Lamon; Sam Moorhead; Robert
     Montgomery; Loraine Pellegrino; Greg Safsten;               EXPERT REPORT OF
10   Salvatore Luke Scarmardo; Kelli Ward; and                   PROFESSOR GARY KING
11   Michael Ward,

12                          Plaintiffs,

13   v.

14   Doug Ducey, in his official capacity as Governor of
     the State of Arizona; and Katie Hobbs, in her
15   official capacity as Arizona Secretary of State,

16                         Defendants.
17
     MARICOPA COUNTY BOARD OF
18   SUPERVISORS; and ADRIAN FONTES, in his
     official capacity as Maricopa County Recorder,
19
                           Intervenors.
20
21
22                   Pursuant to 28 U.S.C. § 1746, I hereby verify that the following statements are
23   true and correct to the best of my knowledge:
24   Report of Gary King
25   In this report, I evaluate evidence described and conclusions drawn in several Exhibits in this
26   case offered by the Plaintiffs. I conclude that the evidence is insufficient to support conclusions
     about election fraud. Throughout, the authors break the chain of evidence repeatedly – from the
27   2020 election, to the data analyzed, to the quantitative results presented, to the conclusions
28   drawn – and as such cannot be relied on. In addition, the Exhibits make many crucial

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 1   assumptions without justification, discussion, or even recognition – each of which can lead to
     substantial bias, which was unrecognized and uncorrected. The data analytic and statistical
 2
     procedures used in the Exhibits for data providence, data analysis, replication information, and
 3   statistical analysis all violate professional standards and should be disregarded.
 4   Exhibit 2: “An Analysis of Surveys Regarding Absentee Ballots Across Several States” by
 5   William M. Briggs

 6         1. Summary: The conclusions of this Exhibit are not supported by the evidence provided.
              The lack of crucial information provided about the survey violates professional
 7
              standards in this field and is insufficient to support the stated conclusions.
 8         2. Proper survey research requires precise details about all of the following (among
              others), none of which appear in the Exhibit:
 9                a. A probability sample, which normally involves (a) an enumerated list of all
10                    members of the target population of interest and (b) a known random mechanism
                      of selecting members of the population to be interviewed. (For example, we
11                    could have a list of all voters and sample selection conducted by random lottery,
12                    where each voter has an equal probability of selection.)
                  b. Detailed information about the entire chain of evidence from the election we are
13                    studying to the quantitative information in the dataset to be analyzed to the
14                    numerical results.
                  c. The response rate, including precisely how this rate was computed, and precise
15                    information about how those who responded to the survey differed from those
16                    who refused (which indicates how representative the survey respondents are and
                      whether adjustments need to be made during statistical analysis).
17                d. Carefully worded and validated survey questions. Surveys are well known to be
18                    highly sensitive to the specific questions asked (for example, using the word
                      “baby” in a question about “attitudes toward abortion rights” can completely
19                    change respondent answers) and so best practices in the field requires pretesting,
20                    cognitive debriefing, and clear, measurable validation. Without these steps, we
                      cannot know whether the answer a respondent gives reflects the specific views
21                    we seek to measure.
22                e. Detailed information about survey response biases. Retrospective surveys, such
                      as this, are well known to have substantial biases which must be studied, known,
23                    and corrected. This retrospective survey, in particular, was conducted while the
24                    President was claiming election fraud, and so we need to know whether
                      supporters and opponents of the President responded to this survey ways that
25                    might bias the results toward their favored positions. Even in elections without
26                    this behavior, retrospective studies are well known to give incorrect answers to
                      who each respondent voted for and whether they turned out to vote in the first
27                    place. (For one of many examples, more survey respondents typically report
28                    having voted than there were voters.) These and other types of biases can be

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 1                           large, but correcting them is impossible if – as in the present Exhibit – they are
                             not measured and reported, and proper statistical techniques are not used.
 2
                          f. Statistical analysis methods must be developed to adjust for all the information
 3                           in items a-e. Applying simple means or counts to the data without adapting
                             them to all of the above – as was done in the Exhibit – can yield highly
 4
                             misleading results.
 5                        g. Complete information must be provided about how the data was analyzed. The
                             standard of information reporting (now used widely in the academic literature) is
 6
                             that it must be sufficiently detailed so that a third party would be able to
 7                           replicate the results in the Exhibit without talking to the original author. See
                             Gary King. 1995. “Replication, Replication.” PS: Political Science and Politics,
 8
                             28, Pp. 444-452. Copy at https://j.mp/2oSOXJL.
 9         3.        The following two sentences is a summary of the information Exhibit 2 provides about
                     its sampling procedures: “Survey data was collected from individuals in several states,
10
                     sampling those who the states listed as not returning absentee ballots. The data was
11                   provided by Matt Braynard.”
                          a. None of the terms in this sentence are defined. We do not know what “survey
12                           data was collected”, who collected it, how it was collected, etc. The Exhibit
13                           does not say which “individuals” were surveyed or who was approached to
                             answer a survey question. The terms “several states” is not defined. Where we
14                           can find “those who the states listed” is not reported.
15                        b. Thus, this Exhibit excludes information necessary for making valid scientific
                             inferences and drawing accurate conclusions. The Exhibit itself violates
16                           academic standards, and cannot be relied on for the purposes claimed.
17         4.        Exhibit 2A reports several undocumented and unexplained numerical tables apparently
                     from the survey. If this is correct, the first table indicates that the survey researcher
18                   attempted to interview 81,704 people of which 684 completed the survey (“1-
19                   Completed Survey”), for a response rate of 0.008 (8 tenths of one percent), far below
                     any professional standard for a modern survey.
20         5.        The Exhibit does not measure or discuss how representative these 684 people are of the
21                   target population and how the broader group was selected, and likely biases are not
                     addressed, corrected, quantified, or even noted.
22         6.        To provide more information about the inadequacy of this report, I also list a few more
23                   specific examples from the report indicating undefined procedures, unprofessional
                     methods, and unjustified analyses:
24                        a. The Exhibit indicates that “The survey asked respondents whether they (a) had
25                           ever requested an absentee ballot”. Unfortunately, the precise survey question
                             was withheld, which is sufficient to reject any conclusions based on this
26                           question, but if we take the phrase literally it means a respondent could answer
27                           yes if they requested an absentee ballot in any election, including those prior to
                             the 2020 Presidential election, which is obviously irrelevant to the present case.
28

     {00526054.1 }                                           -3-
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 100 of 261




 1                    b. The Exhibit reads: “If so, (b) whether they had in fact returned the ballot”. The
                         Exhibit needs to provide evidence that the respondent is interpreting the word
 2
                         “returned” in the same way as the Exhibit, which itself is not precisely defined.
 3                       Does it mean mailed, dropped off, received, counted, or something else?
                         Apparently small issues like this can greatly bias statistical conclusions if not
 4
                         known and adjusted.
 5                    c. The Exhibit says “I produce predictions…” but does not indicate how these
                         predictions were made. No information is provided and so the claimed “errors”
 6
                         have no relevance for drawing conclusions, since they could easily be errors in
 7                       the authors’ predictions, computed with secretive procedures.
                      d. Almost regardless of how the predictions were produced from survey data, it is
 8
                         inconceivable that the author could reliably estimate what the Exhibit calls
 9                       “Error #1, those who were recorded as receiving absentee ballots without
                         requesting them” or “Error #2, those who returned absentee ballots but whose
10
                         votes went missing”. Methods do not exist that can do this without knowing
11                       considerably more than the Exhibit provided.
                      e. “The size of the errors were large” – No metrics were provided for the errors
12                       and so “large” is undefined.
13                    f. The report also apparently references data about official records, such as the
                         number of absentee ballots and the number returned. The report does not give
14                       the origin for this information. The chain of evidence for this information (just
15                       as with the survey) must be made available. With any break in the chain – and
                         the links in the Exhibit are mostly missing – no reliable conclusions can be
16                       drawn from the data.
17                    g. The report fails to explain how the quantitative tables that appear in the body of
                         the report were constructed. As such, they cannot be interpreted and no reliable
18                       conclusions can be drawn from them.
19                    h. The report fails to provide information about how the figures in the Appendix
                         were constructed. As such, no conclusions can be drawn from them.
20
21    Exhibit 4: Declaration of [redacted]

22          1. Summary: The statistical methods used in this Exhibit do not represent best practice in
               current scholarship and can easily induce bias. The methods themselves are used
23             incorrectly. No data is provided. Crucial information about how the analysis was
24             performed was withheld. The conclusions in this Exhibit are not supported by the
               evidence provided.
25          2. The two statistical methods in this Exhibit are well known to be suboptimal and to
26             induce bias in conclusions. Neither should be used for the task at hand.
                   ○ The Exhibit is correct in claiming that the statistical analysis method in Item 7
27                     (known as “CHAID”) does not make modeling assumptions, but CHAID does
28                     make a host of other assumptions that are not defended, discussed, or even

      {00526054.1 }                                       -4-
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 101 of 261




 1                            listed; each can bias conclusions. For this reason, statisticians and data scientists
                              mostly do not use CHAID any longer and have turned to more modern
 2
                              approaches.
 3                                 ■ The Exhibit provides no information about how this method was used,
                                       what assumptions were made, what the results look like, or how the
 4
                                       results from the method generated its conclusions.
 5                        ○ Matching is a popular method of statistical analysis, but current scholarship has
                              shown that “propensity score matching” should not be used. This point was first
 6
                              described in this peer reviewed scholarly article: Gary King and Richard
 7                            Nielsen. 2019. “Why Propensity Scores Should Not Be Used for Matching.”
                              Political Analysis, 27, 4. Copy at https://j.mp/2oTKhnd.
 8
                                   ■ The Exhibit clearly violates best practices even in the use of this
 9                                     suboptimal method. It includes no diagnosis of whether the chosen
                                       propensity score model accomplished its narrow goal of reducing
10                                     covariate balance. Often propensity scores makes imbalance worse,
11                                     hence increasing bias relative to not using it at all, and so this checking is
                                       an essential step, without which no conclusions can be trusted.
12                                 ■ The Exhibit also violates best practices by not providing any sensitivity
13                                     analyses with alternative variables or alternative matching methods.
            3.        The Exhibit misrepresents the statistical concept of “p-values”. No analysis described
14                    here can produce results that are a “statistical impossibility”. Even “improbable” results
15                    are not “impossible”: In other words, in the US voters are allowed to vote however they
                      wish. Voters are sometimes predictable, but sometimes not. And even when they are
16                    predictable by some methods on average, individuals go their own way and vote on
17                    whatever basis they choose.
            4.        Item 10: the colors described in this Exhibit – for example, delineating which areas are
18                    used by Dominion voting machines – do not appear, as the report was scanned in black
19                    and white. This means that the central evidence claimed in this Exhibit does not appear
                      in the Exhibit and cannot be regarded as admissible evidence in this case.
20          5.        Item 16: This Exhibit misleadingly cherry picks only the upper bound of a 95%
21                    confidence interval without also mentioning the lower bound, which even under the
                      Exhibit’s assumptions are equally likely. In addition, even if the Exhibit’s logic were
22                    correct, we would expect to see results outside the upper and lower bounds in 5% of
23                    elections like this one, making claims about “impossibility” incorrect.
            6.        Item 12: if voters are predictable, as claimed here, then prior voting behavior should be
24                    used as a predictor. This is standard practice in decades of scholarly literature, but it
25                    was ignored here, hence biasing the conclusions.
                          ○ The data to do this would have been easy to include. Typically, the lagged vote
26                            share is the single best predictor of current vote share at the county level.
27                        ○ The national correlation at the county level between Trump’s proportion of the
                              vote in 2016 and 2020 is very high. This is a strong and reliable pattern across
28                            centuries of electoral data in thousands of elections; see Jonathan N. Katz, Gary
      {00526054.1 }                                             -5-
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 102 of 261




 1                     King, and Elizabeth Rosenblatt. 2020. “Theoretical Foundations and Empirical
                       Evaluations of Partisan Fairness in District-Based Democracies.” American
 2
                       Political Science Review, 114, 1, Pp. 164-178. Copy at https://j.mp/2BkgYTP
 3          7. Item 14: The Exhibit provides no information about how the particular model used was
               chosen. If it is indeed the “best estimate”, as claimed in the Exhibit, there must have
 4
               been other models run. Yet, none of which were reported, again violating standard
 5             practice in the field.
            8. In 10 swing states, pivotal in the election and the subject of litigation, President Trump
 6
               won in 81% of the 351 counties that used Dominion and 79% of the counties that
 7             didn’t; any statistical analyses -- parametric or non-parametric -- that contradict this
               empirical finding must provide sufficient justification that rejects this simple
 8
               observation. No discussion of basic results such as these appear in the Exhibit. See for
 9             example https://wapo.st/36EOeEU.

10    Exhibit 6: Statement of Joseph T. Oltmann
11
            1. This Exhibit claims to base conclusions on a statistical technique called “ARIMA”,
12             which is used to analyze time series data. Yet, no time series data is discussed in this
               Exhibit. No references to the underlying data appear. How this method was used is not
13
               discussed. No statistical results from this method are presented. None of ARIMA’s
14             considerable and consequential assumptions are considered or justified. No reliable
               conclusions can be drawn from this analysis.
15
16    Exhibit 9: Declaration of Seth Keshel

17          1. Summary: The conclusions of this Exhibit do not follow from the evidence provided,
               even assuming arguendo that the evidence is accurate.
18
            2. For example, in Item 7: Just because Republicans outpace Democrats in post-primary
19             registration rates does not, in and of itself, indicate that Trump would win in 2020.
               Voters are of course allowed to cast their ballots however they choose, including for
20
               candidates of another party if they wish. In fact, “split ticket voting” – where a person
21             votes for different parties for different offices in the same election – has increased in
               many areas of the country in this election, as it has at different times throughout
22
               American history.
23          3. Item 11: Increases in Democratic votes in one county does not in and of itself indicate
               anything nefarious; voters are permitted to vote however they choose. The Exhibit also
24
               creates predictions in dubious ways, such as by choosing counties to compare to
25             Maricopa on the basis of an arbitrary margin of votes. These counties may differ from
               Maricopa in myriad other ways, none of which are addressed in the Exhibit. The
26
               Exhibit’s conclusion that the result is a “virtually impossible number” because the
27             author’s predictions were wrong does not follow from the evidence.

28

      {00526054.1 }                                     -6-
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 103 of 261




 1    Exhibit 19: Declaration of Matthew Bromberg
 2          1. Summary: The assumptions of the model used in this Exhibit to draw conclusions do
 3             not apply to the 2020 election, or almost any other. Conclusions in this Exhibit are
               based on a set of theoretical and largely counterfactual assumptions, ones that have no
 4             bearing on the case at hand. As such, conclusions from this report are unsupported.
 5          2. The key assumption in this Exhibit is that “each person chooses their candidate
               independently”. Political scientists have shown in hundreds of articles and books that
 6             voters do not flip coins to determine who to vote for (as the Binomial distribution the
 7             Exhibit uses assumes). In fact, few vote without any influence from the opinions of
               others around them. Much of the essence of politics is the collective expression of a
 8             population, which would not happen with each voter in a silo, isolated from all others.
 9             In fact, voters are routinely influenced by the campaign, the candidates, advertising, the
               media, and other voters. Assuming that none of these processes are operating – as the
10             independence assumption in this Exhibit implies – turns the Exhibit into hypothetical
11             discussion about nonexistent elections.
                   a. The fatal flaws in this line of reasoning, and the fact that these assumptions are
12                      “not warranted by the data”, are well known in the statistical and political
                        science literatures. For example, see: Andrew Gelman, Gary King, and John
13
                        Boscardin. 1998. “Estimating the Probability of Events that Have Never
14                      Occurred: When Is Your Vote Decisive?” Journal of the American Statistical
                        Association, 93, Pp. 1–9. Copy at https://j.mp/2ovXwOF
15
            3. The Exhibit relies on data that has no known providence: the chain of evidence from the
16             election we are studying to the Exhibit is broken in multiple places and so cannot be
               relied on.
17
                   a. The website is a wiki, which means anyone can make edits without being
18                      identified: the site has no authentication, authorization, and even claimed
                        identification by the data contributors, as email addresses and real names are not
19
                        even required to deposit data. This is a wholly inadequate approach to providing
20                      supposedly empirical data. It cannot be relied on.
                   b. The wiki site makes its problems explicit by writing in bold: “Warning: There
21
                        may be some vandalism from those who are denying the reality of the fraud
22                      - we've been expecting this. Most of the damage has been cleaned up.” The
                        operators of the site, thus, break the chain of evidence further by not explaining
23
                        what “cleaned up” means, providing any information about data providers, or by
24                      giving evidence that they are acting as neutral arbiters and curators of data,
                        wherever it originated.
25
26    Exhibits Plaintiffs Submitted Late

27    I understand that plaintiffs disclosed additional expert opinions on the evening of
28    December 5, 2020, well after the deadline for disclosing expert materials. I have not yet had

      {00526054.1 }                                     -7-
     Case 2:20-cv-02321-DJH Document 78-1 Filed 12/08/20 Page 104 of 261




 1    an opportunity to consider these materials but, if asked to do so, may offer additional
      opinions on these new expert reports if the Court allows them to be considered.
 2
 3    Qualifications
 4    Detailed information about my qualifications, including my bio and cv, can be found at
 5    GaryKing.org. My work on this report is pro bono.

 6    I am the Albert J. Weatherhead III University Professor at Harvard University -- one of 25 with
      Harvard's most distinguished faculty title -- and Director of the Institute for Quantitative Social
 7
      Science. I develop and apply empirical methods in many areas of social science, focusing on
 8    innovations that span the range from statistical theory to practical application. I have published
      widely in peer reviewed scholarly journals on elections, voting behavior, statistical analysis
 9
      methods, political science, and social science.
10
      I am an Elected Fellow in 8 honorary societies (National Academy of Sciences, American
11    Statistical Association, American Association for the Advancement of Science, American
12    Academy of Arts and Sciences, Society for Political Methodology, National Academy of Social
      Insurance, American Academy of Political and Social Science, and the Guggenheim
13    Foundation) and have won more than 55 prizes and awards for my work. I was elected
14    President of the Society for Political Methodology and Vice President of the American Political
      Science Association; have been a member of the Senior Editorial Board at Science, Visiting
15    Fellow at Oxford, and have written more than 175 scholarly journal articles, 20 open source
16    software packages, 15 patents, and 8 books.

17    My publications are widely cited in academic publications across scholarly fields and beyond
18    academia. I was listed as the most cited political scientist of my cohort; among the group of
      "political scientists who have made the most important theoretical contributions" to the
19    discipline "from its beginnings in the late-19th century to the present"; and on lists of the most
20    highly cited researchers across the social sciences.

21    I have served on more than 30 editorial, nonprofit, and corporate boards; as founding editor
      of The Political Methodologist, and on the governing councils of the American Political
22
      Science Association, Inter-university Consortium for Political and Social Research, Society for
23    Political Methodology, Midwest Political Science Association, Center for the Advanced Study
      in the Behavioral Sciences at Stanford, and the Institute for Data, Science, and Society at MIT.
24
25    With my coauthors, I developed the methods used by courts and parties to detect partisan
      gerrymandering. My “ecological inference” methods for inferring individual behavior from
26    aggregate data are used in most jurisdictions in applying the Voting Rights Act to detect racial
27    gerrymandering. I have consulted widely about these and other issues for both major political
      parties, the courts, and others.
28

      {00526054.1 }                                   -8-
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 1    I received a Ph.D. from the University of Wisconsin-Madison (1984). I then taught at NYU for
      three years before moving to Harvard in 1987.
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 4
                      Gary King, 6 December 2020
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      {00526054.1 }                                -9-
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                                  Curriculum Vitae
                                    Gary King
                                    September 6, 2020


Contact                                  1       Articles . . . . . . . . . . . . . .   10
Education                                1       Software . . . . . . . . . . . . . .   24
Positions                                1       Patents . . . . . . . . . . . . . .    25
Honorary Societies                       2       Supreme Court Amici Briefs . . .       26
Prizes, Honors, Awards                   2     Companies Founded                        27
Research Grants                          6     Corporate and Nonprofit Boards           27
Writings                                 9     Conference Activities                    30
   Books . . . . . . . . . . . . . . .   9     University Service Activities            31


Contact
          Institute for Quantitative Social Science
          Harvard University
          1737 Cambridge Street
          Cambridge, Massachusetts 02138                            GaryKing.org

          Direct: (617) 500-7570                              King@Harvard.edu
          Assistant: (617) 495-9271                   king-assist@iq.harvard.edu

Education

Ph.D., Political Science, University of Wisconsin, Madison, 1984.
M.A., Political Science, University of Wisconsin, Madison, 1981.
B.A., Summa Cum Laude; Highest Honors in Political Science;
State University of New York at New Paltz, 1980.


Positions

Albert J. Weatherhead III University Professor, Harvard University, 2009 to the present.
David Florence Professor of Government, Harvard University, 2002 to 2009.
Professor of Government, Department of Government, Harvard University, 1990 to 2002.
John L. Loeb Associate Professor of the Social Sciences, Department of Government,
Harvard University, 1989.
Associate Professor, Department of Government, Harvard University, 1987 to 1989.
Visiting Assistant Professor, Department of Political Science, University of Wisconsin,
Madison, Summer 1985.
Assistant Professor, Department of Politics, New York University, September, 1984 to
1987.
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Gary King                                                                            2


Honorary Societies

Elected Member, National Academy of Social Insurance, 2014.

Elected Member, National Academy of Sciences, 2010.

Elected Fellow, American Statistical Association, 2009.

Elected Fellow, Society for Political Methodology, 2008.

Elected Fellow, American Association for the Advancement of Science, 2004.

Elected Fellow, American Academy of Political and Social Science, 2004.

Elected Fellow, American Academy of Arts and Sciences, 1998.

Guggenheim Fellow, John Simon Guggenheim Memorial Foundation, 1994–1995.



Prizes, Honors, Awards

Gwilym Gibbon Research Fellow, Nuffield College, Oxford University, 10/1/2019–9/30/2022.

Excellence in Mentoring Award, Society for Political Methodology, 2019.

Robert H. Durr Award, for “the best paper applying quantitative methods to a substan-
tive problem” at the previous year’s MPSA Conference, for “How to Measure Legislative
District Compactness If You Only Know it When You See it,” with Aaron Kaufman and
Mayya Komisarchik, 2019.

Miembro Vitalicio (Lifetime Member), Asociación Mexicana de Ciencias Polı́ticas (Mexi-
can Political Science Association), 2017.

Best Paper Award, Political Communication Division, International Communication As-
sociation, 2017, for “How the Chinese Government Fabricates Social Media Posts for
Strategic Distraction, not Engaged Argument” with Margaret Roberts and Jennifer Pan.

Dartmouth Ventures Entrepreneurship Competition, 2nd place, for Thresher, with Rebecca
Fair, 2015.

Warren E. Miller Award for Meritorious Service to the Social Sciences, Inter-University
Consortium for Political and Social Research, 2015.

Accelerator Award, Harvard University, Office of Technology Development, for “Let Ma-
chines Score so Teachers can Teach,” which became Perusall.com, with Eric Mazur, 2015.

MPSA Kellogg/Notre Dame Award, from the Midwest Political Science Association, for
the best paper in Comparative Politics, 2014, for “Reverse Engineering Chinese Censor-
ship through Randomized Experimentation and Participant Observation,” with Margaret
Roberts and Jennifer Pan.

Statistical Software Award, Society for Political Methodology, 2014, for Amelia II, by
James Honaker, Gary King, and Matthew Blackwell.
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Gary King                                                                                  3


Highly Cited Researcher, and listed in World’s Most Influential Scientific Minds, Thompson-
Reuters, 2014.

Everett Mendelsohn Excellence in Mentoring Award, Harvard Graduate Student Council,
2011.

Elected Fellow, American Political Science Association, Information Technology & Politics
Section, 2011.

Career Achievement Award, Society for Political Methodology, 2010.

Honorary Doctorate of Humane Letters, State University of New York at New Paltz, 2010.

New Hot Paper, for the most-cited paper in Economics and Business in the last two months
among papers published in the last year, for “Misunderstandings among Experimentalists
and Observationalists about Causal Inference” by Kosuke Imai, Gary King, and Elizabeth
A. Stuart, named by Thomson Reuters’ ScienceWatch, 2009.

Miller-Converse Lecturer, Center for Political Studies, Institute for Social Research, Uni-
versity of Michigan, 2009.

Warren Miller Prize for the best article published in Political Analysis, for “Matching
as Nonparametric Preprocessing for Reducing Model Dependence in Parametric Causal
Inference” by Daniel E. Ho, Kosuke Imai, Gary King, and Elizabeth Stuart, awarded by
the Society for Political Methodology and Oxford University Press in 2008.

Fast Breaking Paper, for the article with the largest percentage increase in citations among
those in the top 1% of total citations across the social sciences in the last two years, for
“Matching as Nonparametric Preprocessing for Reducing Model Dependence in Parametric
Causal Inference” by Daniel E. Ho, Kosuke Imai, Gary King, and Elizabeth Stuart, named
by Thomson Reuters’ ScienceWatch, 2008.

APSA (ITP Section) Best Instructional Political Science Website Award, for Dataverse,
by Gary King, Merce Crosas, and the Dataverse team, 2008.

Elected to the Nominating Committee for the American Association for the Advancement
of Science, Section on Social, Economic, and Political Sciences, 2/20-2007–2/22/2010.

Named in 2006 to ISI’s list of the “most highly cited researchers in the social sciences,”
Thomson Reuters.

The McGraw-Hill Award for the best journal article on law and courts written by a political
scientist and published during the previous calendar year for “The Supreme Court During
Crisis: How War Affects only Non-War Cases” by Lee Epstein, Daniel E. Ho, Gary King,
and Jeffrey A. Segal, 2006.

Law and Society Association Prize, Runner up, to “recognize exceptional scholarship in
the field of sociolegal studies for an article published in the previous two years,” for “The
Supreme Court During Crisis: How War Affects only Non-War Cases” by Lee Epstein,
Daniel E. Ho, Gary King, and Jeffrey A. Segal, 2006.

Best Instructional Innovation in the Social Sciences or Social History, Honorable Mention,
2005 ICPSR Prize, for “Publication, Publication,” by Gary King.
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Gary King                                                                               4


Pi Sigma Alpha Award, for the best paper delivered at the previous year’s MWPSA Con-
ference, for “The Supreme Court During Crisis: How War Affects only Non-War Cases”
by Lee Epstein, Daniel E. Ho, Gary King, and Jeffrey A. Segal, 2005.

Robert H. Durr Award, for “the best paper applying quantitative methods to a substantive
problem” at the previous year’s MWPSA Conference, for “The Supreme Court During
Crisis: How War Affects only Non-War Cases” by Lee Epstein, Daniel E. Ho, Gary King,
and Jeffrey A. Segal, 2005.

APSA Research Software Award, for The Virtual Data Center, by Micah Altman, Gary
King, and Sidney Verba, 2005.

American Judicature Society Award, Honorable Mention, for the best paper presented at
the previous year’s meetings of the American, Midwest, Northeastern, Southern, South-
west, or Western Political Science Associations, for “The Supreme Court During Crisis:
How War Affects only Non-War Cases” by Lee Epstein, Daniel E. Ho, Gary King, and
Jeffrey A. Segal, 2005.

Elected Vice President, American Political Science Association, for 2003–2004.

Listed in American Political Scientists: A Dictionary (2002), giving the “consensus group
of 193 political scientists who have made the most important theoretical contributions” to
the discipline “from its beginnings in the late-19th century to the present”.

ISI Emerging Research Front Article, for authoring an article cited more often in the
fields of Psychiatry and Psychology than any other, October, 2002 (for Gary King, James
Honaker, Anne Joseph, and Kenneth Scheve’s “Analyzing Incomplete Political Science
Data: An Alternative Algorithm for Multiple Imputation,” American Political Science
Review ), Thomson Reuters’ ScienceWatch.

Clifford C. Clogg Memorial Lecturer in Sociology and Statistics, Pennsylvania State Uni-
versity, 2002.

Vision Distinguished Lecturer, Florida State University, 2001.

Outstanding Statistical Application Award, for the outstanding application of statistics
in any substantive field, for “Not Asked and Not Answered: Multiple Imputation for
Multiple Surveys,” with Andrew Gelman and Chuanhai Liu, from the American Statistical
Association, 2000.

The Gosnell Prize, for the best work in political methodology presented at any political
science conference in the preceding year, for “Improving Quantitative Studies of Interna-
tional Conflict: A Conjecture,” with Nathaniel Beck and Langche Zeng, 1999.

The Okidata Best Research Software Award, for “Clarify: Software for Interpreting and
Presenting Statistical Results,” with Michael Tomz and Jason Wittenberg, 1999, from the
American Political Science Association.

The Okidata Best Research Web Site Award, for the Record of American Democracy
project and the Harvard-MIT Data Center, 1999, from the American Political Science
Association.
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Gary King                                                                               5


Pi Sigma Alpha Award for the best paper (“A Statistical Model for Multiparty Electoral
Data” with Jonathan Katz) at the previous year’s meetings of the Midwest Political Science
Association, 1998.
The Donald Campbell Award for the “outstanding methodological innovator in public
policy studies,” from the Policy Studies Organization, 1997.
The Gosnell Prize, for the best work in political methodology presented at any political
science conference in the preceding year, for the work published as A Solution to the
Ecological Inference Problem: Reconstructing Individual Behavior from Aggregate Data
(Princeton University Press, 1997).
Elected President, Society for Political Methodology, 1997–1999.
Alumnus of the Year, State University of New York at New Paltz Alumni Association,
1997.
The APSA Research Software Award for “EzI: A(n Easy) Program for Ecological Infer-
ence” (with Kenneth Benoit) from the American Political Science Association, Computer
Section, 1997.
State University of New York Alumni Honor Roll (an award created to honor alumni who
demonstrate outstanding professional achievement and significant contributions to higher
education and/or public service), from the Chancellor of the State University of New York,
1997.
The Heinz Eulau Award, for the best article published in the American Political Sci-
ence Review, from the American Political Science Association, for “Enhancing Democracy
Through Legislative Redistricting,” (with Andrew Gelman) Vol. 88, No. 3 (September,
1994): Pp. 541–559.
Elected Vice President, Society for Political Methodology, 1995–1997.
Visiting Fellow, Nuffield College, Oxford University, Summer, 1994.
The APSA Research Software Award for “COUNT: A Program for Estimating Event
Count and Duration Regressions,” from the American Political Science Association, Com-
puter Section, 1994.
The Mills Award, for the “outstanding contributor in the field of public policy under age
35,” from the Policy Studies Organization, 1993.
Pi Sigma Alpha Award for the best paper (“Why Do U.S. Presidential Election Polls Vary
So Much When the Vote is So Predictable?” with Andrew Gelman) at the previous year’s
meetings of the Midwest Political Science Association, 1993.
The APSA Research Software Award for “JudgeIt: A Program for Evaluating Electoral
Systems and Redistricting Plans,” (with Andrew Gelman), from the American Political
Science Association, Computer Section, 1992.
Curriculum Development Challenge Award, “Undergraduate Research Participation in Po-
litical Science,” New York University, 1987.
Research Challenge Award, “Public Opinion and Executive Behavior: Toward a New Pres-
idency Research Agenda,” New York University, 1986.
University Fellowship, University of Wisconsin-Madison, 1983–84.
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Gary King                                                                                 6


Research Grants

“OpenDP: An Open-Source Suite of Differential Privacy Tools,” Alfred P. Sloan Founda-
tion, Grant No. G-2019-12331, 07/01/2019–09/30/2020, with Salil Vadhan, Merce Crosas,
and James Honaker, ($884,838).

“Citation++: Data Citation, Provenance, and Documentation,” National Science Foun-
dation, ACI-1448123, 1/01/2015–12/31/2017, With Margo Seltzer and Merce Crosas,
($300,000).

“Applying Theoretical Advances in Privacy to Computational Social Science Practice,”
Alfred P. Sloan Foundation, 5710003879, G-2014-13661 4/01/2015–9/30/2017 with Salil
Vadham, Urs Gasser, Merce Crosas, and Micah Altman ($616,000).

“Preparing Social Science Research Infrastructure for the Potential Inversion of Its Largest
Successes and Failures,” Alfred P. Sloan Foundation, G-2015-14108, with Merce Crosas,
12/31/2015–5/31/2017, ($751,941).

“Alfred P. Sloan Fellowships: Toward the Creation of Interdisciplinary Fellowships in
Data Science,” Alfred P. Sloan Foundation, G-2015-20166009, with Richard McCullough,
1/01/2016–6/30/2018, ($124,994).

“RAPID: Measuring the Intent of Chinese Leaders through Censorship Behavior,” Na-
tional Science Foundation, SES-1500086, With Jennifer Pan and Margaret Roberts, 3/01/2015–
2/29/2016 ($200,000).

“Causal Inference Methods for Estimating Long Term Health Effects of Air Quality Regu-
lations,” Health Effects Institute/Environmental Protection Agency, 4909-RFA11-1/12-3;
CR-83467701, with Corwin Zigler et al., 5/01/2012–10/31/15, ($1,033,958).

“Statistically Defensible Comparison of Similar but Disparate Tests,” Charles River Ana-
lytics Inc./Department of Defense SC1220801 EVIDENT; FA9550-13-C-0028, 2/15/2013–
11/14/2013, with Wayne Thornton et al. ($75,000).

“A Bridge from Publishing Words to Publishing Data,” Alfred P. Sloan Foundation, G-
2014-13659, 1/1/2015–12/31/2017, with Merce Crosas, Tom Carsey, and Jonathan Crab-
tree ($845,000).

“Privacy for Social Science Research,” National Science Foundation #CNS-1237235, 10/01/2012–
9/30/2017, with Salil Vadhan, Edoardo Airoldi, Phillip Malone, Latanya Sweeney, ($5,992,707).

“BetterBirth: A Trial of the WHO Safe Childbirth Checklist Program,” Gates Founda-
tion #OPP1017378, 5/12/2011–4/28/2015, with Atul Gawande, Jonathan Spector, Stuart
Lipsitz, Sue Goldie, and Stephen Resch, ($14,149,388).

“Center for Historical Information and Analysis (CHIA),” National Science Foundation
#BCS-1244667, 1/1/13–12/31/2015, with Patrick Manning, ($91,600).

“DataBridge — A Sociometric System for Long-tail Science Data Collections,” National
Science Foundation #OCI-1247602, 11/1/2012–10/31/2016, with Arcot Rajasekar, Thomas
Carsey, Hye-Chung Kum, Howard Lander, Sharlini Sankaran, Justin Zahn, ($463,263).

Disney Research Grant, 2012, ($35,000).
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Gary King                                                                                7


“Helping Journals to Upgrade Data Publication for Reusable Research,” 2012-3-2, Al-
fred P. Sloan Foundation #219264, 6/1/2012–1/1/2015, with Micah Altman and John
Willinsky ($1,058,994).

“Text Clustering,” Amazon Web Services in Education Research Grant, 2011.

“Measuring, Understanding, and Responding to Covert Social Networks,” Department of
Defense, Multidisciplinary University Research Initiative (MURI) #W91INF-11-1-0036-
DOD35CAP, 11/23/2010–11/22/2016 with Patrick Wolfe, Edo Airoldi, Mung Chiang,
David Lazer, Devavrat Shah, and Burton Singer ($6,240,927).

Institute for Museum and Library Services, “Simple Verified Distributed Preservation: A
Policy Based Archival Replication System for Libraries, Archives, and Museums using a
Virtual Private LOCKSS,” LG-05-09-0041-09, with Mark Abrahamson, Ken Bollen, and
Nancy McGovern, 10/1/2009–9/30/2012 ($823,016).

National Science Foundation, CDI-Type II: Collaborative Research, “Bibliographic Knowl-
edge Network,” DMS-0835500, with James Pitman et al., 10/1/2008–9/30/2011 ($1,211,433).

Library of Congress, “Extension to the Digital Social Science Acquisitions and Preservation
Partnership,” with Myron Gutmann, Mark Abrahamson, and Ken Bollen, 2009-2010,
($274,832).

Library of Congress, “Extension to the Digital Social Science Acquisitions and Preservation
Partnership,” with Myron Gutmann, Mark Abrahamson, and Ken Bollen, 2007-2009,
($710,000).

Initiative for Innovative Computing, “GenePattern and the Dataverse Network,” with Jill
Mesirov, 9/1/2006–8/31/2008, ($250,000).

Time Sharing Experiments for the Social Sciences, “Priming to Increase the Information
Content in Survey Responses,” with Daniel Hopkins (survey time).

Library of Congress, “The Digital Social Science Acquisitions and Preservation Partner-
ship,” PA#NDP03-1, 9/1/2004-3/30/2010, with Myron Gutmann, Ken Bollen, David
Weakliem, and Louise Richardson ($2,037,595).

Ministry of Health, Mexico, “Evaluation of the System for Social Protection in Health,”
8/1/2004–12/31/2006, ($1,049,981).

National Institutes of Health, National Institute on Aging grant, “Software Development
for Resolving Interpersonal Incomparability in Survey Research,” Supp. to “Adapting Sta-
tistical Methods for Public Health Research,” P01 AG17625-01 7/2003–8/2005 ($28,659).

Robert Wood Johnson Foundation, “Scholars in Health Policy Research Program,” 9/2003–
8/2007, with Nicholas Christakis and Joe Newhouse ($4,564,391).

World Health Organization, “Improved Methods of Demographic Forecasting,” 9/2001–
8/2003 ($90,000).

Swiss Peace Foundation grant, “International Relations Events Data and Methods Devel-
opment,” 9/2002-8/2003 (two research fellows).
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Gary King                                                                               8


Robert Wood Johnson Foundation planning grant, “Scholars in Health Policy Research
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Patents

King, Gary; Eric Mazur; Kelly Miller; and Brian Lukoff. “Instructional Support Platform
for Interactive Learning Platforms,” U.S Patent and Trademark Office, Patent No. US
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King, Gary; Eric Mazur; Kelly Miller; and Brian Lukoff. “Instructional Support Platform
for Interactive Learning Platforms,” U.S Patent and Trademark Office, Patent No. US
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King, Gary; Brian Lukoff; and Eric Mazur. 2019. “Cluster Analysis of Participant Re-
sponses for Test Generation or Teaching,” U.S. Patent and Trademark Office, Patent No.
US 10,388,177 B2, Issued 8/20/2019. Copy at http://j.mp/30wgvYC.

King, Gary; and Patrick Lam; and Margaret Roberts. 2019. “Systems and Methods
for Keyword Determination and Document Classification from Unstructured Text,” U.S.
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Gary King                                                                            26


Patent and Trademark Office, Patent No. US 10,275,516 B2, Issued 4/30/2019. Copy at
http://j.mp/2Jz53pp.

King, Gary; Eric Mazur; and Brian Lukoff. 2019. “Participant Grouping for Enhanced
Interactive Experience,” U.S. Patent and Trademark Office, Patent No. US 10,216,827 B2,
Issued 2/26/2019. Copy at http://j.mp/2tFYhVX

King, Gary; Eric Mazur; Kelly Miller; and Brian Lukoff. 2019. “Stimulating Online
Discussion in Interactive Learning Environments,” U.S. Patent and Trademark Office,
Patent No. US 10,192,456 B2, Issued 1/29/2019. Copy at http://j.mp/2CQrIIT.

King, Gary; Brian Lukoff; and Eric Mazur. 2018. “Management of Off-Task Time in a
Participatory Environment,” U.S. Patent and Trademark Office, Patent No. US 9,965,972
B2, Issued 5/8/2018. Copy at http://j.mp/2I6IKEj.

King, Gary and Justin Grimmer. 2016. “Method and Apparatus for Selecting Clusterings
to Classify a Data Set.” U.S. Patent and Trademark Office, Patent No. US 9,519,705 B2,
Issued 12/13/2016. Copy at http://j.mp/2hSsNnl.

King, Gary; Brian Lukoff; and Eric Mazur. 2016. “Cross-Classroom and Cross-Institution
Item Validation.” U.S. Patent and Trademark Office, Patent No. US 9,508,266, Issued
11/29/2016. Copy at http://j.mp/2gG9Dkk.

Firat, Aykut; Mitchell Brooks; Christopher Bingham; Amac Herdagdelen; and Gary King.
2016. “Systems and methods for calculating category proportions,” U.S. Patent and Trade-
mark Office, Patent No. US 9,483,544, Issued 11/1/2016. Copy at http://j.mp/2mqwX8f.

King, Gary; Brian Lukoff; and Eric Mazur. 2015. “Participant Grouping For Enhanced
Interactive Experience,” U.S. Patent and Trademark Office, Patent No. US 9,219,998 B2,
Issued 12/22/2015. Copy at http://j.mp/2IEZJSV.

King, Gary; Daniel Hopkins; and Ying Lu. 11/17/2015. “System for Estimating a Distri-
bution of Message Content Categories in Source Data (2nd),” United States of America
US 9,189,538 B2 (U.S Patent and Trademark Office). Copy at http://j.mp/2CeNXs5.

King, Gary; Brian Lukoff; and Eric Mazur. 2014. “Participant Grouping For Enhanced
Interactive Experience,” U.S. Patent and Trademark Office, Patent No. US 8,914,373 B2,
Issued 12/16/2014. Copy at http://j.mp/1EkBPSZ.

King, Gary and Justin Grimmer. 2013. “Method and Apparatus for Selecting Clusterings
to Classify A Predetermined Data Set,” U.S. Patent and Trademark Office, Patent No.
US 8,438,162 B2, Issued 5/7/2013, Copy at http://j.mp/12cmMDZ.

Hopkins, Daniel; Gary King; and Ying Lu. 2012. “System for Estimating a Distribution of
Message Content Categories in Source Data,” U.S. Patent and Trademark Office, Patent
No. US 8,180,717 B2, Issued 5/15/2012, Copy at http://j.mp/14SQsbp.


US Supreme Court Amici Briefs

Gerken, Heather K.; Jonathan N. Katz; Gary King; Larry J. Sabato; and Samuel S.-H.
Wang. 2017. “Brief of Heather K. Gerken, Jonathan N. Katz, Gary King, Larry J. Sabato,
and Samuel S.-H. Wang as Amici Curiae in Support of Appellees,” Filed with the Supreme
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Gary King                                                                                27


Court of the United States in Beverly R. Gill et al. v. William Whitford et al. No. 16-1161.
Copy at http://j.mp/2iJAMZl.

Imbens, Guido; Donald B Rubin; Gary King; Richard A Berk; Daniel E Ho; Kevin M
Quinn; James D Greiner; Ian Ayres; Richard Brooks; Paul Oyer; and Richard Lempert.
2012. “Brief of Empirical Scholars as Amici Curiae,” Filed with the Supreme Court of the
United States in Abigail Noel Fisher v. University of Texas at Austin, et al. No. 11-345,
Copy at http://j.mp/2ox5M0U.

Gary King, Bernard Grofman, Andrew Gelman, and Jonathan Katz. 2005. “Brief of Amici
Curiae Professors Gary King, Bernard Grofman, Andrew Gelman, and Jonathan Katz in
Support of Neither Party,” Filed with the U.S. Supreme Court in Jackson v. Perry. Copy
at http://j.mp/2gw1W1R.



Companies Founded

OpenScholar (TheOpenScholar.com), founded by Jessica Drislane and Gary King, 2017–.

Perusall (Perusall.com), founded by Gary King, Brian Lukoff, Eric Mazur, and Kelly
Miller, 2015–.

Thresher (Thresher.io), founded by Rebecca Fair and Gary King, 2015–.

Learning Catalytics (LearningCatalytics.com), founded by Gary King, Brian Lukoff,
and Eric Mazur, 2011–2013, (acquired by Pearson).

Crimson Hexagon (CrimsonHexagon.com), founded by Candace Fleming and Gary King,
2007–2018, (merged with Brandwatch).



Corporate and Nonprofit Boards

Co-founder and Co-chair, Social Science One, 2018–.

Board of Directors, InMoment, Inc., 2018–2019 (InMoment acquired; board disbanded).

Editorial Board Member, Swiss Political Science Review, 2017–.

Senior Editorial Board, Science Magazine, 2015–2016.

Editorial Board Member, World Politics, 2013–2019.

Board of Directors, Center for Advanced Study in the Behavioral Sciences, 9/1/2011–2020.

Board of Directors, Crimson Hexagon, Inc., Member 2007–2018. Chair, 2012–2018.

Board Observer, Brandwatch. 2018–.

Board of Directors, Thresher, LLC, Chair, 2015–.

Editorial Board Member, Journal of Experimental Political Science, 2013–.
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Editorial Board Member, GigaScience, 2011–.

Editorial Board Member, American Sociological Review, 2010–2013.

Academic Review Board Member, International Public Policy Review, 2010–2011.

Member, Quantified Self Advisory Board, 2009–2013.

Editorial Board Member, Environmental Economics, March 2009–2012.

Editorial Board Member, Statistics, Politics, and Policy, 2009–.

Advisory Board Member, American Human Development Report, 2009.

Chair, Durr Award Committee, Midwest Political Science Association, 2008.

Scientific Oversight Group, Institute for Health Metrics and Evaluation, University of
Washington, 2008–.

Advisory Board Member, Political Methods: Quantitative Methods, Social Science Re-
search Network, 2007–.

Editorial Board Member, American Political Science Review, July 2007–.

Editorial Advisory Board, The Annals, American Academy of Political and Social Science,
2006–.

Editorial Board Member, Journal of Information Technology and Politics, 2006–.

Editorial Board Member, Political Research Quarterly, 2006–2011.

Editorial Board Member, Concepts and Methods Working Paper Series of the International
Political Science Association, 2005–2007.

Steering Committee, ESRC Oxford University Spring School in Quantitative Methods of
Social Research, 2002.

Editorial Board Member, Population Health Metrics, 2002–.

Editorial Board Member, Evidence for Health Policy, 2002–2005.

Editorial board member, American Journal of Political Science, 1988–1991, 2002–2009.

Member, U.S. National Committee on Data for Science and Technology (USNC/CODATA),
National Research Council, 12/2001–6/2004.

Member, Privacy in the Information Age Committee, National Research Council (Com-
puter Science and Telecommunications Board), 2/2002–.

Senior Science Advisor, World Health Organization, 1998–2003.

Editorial Board member, New England Journal of Political Science, 2005–.

Editorial Advisory Board member, Encyclopedia of Social Measurement, Academic Press.

Governing Council member, American Political Science Association, 1999–2001.
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Gary King                                                                            29


Governing Council member, Inter-university Consortium for Political and Social Research,
1998–2000. Chair, Director Search Comittee.

Executive Council member, Midwest Political Science Association, 1997–1999. Chair,
Publications Committee.

Editorial Board member, Encyclopedia of Public Health, Academic Press.

Editorial Committee member, Bulletin of the World Health Organization, 1999–.

American Political Science Association liaison to the American Association for the Ad-
vancement of Science, Section K, 2002.

Editorial Board Member, American Political Science Review, 1995–2001.

Editorial Board member, Sage Publications, Quantitative Applications in the Social Sci-
ences, monograph series, 1994–.

Chair, National Science Foundation, Committee of Visitors review panel for the political
science program, 1994.

Editorial board member, International Studies Quarterly, 1994–2001.

Editorial board member, Legislative Studies Quarterly, 1993–1996.

National Science Foundation, political science panel member, 1991–1993.

Editorial board member, American Politics Research (formerly American Politics Quar-
terly), 1992–2010.

Editorial board member, Journal of Politics, 1991–1997.

Editorial board member, Public Opinion Quarterly, 1991–1995.

Editorial board member, Journal of Conflict Resolution, 1990–.

Editorial board member, Sociological Methods and Research, 1989–.

Editorial board member, Political Analysis, 1988–.

Founding Editor, The Political Methodologist, Newsletter of The Society for Political
Methodology and the Methodology Section of The American Political Science Associa-
tion, 1988–1990.

Program Committee Co-chair, Political Methodology Section and Organized Section Head
of the Political Methodology Group, American Political Science Association annual meet-
ing, 1990.

Member, Steering Committee, Presidency Research Group, American Political Science
Association, 1989–1993.

Member, Richard F. Fenno, Jr. Prize Committee, Legislative Studies Section, American
Political Science Association, 1990.
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Selected Conference Activities

[Needs updating!]

Invited Address, “The Dataverse Network,” UseR! The R User Conference, Technische
Universität Dortmund, Germany, 12-14 August 2008.

Keynote Address, “What to do about Biases in Survey Research,” Association Française
de Science Politique (French Political Science Association), Toulouse, France, September,
2007.

Invited Address, American Association for Public Opinion Research, Nashville, May, 2003.

Keynote address in methods, American Sociological Association, San Francisco, August,
1998.

Keynote Address in Political Geography, Association of American Geographers, Cam-
bridge, Massachusetts, March 1998.

Short Courses (3-6 hours) offered on A Solution to the Ecological Inference Problem: Re-
constructing Individual Behavior from Aggregate Data at the American Political Science
Association (August, 1997), the Boston Chapter of the American Statistical Association
(November, 1997), the Inter-university Consortium for Political and Social Research (July
1998), and the Social Science History Association (November 1998).

“Not Asked and Not Answered: Multiple Imputation for Multiple Surveys,” the Journal
of the American Statistical Association (by Andrew Gelman, Gary King, and Chuanhai
Liu), Applications Invited Discussion Paper at the American Statistical Association annual
meetings in Dallas, Texas, August, 1998.

“Meet the Author: Gary King’s A Solution to the Ecological Inference Problem: Recon-
structing Individual Behavior from Aggregate Data,” panels at the annual meetings of
the Midwest Political Science Association, 10–12 April 1997, and the American Political
Science Association, 28–31 August 1997.

“Meet the Authors: King, Keohane, and Verba’s Designing Social Inquiry: Scientific
Inference in Qualitative Research,” annual meetings of the American Political Science
Association, 2–4 September 1994.

“The State of Political Methodology: Looking Back at Achen (1983), King (1990), and
Bartels and Brady (1993),” at the annual meetings of the American Political Science
Association, 2–5 September, 1993.

“Scientific Inference in Qualitative Research,” (a roundtable on a draft version of Gary
King, Robert Keohane, and Sidney Verba’s Designing Social Inquiry: Scientific Inference
in Qualitative Research) annual meetings of the American Political Science Association,
Washington, D.C., 29 August–1 September, 1991.

“On Political Methodology,” presented to a panel about this paper at the annual meetings
of the American Political Science Association, Atlanta, 31 August to 3 September 1989.

“Maximum Likelihood: Costs and Benefits,” (on Unifying Political Methodology: The
Likelihood Theory of Statistical Inference) at the annual meetings of the Southern Political
Science Association, Memphis, Tennessee, 2–4 November 1989.
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Selected University Service Activities

[Needs updating!]

University-Wide Social Sciences Advisory Committee (and Chair of the Infrastructure
Committee), 2009–2011.

Social Sciences Priority Committee, 2008–2016.

FAS Priorities Committee, 2008–2009.

Director, Institute for Quantitative Social Science, 2005–.

Director, Center for Basic Research in the Social Sciences, 2004–2005.

Director, Harvard-MIT Data Ce nter, 1987–.

Visiting Committee Member, Harvard School of Public Health, 2003–2009.

Standing Committee on Higher Degrees in Health Policy, 1998–.

FAS Resources Committee, 1997–.

Knafel Center Planning Committee, 1997–2005.

Standing Committee on Information Technology, FAS, 1992–.

Chair, Joint Junior Faculty Recruitment Committee, Department of Government, 1997–
98, 2003–04, 2004–05, 2005–06, 2006-07.

Chair, Information Technology Subcommittee on Libraries and Databases, 1996–97.

Faculty Council, Harvard University, Faculty of Arts and Sciences, 1992–94.

Placement Director, Department of Government, 1993–94, 1996–97.

Standing Committee on the College Library, FAS, 1993–94.

Steering Committee, Political Economy and Government Ph.D. program, FAS and JFK
School of Government, Harvard, 1991–94.

Standing Committee on Research Policy, FAS, 1992–93.

Standing Committee for Undergraduate Education, FAS, 1992–93.

Chair, Political Methodology Recruitment Committee, 1993.

Chair (1991—93) and member (1989–91, 2001–02), Admissions Committee, Department
of Government, Harvard.

Junior Faculty Recruitment Committee, Department of Government, Harvard, 1987–89,
1990–92.

Chair, James Phelps Stokes Lecture Committee, Department of Politics, NYU, 1986–87.

Fellowship, Evaluation, and Progress Committee, Department of Politics, NYU, 1986–87.
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Undergraduate Curriculum Committee, Department of Politics, NYU, 1986–87; completed
review and revision of the entire undergraduate curriculum.

Methodology Field Head, Department of Politics, NYU, Fall, 1986.

Graduate Curriculum Committee, Department of Politics, NYU, 1985–86; completed re-
view and revision of the entire graduate curriculum.

Admissions Committee, Department of Politics, NYU, 1985–86.

Faculty Adviser, Political Science Graduate Student Association, Department of Politics,
NYU, 1985–86.

Computer Planning Committee, Faculty of Arts and Sciences, NYU, 1984–1987.

Lecture Committee, Department of Politics, NYU, 1984–85.

Politics Computing Advisory Committee, Department of Politics, NYU, 1984–85.

Social Science Computing Advisory Committee, NYU, 1985–1987.
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                Response to Report of Dr. William Briggs




                         Stephen Ansolabehere




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Statement of Inquiry

        1. I have been asked to evaluate the report of Dr. William Briggs. I am compensated at

the rate of $550 an hour.

        2. A brief summary of my high-level opinions and conclusions is below; however,

overall, based on my review, I find the estimates and analyses in Dr. Briggs’ report to be

unreliable and the analysis not up to scientific standards of survey research, data science, or

election analysis. There are substantial errors in the design of the survey and errors and

inconsistencies in the data used in the analysis that are of sufficient magnitude to invalidate any

calculations or estimates based on these data. The extremely low response rate, the high break

off rate, and the inconsistencies in data spreadsheets lead me to conclude that the survey should

not be assumed to be representative of the population studied, and the data should not be

assumed to be accurate. The interpretation of the data does not account for obvious and

important features of absentee voting, including permanent absentee voters who do not need to

request ballots to receive them, as well as late, rejected, invalid, and spoiled absentee ballots.

The errors in design, analysis, and interpretation of the data are so massive that there is no

foundation for drawing any conclusions or inferences from Dr. Briggs’ report.



Summary Assessment

        3. In his report, Dr. Briggs evaluates survey data that was provided to him by a third

party and assumes that “the respondents [to the survey] are representative and the data are

accurate.” 1 There is no indication in his report that he conducted any analysis of the data or that

those who provided the data to him did anything to verify its correctness and integrity. Nor is


1
 William M. Briggs, “An Analysis of Surveys Regarding Absentee Ballots Across Several States,” November 23,
2020, page 1.


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there any showing that he or anyone else analyzed the quality of the survey or the

representativeness of the sample on which he based his analysis. It is standard scientific practice

in the field of survey research to give careful scrutiny to data before conducting any statistical

analyses, including understanding the structure and wording of the survey questions, the

sampling method and response rate, and the characteristics of the sample, such as demographic

and behavioral indicators.

          4. In his report, Dr. Briggs defines two types of purported errors. The first is that people

received an absentee ballot even though, according to the survey, they did not request one

(Alleged Error #1). The second is that people allegedly returned absentee ballots that election

offices did not record (Alleged Error #2). These two alleged errors, Dr. Briggs asserts, combine

to create a category of “troublesome ballots.” The estimates of Alleged Error #1 and Alleged

Error #2 that he presents are deeply flawed because of defects in the design of the survey, fatal

data errors evident in the survey toplines, calculation errors, and errors in the interpretation of the

data. It is my professional judgment that none of the estimates and projections in his report are

valid.

          5. The design of the survey contaminates the data and any estimates, rendering them

invalid. Specifically, in Question 1 of the survey the surveyor asks to speak to a specific person.

Some of the respondents are flagged as “Reached Target,” while others are flagged as

“Uncertain” or “What is this about?” Both groups of people (Reached Target and Uncertain) are

then asked Question 2, “Did you request an absentee ballot?” This is a serious survey design

error, because some or perhaps all of the people flagged as “Uncertain” are not the target of the

interview. As a result, the structure of the very beginning of the survey allows people who were




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not the target to be treated as if they were in the remaining questions. This leads to the

contamination of all estimates.

          6. The survey also suffers from ambiguously worded questions, which introduces

measurement errors in any estimates. Question 2 asks respondents whether they requested an

absentee ballot. The question does not follow up and clarify different ways that people obtain

absentee ballots, especially, whether the voter did not need to request a ballot in order to receive

one because they are permanent absentee voters. According to data reported by county election

offices in the State of Arizona to the U.S. Election Assistance Commission, there were 2,545,198

million permanent absentee or early voters (PEVs) in the state out of 2,672,384 absentee voters

in the 2018 election. The data are from 2018 because the 2020 data have not yet been reported.

In other words, 95 percent of all absentee voters in the state were automatically sent an

absentee ballot without needing to request one for a specific election. Dr. Briggs is

apparently unaware of this critical fact, which completely undermines his analysis.

          7. The wording of Question 3 also is very problematic. First, the survey does not

ascertain whether a ballot was in fact received. According to figures from the U.S. Election

Assistance Commission, there were 102,896 undeliverable absentee ballots. Neither Question 2

nor Question 3 screens out people who did not receive a ballot. Second, Question 3 does not

ascertain whether the ballot was mailed back in a timely manner so as to be included in the

record of ballots cast. Third, Question 3 asks whether someone voted. As is well known among

political scientists and survey researchers, survey questions asking whether someone voted are

subject to substantial social desirability biases that lead to inflation in the estimated number of

voters.




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       8. There are also errors and inconsistencies in the survey data. Appended to Dr. Briggs’

report is a series of tables, called Topline Tables (“toplines”), for the State of Arizona. Toplines

for other states are not disclosed. The toplines provide the basic statistics about the survey

reported for each question, as well as the questions themselves and the response categories for

each question. There are errors in the spreadsheet of toplines indicating data inconsistencies. For

example, in Arizona, there are more respondents to Question 2 than the survey instructions

indicate should have been asked Question 2. Generally, such errors indicate fundamental

problems with the management of the survey and the databases generated by the survey. It is

standard practice in survey research and analysis of survey data to conduct integrity checks to

ensure that there are not mistakes in the data. The presence of substantial discrepancies in these

topline tables, such as shown here, indicates flaws in the data. Dr. Briggs’ report makes no

mention of these inconsistencies and errors and assumes that the underlying data are accurate.

These errors and inconsistencies reveal that the data are not accurate.

       9. In addition, the survey has extremely low response rates. Of the 518,560 absentee

voters who were the target of the study, 2,489 were asked and 2,129 people (one-half of one

percent) ultimately provided answers to Question 2. High non-response rates generally create

biases in survey because the samples are rarely representative of the population under study.

Surveys with such a low response rate are not accepted in scientific publications, except on rare

occasions and with proper analyses that ensure that the respondents are in fact representative.

When researchers have low response rates, they must offer affirmative proof of

representativeness or attempt to correct for biases. Neither is done here.

       11. The interpretation of the data as evidence of “errors” and “troublesome ballots” fails

to account for the rules and realities of absentee voting. First, Dr. Briggs calls Alleged Error #1




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absentee ballots that were received by voters but were not “requested.” This interpretation fails

to consider that 95 percent of absentee ballots sent by election offices are sent to permanent

absentee voters, who receive ballots without requesting them. All five states in his report allow

for permanent absentee voting for some or all registrants. Second, Dr. Briggs calls Alleged Error

#2 ballots that were sent by voters but not recorded at the county election offices. This

interpretation fails to account for late, undeliverable, rejected, and spoiled ballots. Most

jurisdictions, for example, do not record late ballots in the tally of returned absentee ballots. The

results in his analysis, if they are real, are likely the consequence of the normal practice of

absentee voting.



II. Qualifications

       12. I am the Frank G. Thompson Professor of Government in the Department of

Government at Harvard University in Cambridge, MA. Formerly, I was an Assistant Professor

at the University of California, Los Angeles, and I was Professor of Political Science at the

Massachusetts Institute of Technology, where I held the Elting Morison Chair and served as

Associate Head of the Department of Political Science. I am the Principal Investigator of the

Cooperative Congressional Election Study (CCES), a survey research consortium of over 250

faculty and student researchers at more than 50 universities, directed the Caltech/MIT Voting

Technology Project from its inception in 2000 through 2004, and served on the Board of

Overseers of the American National Election Study from 1999 to 2013. I am an election analyst

for and consultant to CBS News’ Election Night Decision Desk. I am a member of the American

Academy of Arts and Sciences (inducted in 2007). My curriculum vitae is attached to this

report as Appendix B.




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       13. I have worked as a consultant to the Brennan Center in the case of McConnell v.

FEC, 540 U.S. 93 (2003). I have testified before the U.S. Senate Committee on Rules, the U.S.

Senate Committee on Commerce, the U.S. House Committee on Science, Space, and

Technology, the U.S. House Committee on House Administration, and the Congressional Black

Caucus on matters of election administration in the United States. I filed an amicus brief with

Professors Nathaniel Persily and Charles Stewart on behalf of neither party to the U.S. Supreme

Court in the case of Northwest Austin Municipal Utility District Number One v. Holder, 557 U.S.

193 (2009) and an amicus brief with Professor Nathaniel Persily and others in the case of

Evenwel v. Abbott, 138 S. Ct. 1120 (2015). I have served as a testifying expert for the Gonzales

intervenors in State of Texas v. United States before the U.S. District Court in the District of

Columbia (No. 1:11-cv-01303); the Rodriguez plaintiffs in Perez v. Perry, before the U.S.

District Court in the Western District of Texas (No. 5:11-cv-00360); for the San Antonio Water

District intervenor in LULAC v. Edwards Aquifer Authority in the U.S. District Court for the

Western District of Texas, San Antonio Division (No. 5:12cv620-OLG); for the Department of

Justice in State of Texas v. Holder, before the U.S. District Court in the District of Columbia

(No. 1:12-cv-00128); for the Guy plaintiffs in Guy v. Miller in the U.S. District Court for Nevada

(No. 11-OC-00042-1B); for the Florida Democratic Party in In re Senate Joint Resolution of

Legislative Apportionment in the Florida Supreme Court (Nos. 2012-CA-412, 2012-CA-490); for

the Romo plaintiffs in Romo v. Detzner in the Circuit Court of the Second Judicial Circuit in

Florida (No. 2012 CA 412); for the Department of Justice in Veasey v. Perry, before the U.S.

District Court for the Southern District of Texas, Corpus Christi Division (No. 2:13cv00193);

for the Harris plaintiffs in Harris v. McCrory in the U.S. District Court for the Middle District of

North Carolina (No. 1:2013cv00949); for the Bethune-Hill plaintiffs in Bethune-Hill v. Virginia




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State Board of Elections in the U.S. District Court for the Eastern District of Virginia (No. 3:

2014cv00852); for the Fish plaintiffs in Fish v. Kobach in the U.S. District Court for the District

of Kansas ( No. 2:16-cv-02105-JAR); and for intervenors in Voto Latino, et al. v. Hobbs, in the

U.S. District Court for the District of Arizona (No. 2:19-cv-05685-DWL). I served as an expert

witness and filed an affidavit in the North Carolina State Board of Elections hearings regarding

absentee ballot fraud in the 2018 election for Congressional District 9 in North Carolina.

       14. My areas of expertise include American government, with particular expertise in

electoral politics, representation, and public opinion, as well as statistical methods in social

sciences and survey research methods. I have authored numerous scholarly works on voting

behavior and elections, the application of statistical methods in social sciences, legislative

politics and representation, and distributive politics. This scholarship includes articles in such

academic journals as the Journal of the Royal Statistical Society, American Political Science

Review, American Economic Review, the American Journal of Political Science, Legislative

Studies Quarterly, Quarterly Journal of Political Science, Electoral Studies, and Political

Analysis. I have published articles on issues of election law in the Harvard Law Review, Texas

Law Review, Columbia Law Review, New York University Annual Survey of Law, and Election

Law Journal, for which I am a member of the editorial board. I am associate editor of the

Harvard Data Science Review, and have served as associate editor of the Public Opinion

Quarterly. I have coauthored three scholarly books on electoral politics in the United States, The

End of Inequality: Baker v. Carr and the Transformation of American Politics, Going Negative:

How Political Advertising Shrinks and Polarizes the Electorate, and The Media Game:

American Politics in the Media Age. I am coauthor with Benjamin Ginsberg and Ken Shepsle of

American Government: Power and Purpose.




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III. Sources

       15. I have relied on the report of Dr. William Briggs in this case.

       16. I have relied on the Election Assistance Commission, “Election Administration and

Voting Survey (EAVS)” for 2018: https://www.eac.gov/research-and-data/studies-and-reports.

I present data from 2018 because it is the most recent federal election for which data on absentee

and permanent absentee voting is available. The 2018 data are instructive about the magnitude

of permanent absentee voters and the magnitude of unreturned, late, rejected, and spoiled

absentee ballots. The 2020 data are not yet reported.

       17. I have relied on the report of Mr. Matthew Braynard in a pending lawsuit in Fulton

County, Georgia, Superior Court, Wood v. Raffensperger, 2020CV342959.

       18. I have relied on the report of Dr. William Briggs in King v. Whitmer in the District

Court in the Eastern District of Michigan (No. 2:20-cv-13134).



IV. Findings

       19. In my professional judgment, there are fundamental flaws in the design of the survey

design and the survey data on which Dr. Briggs relied. These flaws created biases in the

estimates and analyses that are sufficiently large to completely explain the results that Dr. Briggs

presents as nothing more than errors in the data collection process. Perhaps most troubling, the

survey is likely highly unrepresentative because it has a response rate less than 1 percent; the

survey data are contaminated by respondents who should not have been included in the survey,

and the basic data in the Topline summaries of the data do not add up, indicating fatal flaws in

the implementation of the survey.




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        20. The interpretations of the estimates in the survey as errors and troublesome ballots

fail to take into account the realities of absentee voting in the State of Arizona. Almost all

absentee voters in the State receive absentee ballots for each election without having to request

ballots for that election because they are Permanent Absentee and Early Voters (PEVs). In

addition, there are large numbers of undeliverable and late absentee ballots, which are typically

not recorded as received by the election offices.


        A. Critique of Interpretation

                i. The survey data and its interpretation do not account for PEVs.

        21. The analysis of Question 2 is used to estimate the number of people who received but

did not request an absentee ballot. Dr. Briggs calls this Alleged Error #1.

        22. The interpretation of these data as an error in balloting does not account for the

presence of a large number of Permanent Absentee and Early Voters (PEVs) in Arizona,

Michigan, Pennsylvania, and Wisconsin. Georgia automatically mails ballots for voters who

qualify for “rollover” ballots – people over 65, disabled, or in the military who sign up annually

to have ballots automatically sent to them. I consider rollover ballots to be a form of PEV, but

the voter does need to sign up each year.

        23. PEVs are automatically sent their absentee ballots. They do not need to request that

a ballot be sent for a particular election.

        24. In the State of Arizona, nearly all absentee ballots sent are sent to PEVs. In 2018,

PEVs were 95 percent of absentee ballots sent by election offices to registered voters. In other

words, nearly all voters who received absentee ballots in the State did so without having to

request that one be sent to them.




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          25. In the other states covered in Dr. Briggs’ report, there are substantial numbers of

PEVs. Table 1 presents data from the number of absentee ballots sent in 2018 and the number of

permanent absentee ballots sent to voters in Arizona, Georgia (rollover absentee voters),

Michigan, Pennsylvania, and Wisconsin. The number of permanent absentee ballots sent in

Arizona, Michigan, and Wisconsin far exceeds the estimated Alleged Error #1 in the first table in

Dr. Briggs’ report. The EAC reports no data on permanent absentee ballots for Georgia in 2018.

Those data cover 2018 and are presented to indicate the likely magnitude of PEVs in the states in

2020. Preliminary reports from some of these states show very high numbers of PEVs and

rollover absentee voters. There were at least 582,000 “rollover” ballots in Georgia in 2020. 2

          26. Based on the toplines, Mr. Braynard’s survey does not identify PEVS or distinguish

them from other absentee voters.


    Table 1. Permanent Absentee Voters in Arizona, Georgia, Michigan, Pennsylvania, and
    Wisconsin in 2018
                               Total Absentee      Permanent Absentee Permanent Absentee
                                 Ballots Sent           Ballots Sent       Ballots as a Percent
                                                     (i.e., ballots sent         of Total
                                                  automatically without
                                                     a specific ballot
                                                           request)
    Arizona                       2,672,384              2,545,198                95.2%
    Georgia                        281,490                     *                     *
    Michigan                      1,123,415               549,894                 48.9%
    Pennsylvania                   216,575                   6,340                 2.9%
    Wisconsin                      168,788                  54,113                32.1%
    Source: U.S. Election Assistance Commission, Election Administration and Voting Survey,
    2018.
    Note: * no data reported.




2
  Stephen Fowler, “Nearly 800,000 Georgians Have Already Requested Absentee Ballots for November” GA Today
gpb.org, September 2, 2020. https://www.gpb.org/news/2020/09/02/nearly-800000-georgians-have-already-
requested-absentee-ballots-for-november


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                ii. The interpretation of Question 3 fails to account for the proper handling
                of late, invalid, and spoiled absentee ballots by Local Election Offices.

        27. The analysis of Question 3 of Mr. Braynard’s survey is used to estimate the number

of people who stated that they returned an absentee ballot but for whom no vote was recorded.

Dr. Briggs calls this Alleged Error #2.

        28. The interpretation of such cases as errors does not account for absentee ballots that

are in fact not received or counted by election officers because the ballots are not returned by the

postal system, are returned late by the voter, are spoiled by the voter, or are rejected. Such

ballots are the obvious explanation for the data observed. No effort in the survey or the analysis

is made to ascertain the likelihood that a voter cast a late or invalid absentee ballot.

        29. The number of absentee ballots that are not received or valid is substantial. Table 2

presents counts of rejected, late, undelivered, and voided absentee ballots in Arizona, Georgia,

Michigan, Pennsylvania, and Wisconsin for 2018, the most recent federal election for which

systematic data on absentee voting are available. An undeliverable absentee ballot is one that

was returned to the election office as not being deliverable to the address on the voter registration

lists. The final column presents the number of sent absentee ballots for which the status of a

ballot sent by the election office to a voter was not received and its status is not known. These

are likely ballots that simply were not returned by voters or were lost or delayed in the US Postal

System. Delays in the postal system were a particular concern in 2020, as there were widespread

reports of staffing problems during COVID for USPS, delays in mail delivery, and declines in

the rate of on-time delivery. 3 Late, undelivered, rejected, and spoiled ballots are not counted




3
 Hailey Fuchs, “Some Regions Still Experience Slow Delivery of Mail Ballots,” New York Times, November 3,
2020, Section A, Page 23. https://www.nytimes.com/2020/11/02/us/politics/mail-ballot-usps.html.


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under law, and they are comparable in magnitude to the estimates of the Alleged Error #2

reported by Dr. Briggs for each state.

         30. Arizona election officials reported to EAC a total of 2,515 late absentee ballots,

27,804 void or spoiled ballots, 8,567 rejected ballots, and 102,896 ballots that were undeliverable

in the 2018 election. These figures are not definitive of the numbers for the 2020 election, which

have not yet been reported. Rather, they are demonstrative of the fact that there are sound,

documented administrative reasons that returned absentee ballots are not recorded as having been

voted, especially tardiness, spoilage, and rejection for lack of signatures, valid envelopes, and the

like.


 Table 2. Rejected, Undelivered, Voided, and Late Absentees in Arizona, Georgia, Michigan,
 Pennsylvania, and Wisconsin in 2018
                     Rejected     Undeliverable Spoiled/Voided          Late        Status
                     Absentee       Absentee         Absentee        Absentee     Unknown
                      Ballots        Ballots          Ballots         Ballots
 Arizona               8,567        102,896           27,804            2,515      642,210
 Georgia               7,512          2,322             252             3,525       36,255
 Michigan              6,013           791            19,679            2,207       41,120
 Pennsylvania          8,714            *                *              8,162       20,622
 Wisconsin             2,517          1,718            2,794            1,445       12,407
 Source: EAC, EAVS 2018.
 Note: * no data reported.




         B. Critique of Survey Design

         31. Dr. Briggs offers no assessment of the design of the survey that generated the data

that he presents. Rather, he assumes that the data are accurate.

         32. It is my understanding that Matthew Braynard designed and conducted these surveys.

There is no report of the survey design, questionnaire, or response rates, beyond the information

embedded in the topline table appended to Dr. Briggs’ report.


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                i. The survey has an unacceptably high non-response rate.

         33. The response rate to the survey is measured as the number of people who answered

the first substantive question (Q2) in the survey divided by the number of people who the

surveyor sought to contact. The response rate to the survey conducted by Mr. Braynard in the

State of Arizona is one-half of one percent. That is, of the 518,560 people who the survey

research project set out to interview, 99.5 percent of them could not be contacted or refused to

participate. That is an extremely low response rate, and it creates substantial doubt about

drawing any reliable inferences from the data.

         34. Dr. Briggs offered no calculation of a response rate to the surveys in his report.

         35. My calculation of the response rate is offered in Table 1. For each phase of the

survey, I calculate the percent of people originally sought to be studied who remain in the survey

or are asked a given question. The initial phase of the survey consists of matching phone

numbers to the registration list and contacting those numbers. The number of cases for which an

interview could commence was 5,604, of the original 518,560 registration records (or 1 percent).

These 5,604 cases consist of all records for which a message was left, there was an early hang up

or refusal at some point during the survey (2,975), and cases that made it to the end of the survey

(684).

         36. Once the survey commences, there is first a screener question to determine whether

the person interviewed should continue with the interview. That is Question 1. Question 2 is the

first question of interest in Dr. Briggs’ analysis. It asks, “Did you request an Absentee Ballot in

the State of <state name>?” People could answer “Yes”, “No”, some other answer, Refuse to

answer, or Hang up.




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       37. The response rate to the survey items of interest is the percent of people who were

asked Question 2. 2,489 of the original 518,560 were asked Question 2, and 2,129 provided an

answer to the question. That is a response rate of 0.4 percent.

       38. This is an extremely low response rate. In most disciplines of study that I am familiar

with, these would not be scientifically acceptable or reliable samples. For example, I am

associate editor of the Harvard Data Sciences Review, which broadly covers fields of statistics

and data sciences, and specialty fields such as political science, public opinion, survey

methodology, and economics. Papers with such high non-responses are rejected on their face for

this publication as not plausibly valid studies.

       39. In my work as an expert witness for the Department of Justice, courts in which I have

testified exclude as evidence phone surveys based on registration lists because they have

response rates of 2 percent. Specifically, in Texas v. Holder, Professor Daron Shaw offered

evidence based on phone surveys of registration lists. These surveys had response rates of 2

percent, and the court rejected the data because of serious questions about the representativeness

of samples in which 98 percent of respondents could not be contacted or would not respond, and

the effects of very low response rates on accuracy and reliability of estimates using surveys with

very low response rates. See Texas v. Holder in the United States District Court for the District

of Columbia No. 12-cv-128 (see pages 30 and 31). In evaluating the surveys conducted by Mr.

Maynard and reported by Dr. Briggs, I use the 2 percent threshold as a standard for an

unacceptably low response rate.

       40. Dr. Briggs’ assumption that those who responded to the question are representative of

the relevant population under study (i.e., the other 99 percent of people who could not or would

not participate in the survey) is highly unlikely to be correct. When surveys have high non-




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response rates, it is standard practice to analyze information about the sample and the target

population, such as demographic characteristics or behavioral and attitudinal statistics, to

confirm that the assumption of representativeness of a sample can be maintained. When the

response rates are very low, such an analysis is a necessity in order to determine whether there is

any scientific value to the survey. No such analysis is offered here.


 Table 3. Phone Survey Targets, Attempts and Completes in Mr. Braynard’s survey of Arizona
 registered voters for whom records show no returned ballots
                                                              Percent of Targets for Survey
                                      Number of Cases         Remaining in the Survey
                                                              Process
 People the Survey Sought to          518,560                 100%
 Reach (all Unreturned Ballots)
 [Targets for Survey]
 Data Loads (Phone Numbers            81,780                  15.77%
 Loaded into the Survey System)

 “Completes”
 No Answer                             74,437
 Numbers/Language                      1,663
 VM Message Left                       1,945
 Early Hang Up/Refused                 2,975
 Q4 = 01*                              684
 Subtotal: “Completes”                 5,604                        1.08%

 Completes Eligible for Survey         3,695                        0.71%
 (Q5 or Early Hang Up/Refused)
 Asked Q1                              4,525                        0.87%
 Asked Q2                              2,489                        0.41%
 Asked Q3                              2,129                        0.41%
 Completed Entire Survey (Q5)          684                          0.13%

 Source: William Briggs’ report

 *Note: This number is as reported. In table for Q4, 678 cases are Q4 = 01, and 684 is the
 Sum of All Responses for Q5.




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                ii. The screening question improperly allows people to take the survey who
                should not.

        41. A second substantial flaw in the survey is that the design of the questionnaire allows

people who are not affirmatively determined to be the correct person to take the survey.

        42. Past research has documented that phone surveys using registered voter lists are

often answered by someone other than the person who was listed on the registered voter file.

The two most common problems are that the wrong number was matched to the voter list and

that someone other than the person the research sought to speak with answered the phone. The

latter occurs most often with landlines. 4

        43. Question 1 (Q1) of the survey asks, “May I please speak to <lead on screen>?”

“Lead on screen” is the name from the voter registration list that is linked to the phone number

that the survey has dialed. Responses to Q1 are listed as reached target, other/uncertain, refused,

and hang up. In the survey toplines for Arizona, the response categories for Question 1 do not

specifically describe the branching. I examined the toplines for other states as reported in the

appendix to Dr. Briggs’ report in King v. Whitmer. The other states show that the second

response category for Question 1 is assigned to Question 2. For example, in the first table

(Georgia), the responses are “Reached Target [Go to Q2]” and “[Go to Q2],” without further

explanation. Importantly, both those respondents classified as “Reached Target” and as

“Uncertain” in Question 1 are instructed to “Go to Q2.”

        44. This is an error in the branching design of the survey. People who are not

affirmatively identified as the correct person for the interview are allowed to answer the

remaining questions in the survey. For example, Reponses to Questions 2 and 3 show evidence


4
 Pew Research Center, “Comparing Survey Sampling Strategies: Random-Digit Dialing vs. Voter Files,” 2018.
https://www.pewresearch.org/methods/2018/10/09/comparing-survey-sampling-strategies-random-digit-dial-vs-
voter-files/, see pages 25-26.


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that spouses and other family members are asked Questions 2 and 3, even though they were not

the person whose absentee voting records are in question.

       45. A significant percent and number of respondents who are listed as not giving an

affirmative answer to Question 1 are in fact kept in the survey and asked Question 2. In the

Arizona survey, 335 respondents answered Uncertain, but were then asked Question 2. These

335 cases are 15.6 percent of cases who answered Question 1 and were then assigned to

Question 2 (i.e., 335/(335+1,812)). These respondents enter the pool for Questions 2 and 3 and

contaminate all estimates using these data.

       46. Questions 2 and 3 exhibit evidence of these cases. The response categories labeled

“Member” correspond to family members. Again, there is no codebook for deciphering the

response categories. I relied on the toplines for other states in Dr. Briggs’ report in King v.

Whitmer to clarify these categories. Family members answering on behalf of someone indicates

that the survey interviewers did not always speak with the specific person listed on the

registration list. The number of family members listed is a small percentage of all of the cases

with “Uncertainty” in the sample.

       47. I inspected the toplines for other states and discovered similar errors in the branching

in all of the states. People whose identity was not clearly identified in Question 1 are asked

Question 2. At this point in the branching protocol, my conclusion is that the data are not an

accurate reflection of the Target group (i.e., those people who are affirmatively identified as the

person whose name appears on the registration list).




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                 iii. Question 3 is subject to memory errors and social desirability bias.

        48. Question 3 asks people whether they voted. Specifically, it asks people who said that

they requested an absentee ballot whether they returned an absentee ballot; that is, whether they

voted that ballot.

        49. It has long been understood in political science that respondents to surveys over-

report voting in elections. Typically, the overstatement is approximately 10 to 20 percentage

points. That is, if 65 percent of people in a sample actually voted, the reported vote rates in

surveys are usually around 75 to 85 percent. The most commonly identified sorts of biases are

memory errors and social desirability bias in questions asking people whether they voted. 5

When asked whether they voted or cast a ballot, people say “yes” either because they feel that is

the socially acceptable answer or because they forgot whether they actually voted in a given

election. Questions that ask people whether they voted or cast a ballot will overstate voting and

should not be taken on face value as ground truth. The particular form of Question 3 is likely to

lead to people saying that they voted a ballot when in fact they had not.

        50. There are alternative ways to ask about voting in order to reduce social desirability

bias. 6 Those other ways of asking the question are in line with social science practice in research

in order to avoid social desirability biases. Question 3 should have been asked a different way so

as to avoid over-reporting of voting. As it is, it is of the form of survey question regarding

voting that is well known to lead to over-reporting.



5
  See for example, Allyson L. Holbrook and Jon A. Krosnick, “Social Desirability Bias in Voter Turnout Reports:
Test Using the Item Count Technique,” Public Opinion Quarterly 74 (2010): 37-67. See also Stephen Ansolabehere
and Eitan Hersh, “Validation: What Big Data Reveal About Survey Misreporting and the Real Electorate,” Political
Analysis 20 (2012): 437-459
6
  See, for example, Holbrook and Krosnick, op cit., and Michael J. Hanmer, Antoine J. Banks, and Ismail K. White,
“Experiments to Reduce the Over-Reporting of Voting: A Pipeline to the Truth,” Political Analysis 22 (2014): 130-
141.


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       C. Critique of the Survey Databases and Data Analyses

       51. There are obvious data errors and inconsistencies revealed in the toplines that are

appended to Dr. Briggs’ report. Dr. Briggs states that he assumes that “the data is accurate.”

A routine analysis to check the consistency and integrity of data reported in the toplines is

standard practice in the survey research field. Such checks allow researchers to determine

whether the survey data and spreadsheet program are producing sensible numbers and, thus,

working correctly. Failures in even a small number of integrity checks indicate problems with

the survey systems and software, and raise deep concerns about data accuracy generally. I

routinely perform such checks on surveys that I conduct and supervise. I have performed such a

check, and it reveals that the data lack integrity. They should not be assumed to be accurate.

       52. The data integrity checks that I implemented were of two sorts. First, I added up the

number of cases in each response category to verify that they sum to the number of cases

reported for each question in the row labeled “Sum of Responses.” Second, I added up the

number of cases at each phase of the survey that are indicated as cases to be asked the next

question. For example, I add up the cases in Question 1 that have the flag [Go to Q2] and then

check whether that number equals the number of cases for Question 2 in “Sum of Responses.” I

performed these integrity checks for the Arizona survey toplines appended to Dr. Briggs’ report

in this case and to the toplines for the surveys that Mr. Braynard conducted in other states and

that are appended to Dr. Briggs’ report in King v. Whitmer.

       53. The toplines for one of the surveys (Wisconsin) failed the first integrity check. The

response categories for Question 1 in that survey had 2,261 people listed as “A-Reached Target +

B-What Is This About?/Uncertain” and 1,677 cases listed as “X=Refused.” These numbers sum

to 3,938. However, the number of cases that the survey system reported under “Sum of All




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Responses” to Question 1 is 3,495. There is a discrepancy of 443 cases that are unaccounted for

at the outset of that survey. This indicates to me an error in the program that generated the

survey data. This finding means none of the Wisconsin data should be assumed to be reliable

and accurate.

        54. The integrity checks failed for the Arizona data when I performed the second sort of

integrity check. The accounting for the second sort of integrity check is presented in Table 4.

The first panel of Table 4 (marked with lower case numerals) reproduces the accounting for

“Completes” shown in the toplines appended to Dr. Briggs’ report. The second panel reports the

number of cases in the Completes, including people who hung up or refused, that should have

been asked Question 1 (denoted “A”) and the number of cases who were asked Question 1

(denoted “B”). The third set of rows is the number of cases in Question 1 who were assigned to

Question 2 (denoted “C”) and the number of cases who were asked Question 2 (denoted “D”).

The fourth set of rows is the number of cases in Question 2 who were assigned to Question 3

(denoted “E”) and the number of cases who were asked Question 3 (denoted “F”).

        55. The first integrity check in this table is whether the subtotal of Completes equals the

number of cases in which calls reached a response (even if an answering machine or refusal).

That is, do rows (i), (ii), and (iii) sum to row (iv)? They do. The difference between rows

(i)+(ii)+(iii) and row (iv) is zero.

        56. The second integrity check in this table is whether the subtotal of Completes eligible

for Question 1 equals the number of people asked Question 1. That is, does Row A equal Row

B? They are not equal. Row A minus Row B is -866, meaning there are 866 more respondents

who were asked Question 2 than were indicated to be calls commenced in the survey. I

attempted to resolve this discrepancy by removing various categories, such as Refusals to




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Question or Hang ups at the Complete stage. I found no way to account for the excess number of

cases who were asked Question 1 but were not accounted for in the Completes portion of the

toplines. These respondents mysteriously show up in the interviews and are not accounted for.

        57. The third integrity check in this table is whether the number of people who were

assigned in Question 1 to [Go to Q2] equals the number of people who answered Question 2.

That is, does Row C equal Row D? They are not equal. Row C minus Row D is -342, meaning

there are 342 more respondents in Question 2 than were assigned to Question 2 at the Question 1

stage. This is a second failure of the integrity checks.

        58. The fourth integrity check in this table is whether the number of people who were

assigned in Question 2 to [Go to Q3] equals the number of people who answered Question 3.

That is, does Row E equal Row F? They are equal. Row E and Row F equal 2,129 each.

        59. Inspection of the toplines for Arizona exposes failures of the integrity checks. The

number of cases affected by these failures is substantial: 1,208 (866+342). To put these

spreadsheet failures into perspective, the total number of cases in the survey that are listed as

either Error #1 or Error #2 is 1,229 (i.e., 885 Question 2 = No and 344 Question 3 = Yes). The

presence of integrity check failures leads me to conclude that there are errors in either the

program that generated the survey data or the spreadsheets and analysis used to analyze the data.

The number of errors is of a sufficiently large magnitude that there can be no confidence in any

estimates made using these data.

        60. I performed integrity checks for the other states using the toplines appended to Dr.

Briggs’ report in King v. Whitmer. I found similar sorts of spreadsheet inconsistencies and

failures in integrity checks in other states.




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       61. In my experience running, designing, and analyzing large scale surveys through the

Cooperative Congressional Election Study and serving on the board of the American National

Election Study, errors such as these usually have two sources. They are indicative of either: (i)

errors in the program that that assigns questions to people, or (ii) errors in the program that

generates the spreadsheet. Either sort of error is catastrophic for this analysis, and they render

the estimates, projections, and inferences in Dr. Briggs’ report entirely unreliable.


 Table 4. Data Integrity Checks for Mr. Braynard’s survey of Arizona registered voters

                                        Number of Cases              Integrity Checks
 “Completes”
  (i) VM Message Left                   1,945
  (ii) Early Hang Up/Refused            2,975
  (iii) Q4 = 01*                        684
 (iv) Subtotal: “Completes”             5,604                        (iv) – ((i) + (ii) + (iii)) = 0

 A: Completes Eligible for Survey       3,659
 (Q5 or Early Hang Up/Refused)
 B: Asked Q1                            4,525                        A – B = -866
 (Sum of All Responses)

 C: Completed Q1                        2,147
 [Go to Q2]*
 D: Asked Q2                            2,489                        C – D = -342
 (Sum of All Responses)

 E: Offered a Response to Q2            2,129
 (without hanging up or refusing)
 [Go to Q3]
 F: Asked Q3                            2,129                        E–F=0
 (Sum of All Resonses)

 Source: William Briggs’ report

 * Based on Dr. Briggs’ report in Wood v. Raffensperger, the survey branching in other states
 asks Question 2 of respondents who are identified as “Reached Target” or “Uncertain” in
 Question 1. I assume that the branching is the same in the Arizona survey.




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       D. Conclusion

       62. The estimates and projections presented by Dr. Briggs are based on survey data

collected in Arizona and four other states (Georgia, Michigan, Pennsylvania, and Wisconsin).

My overall assessment of these surveys is that they were not properly designed. Specifically,

they have unacceptably low response rates, poorly designed questions that are known to over-

report voting, and errors in assigning cases to questions that allow people who should not have

been included in the survey to nonetheless answer the questions. These survey design and

implementation failures mean that, in hundreds of cases, the wrong people are allowed to answer

the surveys, and that the statistician must make implausible assumptions about the

representativeness of a sample with a .4 percent response rate in order to extrapolate to a half

million people. These survey design and implementation flaws are of sufficient magnitude and

severity as to make the estimates completely unreliable and uninformative.

       63. The data are not accurate. The Topline summaries of the survey data appended to Dr.

Briggs’ report reveal fatal accounting errors in the data. No sound estimates or inferences can be

drawn based on these data. Dr. Briggs assumed at the outset that the respondents to the surveys

are representative and the data are accurate. Neither assumption is correct.

       64. The interpretation of the survey responses ignores the realities of absentee voting in

the State of Arizona. In Arizona, 95 percent of people are permanent absentee and early voters

and are sent a ballot automatically without requesting one for a given election. Dr. Briggs

considers as errors all instances in which a voter who was sent an absentee ballot did not request

one. These occurrences are not errors, but instead are the normal workings of Arizona’s

absentee voting system. Also, ballots that voters say they returned but are not recorded are not

definitive evidence of “errors.” Arizona also has a substantial number of absentee ballots that




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are late, undeliverable, spoiled, or invalid. The evidence presented is not evidence of errors in

the election but of errors in the survey data presented by Dr. Briggs.




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                         Signed at Boston, Massachusetts, on the date below.
                         Date: December 3, 2020



                                _________________________________
                                      Stephen Ansolabehere
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                                      EDUCATION

Harvard University                 Ph.D., Political Science          1989
University of Minnesota            B.A., Political Science           1984
                                   B.S., Economics



                            PROFESSIONAL EXPERIENCE


ACADEMIC POSITIONS

2016-present    Frank G. Thompson Professor of Government, Harvard University
2008-present    Professor, Department of Government, Harvard University
2015-present    Director, Center for American Politics, Harvard University
1998-2009       Elting Morison Professor, Department of Political Science, MIT
                     (Associate Head, 2001-2005)
1995-1998       Associate Professor, Department of Political Science, MIT
1993-1994       National Fellow, The Hoover Institution
1989-1993       Assistant Professor, Department of Political Science,
                University of California, Los Angeles



FELLOWSHIPS AND HONORS

American Academy of Arts and Sciences                     2007
Carnegie Scholar                                         2000-02
National Fellow, The Hoover Institution                  1993-94
Harry S. Truman Fellowship                               1982-86



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2014         Cheap and Clean: How Americans Think About Energy in the Age of Global
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                 Recipient of the Donald K. Price book award.

2008         The End of Inequality: One Person, One Vote and the Transformation of
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1996         Going Negative: How Political Advertising Divides and Shrinks the American
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2021      "Congressional Representation: Accountability from the Constituent's Perspective,"
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2019      “Backyard Voices: How Sense of Place Shapes Views of Large-Scale Energy

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              Kenneth R. Mayer, and Charles Stewart III)
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2018       “Policy, Politics, and Public Attitudes Toward the Supreme Court” American
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2018       “Measuring Issue-Salience in Voters’ Preferences” Electoral Studies (with Maria
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2005         “Legislative Bargaining under Weighted Voting” American Economic Review
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2004        “Did Firms Profit From Soft Money?” (with James M. Snyder, Jr., and Michiko
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2003        “Bargaining in Bicameral Legislatures” (with James M. Snyder, Jr. and Mike
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            Spending in the American States” (with Alan Gerber and James M. Snyder, Jr.)
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1999        “Money and Institutional Power,” (with James Snyder), Texas Law Review 77
            (June, 1999): 1673-1704.

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            Alan Gerber), Legislative Studies Quarterly 22 (May 1997).

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1994        “Riding the Wave and Issue Ownership: The Importance of Issues in Political
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1990        “The Limits of Unraveling in Interest Groups,” Rationality and Society 2:
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1990        “Measuring the Consequences of Delegate Selection Rules in Presidential
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1989        “The Nature of Utility Functions in Mass Publics,” (with Henry Brady) American
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Special Reports and Policy Studies

2010        The Future of Nuclear Power, Revised.

2006        The Future of Coal. MIT Press. Continued reliance on coal as a primary power
            source will lead to very high concentrations of carbon dioxide in the atmosphere,
            resulting in global warming. This cross-disciplinary study – drawing on faculty
            from Physics, Economics, Chemistry, Nuclear Engineering, and Political Science
            – develop a road map for technology research and development policy in order to
            address the challenges of carbon emissions from expanding use of coal for
            electricity and heating throughout the world.

2003        The Future of Nuclear Power. MIT Press. This cross-disciplinary study –
            drawing on faculty from Physics, Economics, Chemistry, Nuclear Engineering,
            and Political Science – examines the what contribution nuclear power can make to
            meet growing electricity demand, especially in a world with increasing carbon
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2001        Voting: What Is, What Could Be. A report of the Caltech/MIT Voting
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             Making: Further New Perspectives on the History of Congress, David
            Brady and Matthew D. McCubbins (eds.), Stanford University Press, 2007.

2007        “Election Administration and Voting Rights” in Renewal of the Voting
            Rights Act, David Epstein and Sharyn O’Hallaran, eds. Russell Sage Foundation.

2006        “The Decline of Competition in Primary Elections,” (with John Mark Hansen,
            Shigeo Hirano, and James M. Snyder, Jr.) The Marketplace of Democracy,
            Michael P. McDonald and John Samples, eds. Washington, DC: Brookings.

2005        “Voters, Candidates and Parties” in Handbook of Political Economy, Barry
            Weingast and Donald Wittman, eds. New York: Oxford University Press.

2003        “Baker v. Carr in Context, 1946 – 1964” (with Samuel Isaacharoff) in
            Constitutional Cases in Context, Michael Dorf, editor. New York: Foundation
            Press.

2002        “Corruption and the Growth of Campaign Spending”(with Alan Gerber and James
            Snyder). A User’s Guide to Campaign Finance, Jerry Lubenow, editor. Rowman
            and Littlefield.

2001        “The Paradox of Minimal Effects,” in Henry Brady and Richard Johnston, eds.,
            Do Campaigns Matter? University of Michigan Press.

2001        “Campaigns as Experiments,” in Henry Brady and Richard Johnson, eds., Do
            Campaigns Matter? University of Michigan Press.

2000        “Money and Office,” (with James Snyder) in David Brady and John Cogan, eds.,
            Congressional Elections: Continuity and Change. Stanford University Press.

1996        “The Science of Political Advertising,” (with Shanto Iyengar) in Political
            Persuasion and Attitude Change, Richard Brody, Diana Mutz, and Paul

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            Sniderman, eds. Ann Arbor, MI: University of Michigan Press.

1995        “Evolving Perspectives on the Effects of Campaign Communication,” in Philo
            Warburn, ed., Research in Political Sociology, vol. 7, JAI.

1995        “The Effectiveness of Campaign Advertising: It’s All in the Context,” (with
            Shanto Iyengar) in Campaigns and Elections American Style, Candice Nelson and
            James A. Thurber, eds. Westview Press.

1993        “Information and Electoral Attitudes: A Case of Judgment Under Uncertainty,”
            (with Shanto Iyengar), in Explorations in Political Psychology, Shanto Iyengar
            and William McGuire, eds. Durham: Duke University Press.

Working Papers

2009        “Sociotropic Voting and the Media” (with Marc Meredith and Erik Snowberg),
            American National Election Study Pilot Study Reports, John Aldrich editor.

2007        “Public Attitudes Toward America’s Energy Options: Report of the 2007 MIT
            Energy Survey” CEEPR Working Paper 07-002 and CANES working paper.

2006       "Constituents' Policy Perceptions and Approval of Members' of Congress" CCES
           Working Paper 06-01 (with Phil Jones).

2004        “Using Recounts to Measure the Accuracy of Vote Tabulations: Evidence from
            New Hampshire Elections, 1946 to 2002” (with Andrew Reeves).

2002        “Evidence of Virtual Representation: Reapportionment in California,” (with
            Ruimin He and James M. Snyder).

1999        “Why did a majority of Californians vote to lower their own power?” (with James
            Snyder and Jonathan Woon). Paper presented at the annual meeting of the
            American Political Science Association, Atlanta, GA, September, 1999.
            Paper received the award for the best paper on Representation at the 1999 Annual
            Meeting of the APSA.

1999        “Has Television Increased the Cost of Campaigns?” (with Alan Gerber and James
            Snyder).

1996        “Money, Elections, and Candidate Quality,” (with James Snyder).

1996        “Party Platform Choice - Single- Member District and Party-List Systems,”(with
            James Snyder).

1995        “Messages Forgotten” (with Shanto Iyengar).


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1994        “Consumer Contributors and the Returns to Fundraising: A Microeconomic
            Analysis,” (with Alan Gerber), presented at the Annual Meeting of the American
            Political Science Association, September.

1992        “Biases in Ecological Regression,” (with R. Douglas Rivers) August, (revised
            February 1994). Presented at the Midwest Political Science Association
            Meetings, April 1994, Chicago, IL.

1992        “Using Aggregate Data to Correct Nonresponse and Misreporting in Surveys”
            (with R. Douglas Rivers). Presented at the annual meeting of the Political
            Methodology Group, Cambridge, Massachusetts, July.

1991        “The Electoral Effects of Issues and Attacks in Campaign Advertising” (with
            Shanto Iyengar). Presented at the Annual Meeting of the American Political
            Science Association, Washington, DC.

1991        “Television Advertising as Campaign Strategy: Some Experimental Evidence”
            (with Shanto Iyengar). Presented at the Annual Meeting of the American
            Association for Public Opinion Research, Phoenix.

1991        “Why Candidates Attack: Effects of Televised Advertising in the 1990 California
            Gubernatorial Campaign,” (with Shanto Iyengar). Presented at the Annual
            Meeting of the Western Political Science Association, Seattle, March.

1990        “Winning is Easy, But It Sure Ain’t Cheap.” Working Paper #90-4, Center for the
            American Politics and Public Policy, UCLA. Presented at the Political Science
            Departments at Rochester University and the University of Chicago.


Research Grants

1989-1990     Markle Foundation. “A Study of the Effects of Advertising in the 1990
              California Gubernatorial Campaign.” Amount: $50,000

1991-1993     Markle Foundation. “An Experimental Study of the Effects of Campaign
              Advertising.” Amount: $150,000

1991-1993     NSF. “An Experimental Study of the Effects of Advertising in the 1992
              California Senate Electoral.” Amount: $100,000

1994-1995     MIT Provost Fund. “Money in Elections: A Study of the Effects of Money on
              Electoral Competition.” Amount: $40,000

1996-1997     National Science Foundation. “Campaign Finance and Political Representation.”
              Amount: $50,000

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1997          National Science Foundation. “Party Platforms: A Theoretical Investigation of
              Party Competition Through Platform Choice.” Amount: $40,000

1997-1998     National Science Foundation. “The Legislative Connection in Congressional
              Campaign Finance. Amount: $150,000

1999-2000     MIT Provost Fund. “Districting and Representation.” Amount: $20,000.

1999-2002     Sloan Foundation. “Congressional Staff Seminar.” Amount: $156,000.

2000-2001     Carnegie Corporation. “The Caltech/MIT Voting Technology Project.”
              Amount: $253,000.

2001-2002     Carnegie Corporation. “Dissemination of Voting Technology Information.”
              Amount: $200,000.

2003-2005     National Science Foundation. “State Elections Data Project.” Amount:
              $256,000.

2003-2004     Carnegie Corporation. “Internet Voting.” Amount: $279,000.

2003-2005     Knight Foundation. “Accessibility and Security of Voting Systems.” Amount:
              $450,000.

2006-2008     National Science Foundation, “Primary Election Data Project,” $186,000

2008-2009     Pew/JEHT. “Measuring Voting Problems in Primary Elections, A National
              Survey.” Amount: $300,000

2008-2009     Pew/JEHT. “Comprehensive Assessment of the Quality of Voter Registration
              Lists in the United States: A pilot study proposal” (with Alan Gerber).
              Amount: $100,000.

2010-2011     National Science Foundation, “Cooperative Congressional Election Study,”
              $360,000

2010-2012     Sloan Foundation, “Precinct-Level U. S. Election Data,” $240,000.

2012-2014     National Science Foundation, “Cooperative Congressional Election Study,
              2010-2012 Panel Study” $425,000

2012-2014     National Science Foundation, “2012 Cooperative Congressional Election
              Study,” $475,000

2014-2016     National Science Foundation, “Cooperative Congressional Election Study,

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               2010-2014 Panel Study” $510,000

2014-2016      National Science Foundation, “2014 Cooperative Congressional Election
               Study,” $400,000

2016-2018      National Science Foundation, “2016 Cooperative Congressional Election
               Study,” $485,000

2018-2020      National Science Foundation, “2018 Cooperative Congressional Election
               Study,” $844,784.

2019-2022      National Science Foundation, RIDIR: “Collaborative Research: Analytic Tool
               for Poststratification and small-area estimation for survey data.” $942,607



Professional Boards

Editor, Cambridge University Press Book Series, Political Economy of Institutions and
Decisions, 2006-2016

Member, Board of the Reuters International School of Journalism, Oxford University, 2007 to
present.

Member, Academic Advisory Board, Electoral Integrity Project, 2012 to present.

Contributing Editor, Boston Review, The State of the Nation.

Member, Board of Overseers, American National Election Studies, 1999 - 2013.

Associate Editor, Public Opinion Quarterly, 2012 to 2013.

Editorial Board of Harvard Data Science Review, 2018 to present.
Editorial Board of American Journal of Political Science, 2005 to 2009.
Editorial Board of Legislative Studies Quarterly, 2005 to 2010.
Editorial Board of Public Opinion Quarterly, 2006 to present.
Editorial Board of the Election Law Journal, 2002 to present.
Editorial Board of the Harvard International Journal of Press/Politics, 1996 to 2008.
Editorial Board of Business and Politics, 2002 to 2008.
Scientific Advisory Board, Polimetrix, 2004 to 2006.


Special Projects and Task Forces

Principal Investigator, Cooperative Congressional Election Study, 2005 – present.



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CBS News Election Decision Desk, 2006-present

Co-Director, Caltech/MIT Voting Technology Project, 2000-2004.

Co-Organizer, MIT Seminar for Senior Congressional and Executive Staff, 1996-2007.

MIT Energy Innovation Study, 2009-2010.
MIT Energy Initiative, Steering Council, 2007-2008
MIT Coal Study, 2004-2006.
MIT Energy Research Council, 2005-2006.
MIT Nuclear Study, 2002-2004.
Harvard University Center on the Environment, Council, 2009-present


Expert Witness, Consultation, and Testimony

2001          Testimony on Election Administration, U. S. Senate Committee on Commerce.
2001          Testimony on Voting Equipment, U.S. House Committee on Science, Space,
              and Technology
2001          Testimony on Voting Equipment, U.S. House Committee on House
              Administration
2001          Testimony on Voting Equipment, Congressional Black Caucus
2002-2003     McConnell v. FEC, 540 U.S. 93 (2003), consultant to the Brennan Center.
2009          Amicus curiae brief with Professors Nathaniel Persily and Charles Stewart on
              behalf of neither party to the U.S. Supreme Court in the case of Northwest
              Austin Municipal Utility District Number One v. Holder, 557 U.S. 193 (2009).
2009          Testimony on Voter Registration, U. S. Senate Committee on Rules.
2011-2015     Perez v. Perry, U. S. District Court in the Western District of Texas (No. 5:11-
              cv-00360). Exert witness on behalf of Rodriguez intervenors.
2011-2013      State of Texas v. United States, the U.S. District Court in the District of
              Columbia (No. 1:11-cv-01303), expert witness on behalf of the Gonzales
              intervenors.
2012-2013     State of Texas v. Holder, U.S. District Court in the District of Columbia (No.
              1:12-cv-00128), expert witness on behalf of the United States.
2011-2012     Guy v. Miller in U.S. District Court for Nevada (No. 11-OC-00042-1B), expert
              witness on behalf of the Guy plaintiffs.
2012          In re Senate Joint Resolution of Legislative Apportionment, Florida Supreme
              Court (Nos. 2012-CA-412, 2012-CA-490), consultant for the Florida
              Democratic Party.
2012-2014     Romo v. Detzner, Circuit Court of the Second Judicial Circuit in Florida (No.
              2012 CA 412), expert witness on behalf of Romo plaintiffs.
2013-2014     LULAC v. Edwards Aquifer Authority, U.S. District Court for the Western
              District of Texas, San Antonio Division (No. 5:12cv620-OLG,), consultant and
              expert witness on behalf of the City of San Antonio and San Antonio Water
              District
2013-2014     Veasey v. Perry, U. S. District Court for the Southern District of Texas, Corpus

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              Christi Division (No. 2:13-cv-00193), consultant and expert witness on behalf of
              the United States Department of Justice.
2013-2015     Harris v. McCrory, U. S. District Court for the Middle District of North
              Carolina (No. 1:2013cv00949), consultant and expert witness on behalf of the
              Harris plaintiffs. (later named Cooper v. Harris)
2014          Amicus curiae brief, on behalf of neither party, Supreme Court of the United
              States, Alabama Democratic Conference v. State of Alabama.
2014- 2016    Bethune-Hill v. Virginia State Board of Elections, U. S. District Court for the
              Eastern District of Virginia (No. 3:2014cv00852), consultant and expert on
              behalf of the Bethune-Hill plaintiffs.
2015          Amicus curiae brief in support of Appellees, Supreme Court of the United
              States, Evenwell v. Abbott
2016-2017     Perez v. Abbott, U. S. District Court in the Western District of Texas (No. 5:11-
              cv-00360). Exert witness on behalf of Rodriguez intervenors.
2017-2018     Fish v. Kobach, U. S. District Court in the District of Kansas (No. 2:16-cv-
              02105-JAR). Expert witness of behalf of the Fish plaintiffs.




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                         December 4, 2020


           Bowyer v. Ducey, Case No. 2:20-cv-02321-DJH

       United States District Court for the District of Arizona

              Expert Report of Jonathan Rodden, PhD

                        737 Mayfield Avenue
                         Stanford, CA 94305




                   __________________________
                       Jonathan Rodden, PhD




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                    I.     INTRODUCTION AND SUMMARY

      Yesterday evening, December 3, 2020, I received three declarations, each of

which makes rather strong claims to have demonstrated “anomalies” or

“irregularities” in the results of the presidential election in Arizona on November 3,

2020. I have been asked by Counsel to assess the validity of their claims.

Unfortunately, these reports do not meet basic standards for scientific inquiry. For

the most part, they are not based on discernable logical arguments, and they are

completely divorced from any existing social science literature. Without any

citations to relevant scientific literature about statistics or elections, the authors

identify common and easily explained patterns in the 2020 election results, and

without explanation, assert that they are somehow “anomalous.” Each of these

reports lacks even a basic level of clarity or transparency about research methods

that would be expected in a scientific communication. As detailed below, each of

these reports is based on puzzling but serious mistakes and misunderstandings about

how to analyze election data.



                                II. QUALIFICATIONS

      I am currently a tenured Professor of Political Science at Stanford University

and the founder and director of the Stanford Spatial Social Science Lab (“the

Lab”)—a center for research and teaching with a focus on the analysis of geo-spatial

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data in the social sciences. In my affiliation with the Lab, I am engaged in a variety

of research projects involving large, fine-grained geo-spatial data sets including

ballots and election results at the level of polling places, individual records of

registered voters, census data, and survey responses. I am also a senior fellow at the

Stanford Institute for Economic Policy Research and the Hoover Institution. Prior to

my employment at Stanford, I was the Ford Professor of Political Science at the

Massachusetts Institute of Technology. I received my Ph.D. from Yale University

and my B.A. from the University of Michigan, Ann Arbor, both in political science.

A copy of my current C.V. is included as an Appendix to this report.

      In my current academic work, I conduct research on the relationship between

the patterns of political representation, geographic location of demographic and

partisan groups, and the drawing of electoral districts. I have published papers using

statistical methods to assess political geography, balloting, and representation in a

variety of academic journals including Statistics and Public Policy, Proceedings of

the National Academy of Science, American Economic Review Papers and

Proceedings, the Journal of Economic Perspectives, the Virginia Law Review, the

American Journal of Political Science, the British Journal of Political Science, the

Annual Review of Political Science, and the Journal of Politics. One of these papers

was recently selected by the American Political Science Association as the winner

of the Michael Wallerstein Award for the best paper on political economy published



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in the last year, and another received an award from the American Political Science

Association section on social networks.

      I have recently written a series of papers, along with my co-authors, using

automated redistricting algorithms to assess partisan gerrymandering. This work has

been published in the Quarterly Journal of Political Science, Election Law Journal,

and Political Analysis, and it has been featured in more popular publications like the

Wall Street Journal, the New York Times, and Boston Review. I have recently

completed a book, published by Basic Books in June of 2019, on the relationship

between political districts, the residential geography of social groups, and their

political representation in the United States and other countries that use winner-take-

all electoral districts. The book was reviewed in The New York Times, The New York

Review of Books, Wall Street Journal, The Economist, and The Atlantic, among

others.

          I have expertise in the use of large data sets and geographic information

systems (GIS), and conduct research and teaching in the area of applied statistics

related to elections. My PhD students frequently take academic and private sector

jobs as statisticians and data scientists. I frequently work with geo-coded voter files

and other large administrative data sets, including in recent papers published in the

Annals of Internal Medicine and The New England Journal of Medicine. I have

developed a national data set of geo-coded precinct-level election results that has



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been used extensively in policy-oriented research related to redistricting and

representation.1

         I have been accepted and testified as an expert witness in six recent election

law cases: Romo v. Detzner, No. 2012-CA-000412 (Fla. Cir. Ct. 2012); Mo. State

Conference of the NAACP v. Ferguson-Florissant Sch. Dist., No. 4:2014-CV-02077

(E.D. Mo. 2014); Lee v. Va. State Bd. of Elections, No. 3:15-CV-00357 (E.D. Va.

2015); Democratic Nat’l Committee et al. v. Hobbs et al., No. 16-1065-PHX-DLR

(D. Ariz. 2016); Bethune-Hill v. Virginia State Board of Elections, No. 3:14-cv-

00852-REP-AWA-BMK (E.D. Va. 2014); and Jacobson et al. v. Lee, No. 4:18-cv-

00262 (N.D. Fla. 2018). I also worked with a coalition of academics to file Amicus

Briefs in the Supreme Court in Gill v. Whitford, No. 16-1161, and Rucho v. Common

Cause, No. 18-422. Much of the testimony in these cases had to do with geography,

voting, ballots, and election administration. I am being compensated at the rate of

$500/hour for my work in this case. My compensation is not dependent upon my

conclusions in any way.

                                   III.    DATA SOURCES

         I have collected county-level data on presidential elections for each year from

1974 to 2020 from the Arizona Secretary of State, along with yearly county-level

data on registration by party in Arizona. I also consulted precinct-level election


1
    The dataset can be downloaded at http://projects.iq.harvard.edu/eda/home.


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results from Maricopa and Pima counties. I created a national county-level dataset

on election results using information assembled from county election administrators

by the New York Times and Associated Press, along with demographic data from

the 2014-2018 American Community Survey (ACS), as well as the September 2020

county-level unemployment rate from the Bureau of Labor Statistics, and as

described in detail below, data on voting technologies used in each U.S. jurisdiction

collected by Verified Voting. I have also collected yearly county-level population

estimates for Arizona from the U.S. Census Department.



      IV.       DO “DOMINION” COUNTIES PRODUCE ANOMALOUS
                         ELECTION RESULTS?

      I received a report without a named author that purports to provide empirical

analysis suggesting that Joseph Biden received higher vote shares in counties that

use voting machines made by the manufacturer Dominion. The language of the

report indicates that the author posits a causal relationship, whereby certain types of

machines are responsible for boosting the Democratic vote share. The data, research

design, and analysis are not adequately explained. To the extent the research is

explained at all, the design and analyses are flawed in several crucial respects. First,

the author relies on idiosyncratic, non-standard statistical techniques that are not

suited for the analysis the author wishes to accomplish, and more importantly, the




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author appears to rely on a correlation that is driven primarily by cross-state

variation, and makes no effort to address a serious causal inference problem.

        To demonstrate these problems and conduct a more appropriate analysis, I

have created my own dataset of county-level votes from 2008 to 2020, merged with

county demographic data from the 2014-2018 American Community Survey

(ACS),2 September 2020 county-level unemployment rate from the Bureau of Labor

Statistics, and data on voting technologies used in each jurisdiction collected by

Verified Voting. 3 Verified Voting is a “non-partisan organization focused

exclusively on the critical role technology plays in election administration” that has

developed “the most comprehensive publicly-accessible database of voting systems

used around the country.”4 I accessed a dataset showing the various voting systems

that were in place for each jurisdiction in 2012, 2016, and 2020.

        The report mentions a Chi-Squared Automatic Interaction Detection

approach, but provides no details about the analysis or the dataset, and provides no

output. This is not a standard technique used in the analysis of election data, and the

author provides no explanation of why this unusual approach was selected. The


2
  Demographic variables from the ACS include: the age distribution, sex distribution, percent
Black, percent Latino, the percent of renters, median household income, percent of the county
with a college degree, and percent under the poverty line.
3
  In preparing this this data set and conducting the analysis set forth in this section of the report, I
received assitance from William Marble—a advanced PhD candidate in political science at
Stanford University. Mr. Marble has worked with me in a similar capacity in the past and it is
standard to utilize such assistants in my field of expertise.
4
  https://verifiedvoting.org/about/


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author presents a scatterplot that seems to be based on a prediction from some kind

of statistical model, but the author does not explain anything about the model. The

author goes on to mention, in a single sentence, some type of matching analysis. The

author provides no details about how the matching analysis was set up, which

variables were used, whether the analysis relied on within-state or cross-state

variation, and crucially, whether or not it was possible to achieve adequate balance

on all of the selected matching variables.

      For each of these approaches, the author breezily mentions having conducted

some analysis without providing even the slightest details. The normal approach in

a scientific communication would be to provide readers with details on what type of

empirical model had been chosen and why, which variables were included, how the

model performed, and so on. The author also typically provides output for readers

to assess, and discusses a variety of robustness checks and sensitivity analyses, so

that readers can form judgments about whether the results are sensible, credible, and

meaningful.

      Since the author provides very few hints about research design, analysis, or

data, it is not possible to reconstruct the analysis. Nevertheless, since the relevant

data are available, it is worthwhile to assess the author’s claim that the introduction

of certain types of voting technology, via some unspecified form of fraud, actually

has a causal impact on vote shares. We would like to answer the following question:



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if there are two counties that are otherwise identical in every respect, including their

initial type of voting technology, and one switches from some other voting

technology to Dominion and the other stays the same, does the switching county

exhibit a change in voting behavior relative to the “control” county that stayed the

same? In the ideal world, we would conduct an experiment, much like a drug trial,

randomly assigning some counties but not others to either the “treatment

condition”—the use of Dominion software—or the control condition—the

maintenance of the existing system. By randomizing a sufficiently large number of

counties to the treatment and control condition, a researcher would be able to

anticipate that there are no systematic differences between the treatment and control

counties. Above all, we would hope that this randomization would achieve a balance

between the two groups, such that prior Democratic or Republican voting would be

similar in the two groups, as would other correlates of voting behavior, such as

income, race, and education. We would then be able to isolate any possible impact

of voting equipment.

      Unfortunately, this type of experiment is unavailable to us. Counties and states

have adopted voting technology in a way that is far from random. Counties that

adopted Dominion systems between 2016 and 2020 are quite different from those

that did not. Counties that switched to Dominion systems between 2016 and 2020

have larger shares of female residents, Latino residents, and college-educated



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residents, and have lower median incomes. All of these variables are correlated with

political attitudes. Moreover, they are likely correlated with unobservable variables

that also correlate with political attitudes and partisanship.

      Even worse, it is clearly the case that Democratic counties have been more

likely to adopt Dominion machines than Republican counties. This is demonstrated

in Figure 1. The left-hand panel considers all counties in the country, and shows that

counties won by Clinton in 2016 were far more likely than counties won by Trump

to make use of Dominion technology in 2020. The right-hand panel focuses on

counties that were not yet using Dominion technology in 2016, and shows that

counties won by Clinton were significantly more likely than counties won by Trump

to adopt Dominion technology.



          Figure 1: Voting Technology Use in 2020 by County Partisanship




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      Seven states have adopted Dominion technology across all of their counties,

and 20 states have not adopted Dominion technology in any of their counties. The

former counties are predominately Democratic, and the latter lean Republican. This

can be seen in Figure 2, which plots Hillary Clinton’s 2016 statewide vote share on

the horizontal axis, and the share of counties using Dominion software in 2020 on

the vertical axis. It shows that Dominion software was mostly prominently in use in

2020 in states that were already relatively Democratic in 2016.



           Figure 2: Clinton 2016 Vote Share and 2020 Voting Technology




      By now it should be clear why the author of the report on Dominion software

faces a vexing causal inference problem. If extremely Democratic counties in states

like those in New England adopted a certain software in the past, and one examined


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a contemporary correlation between voting behavior and the use of that technology,

that correlation could not plausibly be interpreted as evidence that the technology

caused the voting outcomes, even if one attempted to control for potential observable

confounders like race and income. It is simply not plausible that Connecticut is more

Democratic than Wyoming because of its voting technology.



State Fixed Effects Model

       The author ignores these complexities altogether, but unfortunately, there is

no easy solution to this causal inference problem. At a minimum, we can try to draw

inferences from within the states where there is variation across counties in voting

technology, attempting to control for observable county-level confounders. This can

be achieved by estimating a model with “fixed effects” for states. Inclusion of state-

level fixed effects allows us to control for a variety of common factors within states

that cause there to be a correlation in counties’ outcomes within the same state. This

does not “solve” the causal inference problem, but at least it allows for more valid

comparisons. For this reason, inclusion of fixed effects is standard practice in social

science research for this type of study.5




5
 For example, see Angrist, J., and Pischke, S., Mostly Harmless Econometrics. 2009. Princeton,
NJ: Princeton University Press.


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      I estimate a county-level model in which the dependent variable is the 2020

Democratic vote share, and the main independent variable of interest is a binary

variable indicating whether the state used Dominion technology in 2020. The model

includes a set of demographic control variables, past election results, and state-level

fixed effects. The full results are presented in Appendix Table A1. The coefficient

capturing the impact of the use of Dominion technology is statistically

indistinguishable from zero.



Placebo Test Using Bordering Counties

      In sum, when we rely on comparisons of counties within states, there is no

evidence that election technology has an impact on vote shares. As mentioned, the

author provides no regression output or details about the analysis, but he or she

seems to have estimated some sort of regression model. The author makes no

mention of having included fixed effects. As one can see in Figure 2 above, it is clear

that a naïve empirical model without fixed effects for states would generate the

illusion of a relationship between voting technology and election outcomes, simply

because Democratic states have been somewhat more likely to purchase Dominion

equipment.

      A good way to see this is to conduct a “placebo” test in which we examine

Biden’s vote share in counties that did not use Dominion systems, but border a



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county that did use Dominion. If there is an impact of voting software on election

outcomes via fraud, it should most certainly not be detected in counties that border

the Dominion counties but use some other election technology system. If we see that

those counties have elevated Democratic vote shares mimicking the supposed

“effect” of Dominion software—what is known as a “placebo” effect—we should

be very skeptical about claims that use of the software is associated with increased

Democratic voting. Rather, we would understand that the correlation reported by the

report’s author is driven by some features of the types of regions where Dominion

software has been adopted—not the software itself.

      The result of this analysis is shown in Appendix Table A2. It shows results of

a linear regression of Biden vote share on an indicator variable for whether a county

borders a Dominion county. This regression is estimated among counties that did not

use Dominion systems, and includes a set of demographic control variables. It shows

that Biden received a higher vote share, of about .86 of a percentage point, in

counties that border a Dominion county than in those that do not. It would be

implausible to claim that voting technology in bordering counties has a causal impact

on Biden’s vote share. A more plausible interpretation is that there are some common

features of politics in the regions that have adopted the software, and the type of

research design that appears to have been used in the report is likely to turn up

spurious results.



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Placebo Test Using Prior Election Results

       A research strategy designed to estimate the effect of one variable on another

variable can be evaluated by its tendency to detect an effect when an

effect does exist, and its tendency not to detect an effect when an effect does

not exist. When a research design detects an effect when none exists, we say it

returned a false positive. Designs with a high false positive rate are not very

informative: an effect could be detected by the research design due to the existence

of a real effect, or it could be a false positive.

       We can make a further evaluation of the propensity of the research design the

author appears to have used in his or her report to return false positives by seeing

whether it detects that future events have an “effect” on past outcomes. Of course,

this is logically impossible — we know that events happening in the future cannot

affect past outcomes. Thus, any effect detected on past outcomes is necessarily a

false positive.

       In Appendix Table A3, I replicate the basic research design that I believe lies

behind the claims in the report. It uses linear regression models, without state fixed

effects, to predict Democratic vote share as a function of whether a county used

Dominion voting technology in 2020, along with county-level demographic and

economic control variables. Except, instead of predicting 2020 vote share, I predict



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2012 and 2016 vote share. I exclude counties that used Dominion systems at the time

of the election being analyzed.

      The results indicate that in 2012, in counties that did not use Dominion in

2012 but did use them in 2020, Obama received about 5 to 6 percentage points higher

vote share, compared to counties that did not use Dominion machines in either 2012

or 2020. The next column shows a similar pattern for 2016. Future use of Dominion

predicts higher Clinton vote share in 2016, even in counties that did not use

Dominion in 2016.

      These results are false positives: there is no logical way that future use of

Dominion voting machines could have affected past outcomes. Instead, these results

are due to the fact that counties that used Dominion voting systems in 2020 are

politically different than counties that did not, even after controlling for demographic

and economic variables. This test shows that the simple type of research design that

was breezily described in the report is ill-equipped to detect differences in vote

shares that are caused by use of particular voting systems. As such, the statistical

analysis mentioned in the report provides no evidence of fraud due to use of

Dominion voting machines.

                              V. RAMSLAND REPORT

      This report begins with some unsubstantiated claims about Antrim County,

Michigan and Dallas County, Texas. These claims are difficult to understand, and



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they do not seem to include any type of evidence. Next, Mr. Ramsland contends that

turnout figures in Pima County and Maricopa County, Arizona are a “red flag,”

evidently because Mr. Ramsland believes they are too high. Without explanation or

citations from the academic literature, he contends that any turnout number above

80 percent is suspicious.

      Quite simply, high turnout is not a “red flag” indicating fraud. Turnout was

high around the United States in the 2020 election. It was especially high in suburbs

and rural areas. The numbers in Arizona are not atypical. In Figure 3 below, I present

data on turnout in each presidential election over the last decade in Arizona as a

whole, as well as in Maricopa and Pima counties.

     Figure 3: Turnout in Arizona as a Whole, and in Maricopa and Pima
Counties




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      Turnout was indeed higher in Arizona as a whole in 2020, reaching 79.9

percent. This was driven, of course, by Maricopa County, which accounts for the

lion’s share of the Arizona electorate. As can be seen in Figure 3, Pima County

typically has higher turnout than Maricopa, or Arizona as a whole. Turnout in Pima

County in 2020 was comparable to that in 2004. In short, there is nothing anomalous

or suspicious about turnout in Arizona in 2020, or in the two counties mentioned by

Mr. Ramsland.

      He goes on to list a series of high-turnout suburban and rural precincts. Many

of the rural precincts listed by Mr. Ramsland provided strong support to President

Trump, while the suburban precincts were, for the most part, hotly contested but

leaned toward Joseph Biden. A similar group of rural and suburban precincts with

very high turnout can be found in every state around the United States. It is not clear

what this might possibly have to do with election fraud.

      Mr. Ramsland then goes on to claim that instead of counting votes in the

traditional way, code was activated to use ranked choice voting to tally votes in

Arizona’s 2020 presidential election. From this discussion, it seems likely that Mr.

Ramsland is not familiar with ranked choice voting. It involves a different type of

ballot, in which voters rank their preferences among candidates. This type of ballot

was not used in Arizona. Even if all of the ballots in Arizona were somehow counted

or processed using ranked choice voting, but using ballots that only allowed voters



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to select one candidate, the result would be the same. Ranked choice voting is a

system where in the first round of counting, if one candidate has a majority, the

process is over, and no votes are redistributed. If there were multiple candidates and

voters’ choices were ranked, there would then be a second round, where the lowest-

ranked candidate would be dropped, and those voters who ranked that candidate first

would then have their second-choice votes tallied. But clearly, nothing of the sort

happened in Arizona. Jo Jorgensen, the Libertarian candidate, received a significant

number of votes, as did candidates from other parties and write-in candidates.

      Finally, Mr. Ramsland concludes with some ideas about votes being

“injected” at various times during the counting process. It appears that while

watching election returns as they were released by a polling firm called Edison

Research, Mr. Ramsland became concerned that votes were reported in bunches

throughout the evening. It is not clear how the timing of data releases by Edison

Research might be related to election fraud.



                            VI.       KESHEL REPORT

      Like Mr. Ramsland, Mr. Keshel also takes issue with Arizona’s election

result. He characterizes the result as a “substantial deviance from statistical norms

and results regarding voting patterns in Arizona” (paragraph 4). He does not explain

what “statistical norms” he considers, and cites no literature about how one might



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go about identifying such a thing. Mr. Keshel’s concern, evidently, is that Mr.

Biden’s gains were too high. To the extent that he identifies a method of analysis,

he appears to claim that if a party has won frequently in a geographic place in the

past, as the Republican Party has in Maricopa County, it is suspicious if that party

loses support. Evidently Mr. Keshel would be suspicious about a number of

outcomes in U.S. election, including the increase in support for the Republican Party

in the industrial Midwest in 2016, or the rather striking increase in votes for President

Trump in several Hispanic counties in Florida and Texas in 2020. Especially in the

presence of a controversial incumbent, changing political fortunes for a party in a

particular geographic area are quite normal, and are not viewed by election analysts

as evidence of fraud.

      Another claim made by Mr. Keshel is that a party should show “proper

progression in keeping with historic party registration trends” (paragraph 15). He

does not explain his method for empirically measuring this “proper progression,”

but in Arizona, party registration numbers are not remotely useful for this purpose.

Figure 4 helps explain why. It plots Democrats as a share of total registrants (in

blue), as well as Republicans as a share of total registrants (in red).




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      Figure 4: Party Registration Over Time in Maricopa County, AZ




Democrats and Republicans are both falling dramatically as a share of total

registrants, as increasing numbers of voters decline to register with one of the two

major parties. But the two major parties continue to virtually monopolize votes for

president and other offices. In other words, neither party is “in keeping with historic

party registration trends.” Much of the battle in Maricopa County is over the large

number of voters who are not registered with either party.

      In any case, as with turnout, it is difficult to characterize Arizona’s 2020

election result, or that of Maricopa County in particular, as anomalous. Figure 5

simply plots Democratic and Republican votes over time in Maricopa County.




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Figure 5: Votes for Democratic and Republican Presidential Candidates Over
                       Time, Maricopa County, AZ




The rapid growth in votes cast for both parties is a function of Maricopa County’s

rapid growth, fueled by in-migration from other states. Cross-state migrants to places

like Maricopa County are typically college-educated young people—a group that

has in recent years become a core constituency of the Democratic Party. As a result,

the most rapidly growing counties in the United States are also quickly becoming

more Democratic.6 As Maricopa County has become more educated and diverse, the

growth in the blue line has caught up with the growth of the red line in Figure 5.

Much of the gap had already been closed by 2016, and it is not surprising that,

through the continuation of the trend of in-migration and strong turnout, the blue

line finally surpassed the red line in 2020.


6
 Jonathan Rodden, 2019, Why Cities Lose: The Deep Roots of the Urban-Rural Divide. New
York: Basic Books.


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      Finally, Mr. Keshel believes that Maricopa County is an outlier in the extent

to which it has experienced the above-mentioned combination of increased

population and increased Democratic voting. This is not the case. Let us examine

other states where in-migration of educated young people to sprawling suburbs is

changing the political complexion of the state: Texas, Georgia, and North Carolina.

      In Figure 6, I plot the change in Trump vote margin from 2016 to 2020 on the

vertical axis, so that a positive number indicates that Trump’s performance

improved, and a negative number indicates that it declined. On the horizontal axis is

average yearly net in-migration, calculated by the census department, from the years

2010 to 2019. The observations are counties. I include identical graphs for Arizona,

Texas, Georgia, and North Carolina—all states that have thriving, growing metro

areas with strong labor markets and affordable suburbs that are attracting migrants

from around the United States. Note that the only thing different about the graphs

for each state is the horizontal axis. It goes all the way beyond 40,000 for Arizona.

For Texas, the scale stops at 20,0000, and the other states at even lower values. If I

did not allow the horizontal axis to vary for Arizona, it would be literally off the

charts. This graph clarifies that the population growth of Maricopa County, driven

by in-migration, is very unique. According to census estimates, Maricopa County

gained 63,000 residents in 2019 alone.




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Figure 6: Net Migration and Change in Presidential Voting Behavior, 2016 to
       2020, Counties of Arizona, Texas, Georgia, and North Carolina




      As we can see on the graph, in every one of these states, rapidly growing

counties like Maricopa moved toward the Democratic presidential candidate from

2016 to 2020. Every single county that experienced substantial growth can be found

in the lower right-hand corner of the graph for its state, where Biden out-performed

Clinton—often by a wide margin. In fact, given its extreme level of growth,

Maricopa is something of an outlier in that it did not swing further toward the

Democratic presidential candidate. Note that most of the high-growth counties in

Texas and Georgia moved further in a Democratic direction than did Maricopa.




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      It is also useful to note that Trump experienced large increases in vote share

in many of the counties where population growth is either stagnant or where out-

migration is occurring (on the left side of the graph). In some cases, these vote shifts

are substantial. In fact, in order to make the data fit on the graphs, some of the

declining, majority-Latino counties in Texas where Trump made extremely large

gains had to be left off. If one adopts Mr. Keshel’s faulty logic—whereby large vote

gains are indicative of fraud—one would need to look at some of these declining

rural counties, where in several states, the shift in voting was more dramatic than in

the growing suburban counties. But to be clear, this argument is flawed: voting can

and does shift among social groups in response to policies and behavior or

incumbents as well as platforms of candidates.

      In sum, Mr. Keshel has provided no evidence whatsoever that would be

indicative, or even suggestive, of fraud in Arizona.



                                VII.      CONCLUSION

      In conclusion, these reports do not take a scientific approach to the questions

they address. They are completely disconnected from the wealth of knowledge about

elections and statistics that has been accumulated in the scholarly literature. They

feature vague and illogical stories about “anomalies” that, upon basic confrontation

with context, logic, and data, turn out not to be anomalies at all, but mere descriptions



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of patterns of historical and contemporary election results that are already well

known to scholars and pundits alike. They contain no evidence of fraud or

irregularities in the election results of 2020 in Arizona or anywhere else.




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                                    Appendix

Table A1: Fixed Effects Model, County-Level Democratic Vote Share in 2020

                                                Dem vote
                                               share, 2020
                     Dominion 2020                 0.031
                                                  (0.25)
                     Hart 2020                    -0.014
                                                  (0.08)
                     female                       -0.003
                                                  (0.18)
                     Black                         0.022
                                                  (2.57)*
                     Latino                       -0.078
                                                  (9.43)**
                     College                       0.086
                                                  (7.31)**
                     Age 25-34                     0.014
                                                  (0.52)
                     Age 35-44                     0.074
                                                  (2.56)*
                     Age 45-54                    -0.028
                                                  (0.85)
                     Age 55-64                     0.123
                                                  (4.16)**
                     Age 65 and over              -0.030
                                                  (1.63)
                     Median income                -0.016
                                                  (1.79)
                     Poverty rate                 -0.003
                                                  (0.16)
                     Unemployment rate            -0.140
                                                  (3.73)**
                     Renter share                 -0.011
                                                  (0.88)
                     Share urban                   0.019
                                                  (7.81)**
                     Log population density        0.240
                                                  (3.54)**
                     Dem. vote share 2016          1.047
                                                 (51.38)**
                     Dem. vote share 2012         -0.093
                                                  (3.76)**
                     Dem. vote share 2008         -0.026
                                                  (1.43)
                     Constant                      0.465
                                                  (0.26)
                     R2                            0.99


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                  N                          3,110
                           * p<0.05; ** p<0.01




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                      Table A2: Border Placebo Analysis


                                                    Dem vote
                                                   share, 2020
                  Dominion 2020                         0.855*
                                                        (1.96)
                  Hart 2020                             -3.860
                                                        (6.97)**
                  female                                0.067
                                                        (0.60)
                  Black                                 0.389
                                                       (16.44)**
                  Latino                                0.148
                                                        (5.00)**
                  College                               0.746
                                                       (13.81)**
                  Age 25-34                             -0.238
                                                        (1.53)
                  Age 35-44                             -0.504
                                                        (3.03)**
                  Age 45-54                             0.060
                                                        (0.33)
                  Age 55-64                             0.738
                                                        (3.70)**
                  Age 65 and over                       -0.231
                                                        (2.43)*
                  Median income                         0.156
                                                        (3.05)**
                  Poverty rate                          0.564
                                                        (5.58)**
                  Unemployment rate                     0.901
                                                        (6.10)**
                  Renter share                          0.274
                                                        (4.56)**
                  Share urban                           0.014
                                                        (1.04)
                  Log population density                1.812
                                                        (7.04)**
                  Constant                             -25.082
                                                        (2.43)*
                   2
                  R                                    0.68
                  N                                1,846
                                 * p<0.05; ** p<0.01




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              Table A3: Previous Election Placebo Analysis
                                               2012 Dem         2016 Dem
                                               vote share       vote share
    2020 Dominion                                   5.605           3.310
                                                    (1.241)**      (1.358)*
    female                                          0.400           0.198
                                                    (0.131)**      (0.113)
    Black                                           0.352           0.466
                                                    (0.024)**      (0.021)**
    Latino                                          0.143           0.258
                                                    (0.034)**      (0.031)**
    College                                         0.331           0.660
                                                    (0.061)**      (0.054)**
    Age 25-34                                       -0.411         -0.254
                                                    (0.177)*       (0.153)
    Age 35-44                                       -0.799         -0.576
                                                    (0.194)**      (0.168)**
    Age 45-54                                       0.272           0.269
                                                    (0.225)        (0.198)
    Age 55-64                                       0.842           0.850
                                                    (0.235)**      (0.206)**
    Age 65 and over                                 -0.117         -0.033
                                                    (0.120)        (0.100)
    Median income                                   0.152           0.150
                                                    (0.061)*       (0.050)**
    Poverty rate                                    0.656           0.671
                                                    (0.108)**      (0.098)**
    Renter share                                    0.325           0.337
                                                    (0.077)**      (0.068)**
    Share urban                                     0.008           0.006
                                                    (0.016)        (0.013)
    Log population density                          2.444           2.387
                                                    (0.276)**      (0.246)**
    Constant                                       -29.495        -41.937
                                                   (12.358)*      (10.381)**
     2
    R                                              0.39             0.61
    N                                          1,946            2,097
                             * p<0.05; ** p<0.01




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Jonathan Rodden
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Personal
   Born on August 18. 1971, St. Louis, MO.
   United States Citizen.


Education
   Ph.D. Political Science, Yale University, 2000.
   Fulbright Scholar, University of Leipzig, Germany, 1993–1994.
   B.A., Political Science, University of Michigan, 1993.


Academic Positions
   Professor, Department of Political Science, Stanford University, 2012–present.

   Senior Fellow, Hoover Institution, Stanford University, 2012–present.
   Senior Fellow, Stanford Institute for Economic Policy Research, 2020–present.
   Director, Spatial Social Science Lab, Stanford University, 2012–present.
   W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
   sity, 2010–2012.
   Associate Professor, Department of Political Science, Stanford University, 2007–2012.
   Fellow, Center for Advanced Study in the Behavioral Sciences, Palo Alto, CA, 2006–2007.
   Ford Career Development Associate Professor of Political Science, MIT, 2003–2006.

   Visiting Scholar, Center for Basic Research in the Social Sciences, Harvard University, 2004.
   Assistant Professor of Political Science, MIT, 1999–2003.
   Instructor, Department of Political Science and School of Management, Yale University, 1997–1999.




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Publications
Books
  Why Cities Lose: The Deep Roots of the Urban-Rural Divide. Basic Books, 2019.
  Decentralized Governance and Accountability: Academic Research and the Future of Donor Programming. Co-
  edited with Erik Wibbels, Cambridge University Press, 2019.
  Hamilton‘s Paradox: The Promise and Peril of Fiscal Federalism, Cambridge University Press, 2006. Winner,
  Gregory Luebbert Award for Best Book in Comparative Politics, 2007.
  Fiscal Decentralization and the Challenge of Hard Budget Constraints, MIT Press, 2003. Co-edited with
  Gunnar Eskeland and Jennie Litvack.

Peer Reviewed Journal Articles
  Partisan Dislocation: A Precinct-Level Measure of Representation and Gerrymandering, 2020, Political
  Analysis forthcoming (with Daryl DeFord Nick Eubank).

  Who is my Neighbor? The Spatial Efficiency of Partisanship, 2020, Statistics and Public Policy (with
  Nick Eubank).
  Handgun Ownership and Suicide in California, 2020, New England Journal of Medicine 382:2220-2229
  (with David M. Studdert, Yifan Zhang, Sonja A. Swanson, Lea Prince, Erin E. Holsinger, Matthew J.
  Spittal, Garen J. Wintemute, and Matthew Miller).

  Viral Voting: Social Networks and Political Participation, 2020, Quarterly Journal of Political Science (with
  Nick Eubank, Guy Grossman, and Melina Platas).
  It Takes a Village: Peer Effects and Externalities in Technology Adoption, 2020, American Journal of
  Political Science (with Romain Ferrali, Guy Grossman, and Melina Platas). Winner, 2020 Best Conference
  Paper Award, American Political Science Association Network Section.

  Assembly of the LongSHOT Cohort: Public Record Linkage on a Grand Scale, 2019, Injury Prevention
  (with Yifan Zhang, Erin Holsinger, Lea Prince, Sonja Swanson, Matthew Miller, Garen Wintemute, and
  David Studdert).
  Crowdsourcing Accountability: ICT for Service Delivery, 2018, World Development 112: 74-87 (with Guy
  Grossman and Melina Platas).

  Geography, Uncertainty, and Polarization, 2018, Political Science Research and Methods doi:10.1017/
  psrm.2018.12 (with Nolan McCarty, Boris Shor, Chris Tausanovitch, and Chris Warshaw).
  Handgun Acquisitions in California after Two Mass Shootings, 2017, Annals of Internal Medicine 166(10):698-
  706. (with David Studdert, Yifan Zhang, Rob Hyndman, and Garen Wintemute).

  Cutting Through the Thicket: Redistricting Simulations and the Detection of Partisan Gerrymanders,
  2015, Election Law Journal 14,4:1-15 (with Jowei Chen).
  The Achilles Heel of Plurality Systems: Geography and Representation in Multi-Party Democracies,
  2015, American Journal of Political Science 59,4: 789-805 (with Ernesto Calvo). Winner, Michael Waller-
  stein Award for best paper in political economy, American Political Science Association.

  Why has U.S. Policy Uncertainty Risen Since 1960?, 2014, American Economic Review: Papers and Pro-
  ceedings May 2014 (with Nicholas Bloom, Brandice Canes-Wrone, Scott Baker, and Steven Davis).


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Journal of Political Science 8: 239-269 (with Jowei Chen).
How Should We Measure District-Level Public Opinion on Individual Issues?, 2012, Journal of Politics
74, 1: 203-219 (with Chris Warshaw).

Representation and Redistribution in Federations, 2011, Proceedings of the National Academy of Sciences
108, 21:8601-8604 (with Tiberiu Dragu).
Dual Accountability and the Nationalization of Party Competition: Evidence from Four Federatons,
2011, Party Politics 17, 5: 629-653 (with Erik Wibbels).
The Geographic Distribution of Political Preferences, 2010, Annual Review of Political Science 13: 297–340.

Fiscal Decentralization and the Business Cycle: An Empirical Study of Seven Federations, 2009, Eco-
nomics and Politics 22,1: 37–67 (with Erik Wibbels).
Getting into the Game: Legislative Bargaining, Distributive Politics, and EU Enlargement, 2009, Public
Finance and Management 9, 4 (with Deniz Aksoy).

The Strength of Issues: Using Multiple Measures to Gauge Preference Stability, Ideological Constraint,
and Issue Voting, 2008. American Political Science Review 102, 2: 215–232 (with Stephen Ansolabehere
and James Snyder).
Does Religion Distract the Poor? Income and Issue Voting Around the World, 2008, Comparative Political
Studies 41, 4: 437–476 (with Ana Lorena De La O).

Purple America, 2006, Journal of Economic Perspectives 20,2 (Spring): 97–118 (with Stephen Ansolabehere
and James Snyder).
Economic Geography and Economic Voting: Evidence from the U.S. States, 2006, British Journal of
Political Science 36, 3: 527–47 (with Michael Ebeid).

Distributive Politics in a Federation: Electoral Strategies, Legislative Bargaining, and Government
Coalitions, 2004, Dados 47, 3 (with Marta Arretche, in Portuguese).
Comparative Federalism and Decentralization: On Meaning and Measurement, 2004, Comparative Poli-
tics 36, 4: 481-500. (Portuguese version, 2005, in Revista de Sociologia e Politica 25).

Reviving Leviathan: Fiscal Federalism and the Growth of Government, 2003, International Organization
57 (Fall), 695–729.
Beyond the Fiction of Federalism: Macroeconomic Management in Multi-tiered Systems, 2003, World
Politics 54, 4 (July): 494–531 (with Erik Wibbels).
The Dilemma of Fiscal Federalism: Grants and Fiscal Performance around the World, 2002, American
Journal of Political Science 46(3): 670–687.
Strength in Numbers: Representation and Redistribution in the European Union, 2002, European Union
Politics 3, 2: 151–175.
Does Federalism Preserve Markets? Virginia Law Review 83, 7 (with Susan Rose-Ackerman). Spanish
version, 1999, in Quorum 68.




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Working Papers
  Federalism and Inter-regional Redistribution, Working Paper 2009/3, Institut d’Economia de Barcelona.
  Representation and Regional Redistribution in Federations, Working Paper 2010/16, Institut d’Economia
  de Barcelona (with Tiberiu Dragu).

Chapters in Books
  Political Geography and Representation: A Case Study of Districting in Pennsylvania (with Thomas
  Weighill), forthcoming 2021.
  Decentralized Rule and Revenue, 2019, in Jonathan Rodden and Erik Wibbels, eds., Decentralized Gov-
  ernance and Accountability, Cambridge University Press.
  Geography and Gridlock in the United States, 2014, in Nathaniel Persily, ed. Solutions to Political
  Polarization in America, Cambridge University Press.
  Can Market Discipline Survive in the U.S. Federation?, 2013, in Daniel Nadler and Paul Peterson, eds,
  The Global Debt Crisis: Haunting U.S. and European Federalism, Brookings Press.
  Market Discipline and U.S. Federalism, 2012, in Peter Conti-Brown and David A. Skeel, Jr., eds, When
  States Go Broke: The Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge
  University Press.
  Federalism and Inter-Regional Redistribution, 2010, in Nuria Bosch, Marta Espasa, and Albert Sole
  Olle, eds., The Political Economy of Inter-Regional Fiscal Flows, Edward Elgar.
  Back to the Future: Endogenous Institutions and Comparative Politics, 2009, in Mark Lichbach and
  Alan Zuckerman, eds., Comparative Politics: Rationality, Culture, and Structure (Second Edition), Cam-
  bridge University Press.
  The Political Economy of Federalism, 2006, in Barry Weingast and Donald Wittman, eds., Oxford Hand-
  book of Political Economy, Oxford University Press.
  Fiscal Discipline in Federations: Germany and the EMU, 2006, in Peter Wierts, Servaas Deroose, Elena
  Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave MacMillan.
  The Political Economy of Pro-cyclical Decentralised Finance (with Erik Wibbels), 2006, in Peter Wierts,
  Servaas Deroose, Elena Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave
  MacMillan.
  Globalization and Fiscal Decentralization, (with Geoffrey Garrett), 2003, in Miles Kahler and David
  Lake, eds., Governance in a Global Economy: Political Authority in Transition, Princeton University Press:
  87-109. (Updated version, 2007, in David Cameron, Gustav Ranis, and Annalisa Zinn, eds., Globalization
  and Self-Determination: Is the Nation-State under Siege? Routledge.)
  Introduction and Overview (Chapter 1), 2003, in Rodden et al., Fiscal Decentralization and the Challenge
  of Hard Budget Constraints (see above).
  Soft Budget Constraints and German Federalism (Chapter 5), 2003, in Rodden, et al, Fiscal Decentral-
  ization and the Challenge of Hard Budget Constraints (see above).
  Federalism and Bailouts in Brazil (Chapter 7), 2003, in Rodden, et al., Fiscal Decentralization and the
  Challenge of Hard Budget Constraints (see above).
  Lessons and Conclusions (Chapter 13), 2003, in Rodden, et al., Fiscal Decentralization and the Challenge
  of Hard Budget Constraints (see above).


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Online Interactive Visualization
   Stanford Election Atlas, 2012 (collaboration with Stephen Ansolabehere at Harvard and Jim Herries at
   ESRI)

Other Publications
   How America’s Urban-Rural Divide has Shaped the Pandemic, 2020, Foreign Affairs, April 20, 2020.
   An Evolutionary Path for the European Monetary Fund? A Comparative Perspective, 2017, Briefing
   paper for the Economic and Financial Affairs Committee of the European Parliament.
   Representation and Regional Redistribution in Federations: A Research Report, 2009, in World Report
   on Fiscal Federalism, Institut d’Economia de Barcelona.
   On the Migration of Fiscal Sovereignty, 2004, PS: Political Science and Politics July, 2004: 427–431.
   Decentralization and the Challenge of Hard Budget Constraints, PREM Note 41, Poverty Reduction and
   Economic Management Unit, World Bank, Washington, D.C. (July).
   Decentralization and Hard Budget Constraints, APSA-CP (Newsletter of the Organized Section in
   Comparative Politics, American Political Science Association) 11:1 (with Jennie Litvack).
   Book Review of The Government of Money by Peter Johnson, Comparative Political Studies 32,7: 897-900.


Fellowships and Honors
   Fund for a Safer Future, Longitudinal Study of Handgun Ownership and Transfer (LongSHOT),
   GA004696, 2017-2018.
   Stanford Institute for Innovation in Developing Economies, Innovation and Entrepreneurship research
   grant, 2015.
   Michael Wallerstein Award for best paper in political economy, American Political Science Association,
   2016.
   Common Cause Gerrymandering Standard Writing Competition, 2015.
   General support grant from the Hewlett Foundation for Spatial Social Science Lab, 2014.
   Fellow, Institute for Research in the Social Sciences, Stanford University, 2012.
   Sloan Foundation, grant for assembly of geo-referenced precinct-level electoral data set (with Stephen
   Ansolabehere and James Snyder), 2009-2011.
   Hoagland Award Fund for Innovations in Undergraduate Teaching, Stanford University, 2009.
   W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
   sity, beginning Fall 2010.
   Research Grant on Fiscal Federalism, Institut d‘Economia de Barcelona, 2009.
   Fellow, Institute for Research in the Social Sciences, Stanford University, 2008.
   United Postal Service Foundation grant for study of the spatial distribution of income in cities, 2008.
   Gregory Luebbert Award for Best Book in Comparative Politics, 2007.


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  Fellow, Center for Advanced Study in the Behavioral Sciences, 2006-2007.
  National Science Foundation grant for assembly of cross-national provincial-level dataset on elections,
  public finance, and government composition, 2003-2004 (with Erik Wibbels).
  MIT Dean‘s Fund and School of Humanities, Arts, and Social Sciences Research Funds.
  Funding from DAAD (German Academic Exchange Service), MIT, and Harvard EU Center to organize
  the conference, ”European Fiscal Federalism in Comparative Perspective,” held at Harvard University,
  November 4, 2000.
  Canadian Studies Fellowship (Canadian Federal Government), 1996-1997.
  Prize Teaching Fellowship, Yale University, 1998-1999.
  Fulbright Grant, University of Leipzig, Germany, 1993-1994.
  Michigan Association of Governing Boards Award, one of two top graduating students at the Univer-
  sity of Michigan, 1993.
  W. J. Bryan Prize, top graduating senior in political science department at the University of Michigan,
  1993.


Other Professional Activities
  International Advisory Committee, Center for Metropolitan Studies, Sao Paulo, Brazil, 2006–2010.
  Selection committee, Mancur Olson Prize awarded by the American Political Science Association Po-
  litical Economy Section for the best dissertation in the field of political economy.
  Selection committee, Gregory Luebbert Best Book Award.
  Selection committee, William Anderson Prize, awarded by the American Political Science Association
  for the best dissertation in the field of federalism and intergovernmental relations.


Courses
Undergraduate
  Politics, Economics, and Democracy
  Introduction to Comparative Politics
  Introduction to Political Science
  Political Science Scope and Methods
  Institutional Economics
  Spatial Approaches to Social Science

Graduate
  Political Economy of Institutions
  Federalism and Fiscal Decentralization
  Politics and Geography


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Consulting
  2017. Economic and Financial Affairs Committee of the European Parliament.
  2016. Briefing paper for the World Bank on fiscal federalism in Brazil.
  2013-2018: Principal Investigator, SMS for Better Governance (a collaborative project involving USAID,
  Social Impact, and UNICEF in Arua, Uganda).
  2019: Written expert testimony in McLemore, Holmes, Robinson, and Woullard v. Hosemann, United States
  District Court, Mississippi.
  2019: Expert witness in Nancy Corola Jacobson v. Detzner, United States District Court, Florida.
  2018: Written expert testimony in League of Women Voters of Florida v. Detzner No. 4:18-cv-002510,
  United States District Court, Florida.
  2018: Written expert testimony in College Democrats of the University of Michigan, et al. v. Johnson, et al.,
  United States District Court for the Eastern District of Michigan.
  2017: Expert witness in Bethune-Hill v. Virginia Board of Elections, No. 3:14-CV-00852, United States
  District Court for the Eastern District of Virginia.
  2017: Expert witness in Arizona Democratic Party, et al. v. Reagan, et al., No. 2:16-CV-01065, United
  States District Court for Arizona.
  2016: Expert witness in Lee v. Virginia Board of Elections, 3:15-cv-357, United States District Court for
  the Eastern District of Virginia, Richmond Division.
  2016: Expert witness in Missouri NAACP v. Ferguson-Florissant School District, United States District
  Court for the Eastern District of Missouri, Eastern Division.
  2014-2015: Written expert testimony in League of Women Voters of Florida et al. v. Detzner, et al., 2012-CA-
  002842 in Florida Circuit Court, Leon County (Florida Senate redistricting case).
  2013-2014: Expert witness in Romo v Detzner, 2012-CA-000412 in Florida Curcuit Court, Leon County
  (Florida Congressional redistricting case).
  2011-2014: Consultation with investment groups and hedge funds on European debt crisis.
  2011-2014: Lead Outcome Expert, Democracy and Governance, USAID and Social Impact.
  2010: USAID, Review of USAID analysis of decentralization in Africa.
  2006–2009: World Bank, Independent Evaluations Group. Undertook evaluations of World Bank de-
  centralization and safety net programs.
  2008–2011: International Monetary Fund Institute. Designed and taught course on fiscal federalism.
  1998–2003: World Bank, Poverty Reduction and Economic Management Unit. Consultant for World De-
  velopment Report, lecturer for training courses, participant in working group for assembly of decentral-
  ization data, director of multi-country study of fiscal discipline in decentralized countries, collaborator
  on review of subnational adjustment lending.


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A        Overview

1        I have been engaged by Defendant-Intervenors’ Counsel Perkins Coie LLP to write an
expert report in the matter of Bowyer et al. v. Ducey et al. Counsel requested that I evaluate the
contention in “Declaration of Matthew Bromberg Ph.D” (hereinafter, the Bromberg Declaration,
dated December 1, 2020 and filed on December 2, 2020) that there was “vote switching” in
Maricopa County, Arizona, in the 2020 presidential election that favored Democratic candidate
for president Joe Biden at the expense of Republican candidate Donald Trump. Counsel requested
as well that I offer a brief evaluation of the claims in the Bromberg Declaration about fraudulent
votes cast in the 2020 presidential election beyond Arizona, namely, in Georgia, Pennsylvania, and
Milwaukee, Wisconsin.


2        The 2020 General Election took place on November 3, 2020. In the race in Arizona for the
office of President of the United States, the Arizona Secretary of State has certified that Democratic
candidate Joe Biden received 1,672,143 votes and Republican candidate Donald Trump, 1,661,686
votes. This constitutes a margin of 10,457 votes.1


3        As of the writing of this expert report, Matthew Bromberg, the author of the Bromberg
Declaration, has to the best of my knowledge disclosed neither the data not the computer code he
used in the process of producing his declaration. I accordingly reserve the right to supplement this
report in light of any disclosures that he puts forward in the future.



B        Summary of conclusions

    I.     The Bromberg Declaration offers no evidence of voter fraud—and in particular vote
         switching from Donald Trump to Joe Biden—in Maricopa County, Arizona during the 2020
         presidential election.
    1
   See “President of the United States,” Arizona Secretary of State, available at https://results.arizona.
vote/#/featured/18/0 (last accessed December 4, 2020).


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II.      There is no basis for the key theory in the Bromberg Declaration that voting precincts
       in Maricopa County with relatively few voters were more susceptible to voter fraud than
       precincts with greater numbers of voters. This theory does not appear in the literature on
       voter fraud and there is no evidence presented in the Bromberg Declaration in support of
       it. Lacking this theory, the Bromberg Declaration cannot say anything about voter fraud in
       Maricopa County in the 2020 election.

III.     The Bromberg Declaration misunderstands how in-person voters in Maricopa County cast
       their ballots in the 2020 election. In this election, the county used voting centers on Election
       Day. Each eligible voter in Maricopa County could use any of the county’s 175 centers
       to cast an in-person ballot. Maricopa County’s in-person voters in this election, that is,
       were not restricted to voting in the polling places associated with their precincts, of which
       there were 744. The total number of presidential votes cast by the voters who belong to
       any given precinct in Maricopa County thus has no implication for how many ballots were
       physically cast in it on November 3, 2020. Therefore, the theory putatively offered in the
       Bromberg Declaration about the susceptibility to voter fraud of Maricopa County precincts
       with relatively few voters is of absolutely no relevance to the 2020 presidential race in the
       county and in fact to any races contested in the 2020 election.

IV.      When voters in Maricopa County are aggregated at the precinct level (which ignores the
       matter of where these individuals cast their ballots in the 2020 election), the results of the
       presidential race bear strong similarity to the results of the race for a seat in the United States
       Senate. The precincts in which Joe Biden did well are also precincts in which Mark Kelly,
       Democratic candidate for Senate, did well, and vice versa. This implies that the pattern in
       Maricopa County precincts that was noted in the Bromberg Declaration—whereby precincts
       with smaller numbers of voters tended to have more Biden votes than Trump votes—reflects
       established political preferences in Maricopa County, not illegal vote switching.

V.       Voter fraud is rare in the United States. Nonetheless, the Bromberg Declaration presents


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      a model that purports to discover significant voter in Georgia, Pennsylvania, and Milwau-
      kee, Wisconsin. The model assumes that when a ballot is counted is uncorrelated with the
      presidential vote on it. This is known not to be the case. Thus, the claims in the Bromberg
      Declaration about voter fraud beyond Arizona do not follow from the arguments made in it.



C     Organization of this report

4     In the next section of this report, I present my qualifications.


5     I then summarize literature on voter fraud in American elections.


6     Next, I evaluate the analysis of Maricopa County presented in the Bromberg Declaration.


7     Finally, I briefly discuss claims about voter fraud made in the Bromberg Declaration that
extend beyond Arizona.



D     Qualifications

8     I am the William Clinton Story Remsen 1943 Professor of Government at Dartmouth Col-
lege in Hanover, New Hampshire and from 2015 to 2020 was Chair of the Program in Quantitative
Social Science. I have taught at Dartmouth since 2003 and previously was on the faculty of North-
western University. I have served as a visiting professor at Harvard University (July 2008–January
2009), the University of Rochester (September 2006–December 2006), and the Hertie School of
Governance in Berlin (August 2011–August 2012). I have also served as a visiting scholar at the
Hertie School of Governance (August 2016–July 2017).


9     In January 1998, I received a doctorate in the field of Political Economy from the Grad-
uate School of Business at Stanford University. I also have a master’s degree in statistics from



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Stanford University (June 1995), a master’s degree in political science from the University of Day-
ton (August 1992), and a bachelor’s degree in mathematics and economics from Carnegie-Mellon
University (May 1989).


10     I have published many scholarly articles on election administration and American elections,
three such articles in 2019 and two in 2018. Among other subjects, I have written on the effects of
ballot formats, patterns in invalid votes, the availability of early voting, and polling place conges-
tion. My articles rely on statistical analyses, and my ongoing research agenda focuses heavily on
issues in election administration.


11     I have published over 20 articles in peer-reviewed political science journals, including in
the field’s top general journals (American Political Science Review, American Journal of Political
Science, and Journal of Politics). I have published in specialty journals as well (Election Law
Journal, American Politics Research, and Legislative Studies Quarterly).


12     I have published two articles on voter fraud in American elections. Cottrell, Herron and
Westwood (2018) is a statistical study of the allegations made by Donald Trump about voter fraud
in the period surrounding the 2016 General Election. It concludes that there is no evidence in
support of these allegations. Herron (2019) is an analysis of allegations made after a 2018 election
in North Carolina’s 9th Congressional District. It concludes that patterns in absentee votes cast in
this district were consistent with allegations of absentee ballot fraud.


13     I was a testifying expert for defendants in Law et al. v. Whitmer et al. (Case No.: 20 OC
00163 1B) and in Jennings v. Elections Canvassing Commission of the state of Florida (2006 WL
4404531 (Fla.Cir.Ct.)) and a testifying expert for plaintiffs in Alliance for Retired American et al.
v. Matthew Dunlap et al. (DKT NO. CV-20-95), Michigan Alliance for Retired Americans et al.
v. Jocelyn Benson et al. (Civil Action No. 2020-000108-MM), League of Women Voters of New
Hampshire et al. v. William M. Gardner et al. (226-2017-CV-433), and Veasey et al. v. Abbott et al.


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(265 F. Supp. 3d 684 (S.D. Tex. 2017)). In addition, I have written expert reports in approximately
12 other cases relating to aspects of election law and election administration.


14        My written and oral testimony was credited by courts in their written opinions in Law et
al. v. Whitmer et al., Donald J. Trump for President, Inc. v. Stephen Bullock et al. (Case No.:
6:20-cv-00066-DLC), League of Women Voters of New Hampshire et al. v. William M. Gardner et
al., and in Veasey et al. v. Abbott et al.. My opinions and testimony have never been found by a
court to be unreliable.


15        At the request of counsel working on the litigation “Investigation of Election Irregularities
Affecting Counties Within the 9th Congressional District,” I submitted a draft of a working paper
on North Carolina’s 9th Congressional District to the North Carolina State Board of Elections.
As to the paper’s comparison of absentee ballot candidate support rates in Bladen County, North
Carolina, in 2018 to absentee ballot candidate support rates in other counties in North Carolina, in
three other states, and in elections that dated back to 2012, the Board wrote, “We find this informa-
tion credible.”2 My paper on North Carolina’s 9th Congressional District appears in Election Law
Journal, a peer-reviewed publication (Herron, 2019).


16        My curriculum vitae is attached as Appendix A.


17        I am being paid at a rate of $550/hour for work in this litigation. My compensation is
contingent neither on the results of the analyses described herein nor on the contents of this report.



E        Voter fraud in the United States

18        To provide context for the breadth of the Bromberg Declaration’s claims about fraud, I offer
a definition of voter fraud and then review the extensive academic literature on this subject, which
     2
   The Board’s decision, which invalidated the 2018 election in the 9th Congressional District, can be found at
https://s3.amazonaws.com/dl.ncsbe.gov/State_Board_Meeting_Docs/Congressional_
District_9_Portal/Order_03132019.pdf (last accessed November 13, 2020).


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the Contest ignores.


E.1       Defining voter fraud

19        The study of voter fraud in the United States is part of the field of election administration.


20        For the purposes of this report, I define an instance of voter fraud as an intentional act of
deception aimed at subverting electoral processes.3 Instances of voter fraud can include, but are
not necessarily limited to, the following behaviors:


  Absentee or mail ballot fraud: improperly acquiring and then submitting an absentee or mail
         ballot or ballots.

  Double voting: voting more than once in an election in which this is not permitted.

  Election official fraud: improper actions taken by election officials, actions intended to change
         validly cast votes, or actions taken to affect voter registration records.

  Non-citizen voting: participating in a federal election when one is not a citizen of the United
         States.

  Voter impersonation: voting in-person (as opposed to via mail) on an election day in someone
         else’s name, either in the name of a properly registered voter or using the registration records
         of a fictional individual.
     3
    The North Carolina State Board of Elections (NCSBE) is responsible for managing elections in North Carolina.
Since 2015, it has published a breakdown of voting irregularities that raise questions about election integrity.
Referring to instances of potential voter fraud in the 2016 General Election, the NCSBE wrote that, “[Voter] [f]raud,
in most cases, is an intent crime that requires prosecutors to show that the voter knowingly committed a crime.”
See p. 7 of “Post-Election Audit Report,” North Carolina State Board of Elections, April 21, 2017, available
at    https://s3.amazonaws.com/dl.ncsbe.gov/sboe/Post-Election%20Audit%20Report_
2016%20General%20Election/Post-Election_Audit_Report.pdf (last accessed November 15,
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21        The above types of voter fraud can in principle be combined. A non-citizen of the United
States could during the course of participating in a federal election impersonate a properly regis-
tered voter. Or, an individual could vote twice in an election, once using the individual’s own (and
proper) registration and the second time using a fictional registration.


22        Moreover, each entry in the above list of behaviors should be understood as encompassing
a broad range of behaviors. An individual could, hypothetically, execute a double voting fraud by
voting twice in one state. Or, such an individual could, hypothetically, vote in more than one state.


23        This list above is neither exclusive nor exhaustive.


24        I list the above types of behaviors because they describe the sorts of actions that, based on
my experience with academic literature on the subject, could in principle be characterized as voter
fraud. What a court in any state determines is illegal depends, however, on that state’s particular
laws.


25        It is my general understanding that, for an action to be denoted fraud, it must involve an
intent to deceive. In this report, I treat allegations of voter fraud as actual fraud even where I cannot
determine if there was an intent to deceive. To that extent that I do this, my report is over-inclusive
with respect to instances of voter fraud and thus conservative.4


26        Elections are regulated affairs subject to state laws and potentially local laws as well. A
voter can behave in a way that is illegal in his or her state but not intentionally deceptive and thus
not fraudulent.
     4
     Fraudulent actions of voters or intended voters are similar to what the United States Election Assistance Com-
mission (EAC) might call “acts of deception.” The EAC, a federal body established in the aftermath of the con-
tested 2000 presidential election, published a report, “Election Crimes: An Initial Review and Recommendations
for Future Study,” in December 2006, that categorizes in detail a variety of election-related crimes. The report is
available at https://www.eac.gov/sites/default/files/eac_assets/1/6/Initial_Review_
and_Recommendations_for_Further_Study.pdf (last accessed November 22, 2020).




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27        The examples of voter fraud I have offered above are hypothetical. Later in this report
I describe research that seeks to estimate the rates at which various forms of voter fraud have
occurred in recent American elections.


28        In my experience, most scholars of American election administration broadly consider
voter fraud to consist of fraudulent actions taken by voters themselves and not by the individu-
als who supervise elections. Henceforth, when I refer to voter fraud, I mean actions involving
voters or intended voters themselves. In contrast, when in this report a particular example of fraud
is associated with an election official or a poll worker, I am explicit about this so that there is no
confusion over the type of person, official or voter, who perpetrated an alleged fraud.


E.2       Evidence of voter fraud in the United States

29        The literature on the prevalence of voter fraud in American elections incorporates a variety
of research methodologies. This exemplifies triangulation, wherein multiple research approaches
are brought to bear on a single problem. If voter fraud in the United States is widespread, one
would expect at least one of the methodologies in the literature to have detected evidence of it.


30        One methodology used in the study of voter fraud systematically tracks cases of alleged
voter fraud in media reports and in official government documents. Examples of this methodology
are Minnite and Callahan (2003), Minnite (2007), Levitt (2007), Minnite (2010), and Levitt (2014).


31        These studies conclude that rates of voter fraud in American elections are very low.


32        An illustrative example from Levitt (2014) is as follows. Between the years 2000 and 2014,
during which Levitt estimates that over one billion ballots were cast across general and primary
elections in the United States, there were approximately 31 documented “incidents” involving
voter fraud.5 The ratio of 31 to one billion is minuscule.
     5
     Levitt defines “incident” very broadly, and thus conservatively. A voter fraud incident is not necessarily a con-
viction for voter fraud. Levitt writes: “Some of these 31 incidents have been thoroughly investigated (including some


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33      Minnite (2010) is likewise instructive in its coverage of voter fraud cases at the federal
level (Chapter 3) and its analyses (Chapter 4) of fraud in four states (California, Minnesota, New
Hampshire, and Oregon), among other things. As noted above, Oregon’s elections are effectively
all-mail operations.


34      Using data from the United States Department of Justice (DOJ), Minnite finds very little
evidence of voter fraud. A September 2014 report published by the United States Government
Accountability Office similarly concluded that, “[T]here were no apparent cases of in-person voter
impersonation charged by DOJ’s Criminal Division or by U.S. Attorney’s offices anywhere in the
United States, from 2004 through July 3, 2014” (p. 70).6


35      With respect to California, which is the most populous state in the country, Minnite draws
a variety of conclusions. One is that state officials investigate claims of voter fraud when they
present themselves. While perhaps not surprising, this conclusion implies that findings of a lack of
fraud across California elections are meaningful and do not simply reflect state elections officials’
lack of interest in voter fraud.


36      Minnite concludes as well that approximately one-third of fraud allegations in California in
her period of study did not lead to charges because they lacked evidence or suspects could not be
identified; a second third of these allegations were dropped because no legal violation was found or
a suspect was determined to lack criminal intent; and, of allegations that produced legal violations,
the majority did not lead to criminal penalties, and only one-third of individuals determined to
have committed a violation were actually found guilty of a crime. The modal voter fraud Minnite
identified in California was fraudulent registration—as opposed to fraudulent voting of any type,
either in-person voting or absentee voting.
prosecutions). But many have not. Based on how other claims have turned out, I’d bet that some of the 31 will end up
debunked: a problem with matching people from one big computer list to another, or a data entry error, or confusion
between two different people with the same name, or someone signing in on the wrong line of a pollbook.”
   6
     See “Issues Related to State Voter Identification Laws,” United States Government Accountability Office, Septem-
ber 2014, available at https://www.gao.gov/assets/670/665966.pdf (last accessed November 15,
2020).


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37      Minnite studied Oregon as well, which is notable insofar as this state relies heavily on
mail-in ballots. Based on her analysis, Minnite concludes that, “The evidence of voter fraud since
Oregon adopted vote-by-mail, however, is practically non existent.”


38      Another methodology in the study of fraud involves surveying election officials. In the
aftermath of the 2016 General Election, Famighetti, Keith and Pérez (2017) “interviewed a total of
44 administrators representing 42 jurisdictions in 12 states” (p. 1), inquiring about the prevalence
of non-citizen voting. Famighetti, Keith and Pérez write that 40 jurisdictions reported “no known
incidents of noncitizen voting in 2016” (p. 1). Moreover, they state that,

      “In the jurisdictions we studied, very few noncitizens voted in the 2016 election.
      Across 42 jurisdictions, election officials who oversaw the tabulation of 23.5 million
      votes in the 2016 general election referred only an estimated 30 incidents of suspected
      noncitizen voting for further investigation or prosecution. In other words, improper
      noncitizen votes accounted for 0.0001 percent of the 2016 votes in those jurisdictions”
      (p. 1).


39      The “30 incidents” noted above represent an upper bound on the number of times that
noncitizen voter fraud was committed in the jurisdictions studied by Famighetti, Keith and Pérez.
These incidents, according to the researchers, do not represent voter fraud convictions. They rep-
resent only referrals.


40      Famighetti, Keith and Pérez write as well that, “In California, Virginia and New Hampshire
– the states where [United States President Donald] Trump claimed the problem of noncitizen
voting was especially acute – no official we spoke with identified an incident of noncitizen voting
in 2016” (p. 2).


41      The study of voter fraud by Famighetti, Keith and Pérez is notable because it focused
solely on the 2016 General Election. Compared to preceding elections, it is well known that


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the 2016 election and its aftermath were awash in fraud allegations. By focusing on such an
election, Famighetti, Keith and Pérez’s study biases itself toward finding evidence of voter fraud.
Scientifically speaking, this is not what one would call a conservative bias; rather, the bias in
Famighetti, Keith and Pérez’s work pushes the study in the direction of finding evidence of a
phenomenon of interest, here, voter fraud. Despite this bias, the rate of potential voter fraud
described by Famighetti, Keith and Pérez is very small.


42        Huefner et al. (2007) constitutes another example of a study that involved efforts to reach
out to election officials. This wide-ranging study details the electoral environments of five states
(Illinois, Michigan, Minnesota, Ohio, and Wisconsin), and the authors write as follows:

         “On the whole, voting fraud is exceedingly rare. Although allegations of voting fraud
         have been widely publicized in the media, most all of these have evaporated upon
         closer investigation” (p. 120).


43        Still another approach in the voter fraud literature uses statistical tools in efforts to deter-
mine if patterns in election returns and voting records are consistent with public claims about the
prevalence of voter fraud (Christensen and Schultz, 2014; Goel et al., 2020). Goel et al. is a study
of double voting, and their analysis relies on an extensive database that contains approximately 104
million vote records. The particular question of interest to Goel et al. is whether the records show
evidence of duplicates, i.e., of people who voted more than once in the 2012 General Election.
This question is complicated because, when one has a database of millions of individuals, there
will with virtual certainty be many cases of people with the same names and birthdates.7


44        Goel et al. conclude that, “[D]ouble voting is not currently carried out in such a systematic
way that it presents a threat to the integrity of American elections” (p. 467). Goel et al. conclude
     7
     Such a duplicate name problem arose in the 2016 General Election in North Carolina. Four individuals in the state
were accused of having voted illegally, only to be exonerated when it was discovered that they had the same names
as incarcerated felons. This example illustrates how innocuous coincidences can present themselves as voter fraud.
See “Republicans claim 43 voters are ineligible felons. Many of them aren’t,” The News & Observer, November
23, 2016, available at http://www.newsobserver.com/news/politics-government/election/
article116789083.html (last accessed November 15, 2020).


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as well that measurement error in official election data could explain “a significant portion, if not
all” of the cases of double voting that they identify.


45        By “measurement error,” Goel et al. are referring to inaccuracies in turnout records. These
inaccuracies can be the result of human recording errors, for example, in which a voting jurisdic-
tion’s record of one individual is mistakenly associated with the record of another.


46        With two academics, I published an article on voter fraud in the 2016 General Elec-
tion. This article—Cottrell, Herron and Westwood (2018)—appears in Electoral Studies, a peer-
reviewed, academic journal that focuses on elections. The article assesses the voter fraud allega-
tions promulgated by Donald Trump and individuals associated with him.


47        My co-authors and I twice described some of our results in The Washington Post.8 The first
time was on December 2, 2016, and the second, on February 28, 2017.


48        In our article, my colleagues and I used statistical techniques to search for evidence of three
types of fraud. In particular, we looked for:


  I.       Evidence of widespread non-citizen voter fraud across counties in the United States.

  II.      Evidence that election officials in the United States conspired against Donald Trump.

  III.     Evidence that the 2016 General Election in New Hampshire was contaminated by resi-
         dents of Massachusetts who, allegedly, traveled north on November 8, 2016, in order to cast
         illegal votes.
     8
     Our short articles in The Washington Post are available at https://www.washingtonpost.com/
news/monkey-cage/wp/2016/12/02/we-checked-trumps-allegations-of-voter-fraud-
we-found-no-evidence-at-all and at https://www.washingtonpost.com/news/monkey-
cage/wp/2017/02/28/we-cant-find-any-evidence-of-voting-fraud-in-new-hampshire
(last accessed November 15, 2020).




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49        With respect to the first two points above, my co-authors and I uncovered no evidence
of widespread non-citizen voter fraud and no evidence that election officials in the United States
conspired against Trump. Our county-level consideration of three states mentioned post-election
by Donald Trump—California, New Hampshire, and Virginia—also did not turn up evidence of
widespread fraud (these states were also examined by the aforementioned Famighetti, Keith and
Pérez (2017)). With respect to the third point above, my co-authors and I found no evidence of
illegal voting in New Hampshire.


50        My research project on voter fraud was initiated during the summer of 2016, months before
the presidential election. My co-authors and I are cognizant of the fact that establishing a negative
is challenging, and we do not argue that our failure to uncover evidence of fraud surrounding the
2016 General Election conclusively proves that there was not voter fraud in that election. Rather,
what one can infer from my co-authored study on voter fraud is that its attempts to uncover evi-
dence of widespread and systematic fraud were not successful.


51        The literature on voter fraud reviewed here is peer-reviewed, in most cases in publicly
accessible journals and books, and in some cases is available online. It incorporates a variety
of different research designs and data sources. Despite these differences, the contributions to
the literature share a common finding: voter fraud in American elections is rare.9 While election
scholars do not assert that the fraud rate in American elections is literally zero, no credible scholars
working in this literature have concluded that voter fraud poses a threat to election integrity in the
United States.
     9
     One exception to the scholarly consensus about a lack of widespread voter fraud in the United States is Richman,
Chattha and Earnest (2014), who derive estimates of non-citizen voting rates from the 2008 and 2010 waves of the
Internet-based survey known as the Cooperative Congressional Election Study (CCES). Some CCES survey respon-
dents indicated that, although they were non-citizens, they had voted in the 2008 General Election or in the 2010
Midterm Election.
   Richman, Chattha and Earnest’s (2014) claims about non-citizen voting would be dramatic if valid, and they would
contradict effectively all of the studies on voter fraud discussed in this report. However, Ansolabehere, Luks and
Schaffner (2015) show that it is virtually certain that Richman, Chattha and Earnest’s results on non-citizen voting
reflect survey measurement error, in particular, the incorrect classification of citizen CCES respondents as non-citizen
respondents.




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52       No evidence contradicting this finding was produced by a presidential commission on voter
fraud established in the aftermath of the 2016 General Election and shut down on January 3, 2018.
No official reports of widespread and systematic voter fraud have come to light based on the com-
mission’s work.10 Recently, Benjamin Ginsberg, a co-chair of the 2013 Presidential Commission
on Election Administration, commented on the work of this commission, noting that, “[A]fter
decades of looking for illegal voting, there’s no proof of widespread fraud. At most, there are
isolated incidents – by both Democrats and Republicans.”11


E.3     Voter fraud and mail voting

53       There is no evidence that voter fraud rates associated with mail-in voting are systemati-
cally higher than voter fraud rates associated with other forms of voting and with other aspects of
election administration.


54       Drawing on recent entries in a database of potential election irregularities developed by
The Heritage Foundation, a study released by The Brookings Institution considers the prevalence
of voter fraud specifically in the country’s five all-mail states.12 The authors of this report identify
29 “fraudulent votes attempted by mail” out of 49,917,586 general election votes cast in the period
under review. The number 29 is approximately 0.000058 percent of 49,917,586.13
  10
      On the origins and end of the presidential voter fraud commission, which offered no evidence that widespread
fraud affected the 2016 General Election, see “Trump Closes Voter Fraud Panel That Bickered More Than It Revealed,”
The New York Times, January 4, 2018, available at https://www.nytimes.com/2018/01/04/us/voting-
fraud-commission.html (last accessed November 15, 2020).
   11
      For Mr. Ginsburg’s comments on the lack of evidence about voter fraud in the United States, see “Repub-
licans have insufficient evidence to call elections ‘rigged’ and ‘fraudulent’,” The Washington Post, September
8, 2020, available at https://www.washingtonpost.com/opinions/2020/09/08/republicans-
have-insufficient-evidence-call-elections-rigged-fraudulent/ (last accessed November
15, 2020). The 2013 Presidential Commission on Election Administration, on which Mr. Ginsburg served, is
described at https://bipartisanpolicy.org/the-presidential-commission-on-election-
administration/ (last accessed November 15, 2020).
   12
      For the Heritage Foundation’s database, see https://www.heritage.org/voterfraud (last accessed
November 14, 2020). My referencing this database should be not considered an endorsement of it. I note it here
because the database is the source for the cited Brookings Institution report.
   13
      “Low rates of fraud in vote-by-mail states show the benefits outweigh the risks,” The Brookings Institution, June
2, 2020, available at https://www.brookings.edu/blog/fixgov/2020/06/02/low-rates-of-
fraud-in-vote-by-mail-states-show-the-benefits-outweigh-the-risks/ (last accessed
November 12, 2020).


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F     Allegations in the Bromberg Declaration of voter fraud in

      Maricopa County

55     The allegations in the Bromberg Declaration about Maricopa County appear on pp. 14-15,
in the Declaration’s section titled “Maricopa Precinct Analysis.”


F.1   Precinct size and support for Joe Biden

56     In its analysis of Maricopa County, the Bromberg Declaration contains two figures, both
of which plot candidate vote shares (in percentages) against precinct size. These figures constitute
the entirety of the Declaration’s evidence of fraud in Maricopa County. In particular, Figure 18
in the Bromberg Declaration plots the vote percentages of Joe Biden, Donald Trump, and third
party presidential candidates against precinct size, and Figure 19 is similar except it focuses only
on aggregate third party presidential candidates.


57     Based on its Figure 18, the Bromberg Declaration asserts that, “The Biden percentage is
higher in the smaller precincts, primarily at the expense of Trump. . . ” (p. 14). As shown below, I
do not dispute this rough characterization.


58     The Bromberg Declaration goes on to posit that the existence of this relationship “sug-
gest[s] vote switching” (p. 14) and refers to the relationship between precinct size and Biden sup-
port as “an anomaly.” By “vote switching,” the Bromberg Declaration appears to mean a process
in which legal votes for Donald Trump were switched to Joe Biden. The Bromberg Declaration
implicitly claims that this happened in Maricopa County precincts with relatively few voters.


F.2   The Bromberg Declaration’s theory about precinct size

59     The basis in the Bromberg Declaration for the claim that a relationship between precinct
size and Biden support is evidence of vote switching can be found on p. 8: “But one could also


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theorize the opportunity for cheaters to cheat in small precincts, where there may be less oversight.”
In other words, the Bromberg Declaration offers the theory that small precincts “may” have less
oversight and that “cheaters” take advantage of this.


60     There is no evidence in Bromberg Declaration that Maricopa County precincts with fewer
voters do in fact have less oversight; no evidence that election official staffing levels per voter are
lower in smaller precincts than they are in larger precincts; no evidence that the physical layout of
small precincts is different than the physical layout of large precincts; and in fact no evidence that
small precincts in Maricopa County differ in any way whatsoever from the county’s large precincts
except for the fact that the former have fewer voters.


61     There is no evidence in the academic literature on voter fraud reviewed earlier in favor of
the Bromberg Declaration’s “theory” that small precincts are susceptible to voter fraud. Moreover,
there are no citations in the Bromberg Declaration to peer-reviewed studies of the relationship
between precinct size and voter fraud.


62     It is well known that the political affiliations of voters are not uniformly distributed across
jurisdictions like counties. Some areas of counties (in particular, urban areas) have more Demo-
cratic voters, and other areas (those less urban), more Republican voters (e.g., Rodden, 2019).
If precinct size measured by numbers of voters is correlated geographically with political pref-
erences, this will induce a spurious relationship between precinct size and candidate vote shares
within precincts. Spurious relationships are not evidence of voter fraud.


63     In its discussion of precinct size and the “theory” that small precincts are relatively prone to
fraud, the Bromberg Declaration cites “An Electoral System in Crisis,” a webpage dating to 2016
that claims to be an analysis of the Wisconsin recount that took place four years ago. The authors
of this webpage argue that a relationship between precinct size and candidate vote totals indicates
the presence of “irregularities” but provide no evidence at all in favor of this assertion outside of an


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offhand comment that such a relationship is a “complete violation of the Law of Large Numbers.”


64      This assertion is nonsensical. The Law of Large Numbers in its standard form is a result in
probability theory which states that independent samples from a common population converge to
true population parameters as the number of observations increases. It is not clear in the Wisconsin
recount webpage what units are being sampled and whether these units are drawn from the same
population. The webpage’s invocation of the Law of Large Numbers does not make any sense.
The webpage does not provide any calculation that support its “complete violation” allegation –
just rhetoric.


65      In short, Bromberg Declaration asserts that a relationship between precinct size and Biden
vote share is indicative of fraud, but there is no reason whatsoever to believe this and no evidence
to support such a “theory.”


F.3    Whether small precincts are fraud-prone is irrelevant because Maricopa

       County used voting centers in the 2020 election

66      Regardless of whether there is any evidence behind it, the “theory” in the Bromberg Dec-
laration about precinct size and voter fraud is applicable to the study of Maricopa County in the
2020 election only to the extent that in-person voters in the county actually voted in their precincts.
In fact, they did not do this.


67      In the 2020 election, Maricopa County offered in-person voting at what are known as voting
centers. A voting center is a location at which any eligible voter in the county may cast an in-
person ballot. In particular, there were 175 voting centers in Maricopa County for the purposes of
in-person voting during the 2020 General Election.14
  14
   I downloaded the set of Maricopa County voting centers from http://web.archive.
org/web/20201104002036/https://recorder.maricopa.gov/pollingplacefiles/
VotingSitesSchedule.xlsx (last accessed December 4, 2020).




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68      The Maricopa County elections department informed the county’s voters that, “There are
no assigned locations” (bold in original) for voting in the 2020 election. See Appendix B, which
displays text from the Maricopa County elections office webpage.


69      Consequently, the author of the Bromberg Declaration has literally no idea where any of
the ballots attributed to the county’s precincts were actually cast. To make matters worse, the
author appears not even to distinguish between in-person votes and ballots mailed in or submitted
via drop boxes (and this distinction is in principle important insofar as the “theory” of voter fraud
in the Bromberg Declaration that connects precinct size and fraud does not make sense when
applied to votes not cast in-person).15 In short, the number of votes associated with any given
precinct in Maricopa County—and this is what is displayed in Figures 18 and 19 in the Bromberg
Declaration—has no implications for how many ballots were actually cast in said precinct and
thus, per the “theory” in the Bromberg Declaration, were ostensibly vulnerable to fraud.


70      I downloaded precinct returns for the 2020 General Election from the Maricopa County
elections department webpage.16 There were 744 unique precinct names used in the 2020 election.
Insofar as there were in this election 175 voting centers in Maricopa County, I know for certain
that there is not a one-to-one match between the precincts and voting centers (not to mention the
fact that the county’s webpage was explicit that voters could cast in-person ballots in any voting
center that they wished).


F.4    Precinct size and support for Democratic candidates

71      Figure 1 displays the relationship between precinct size (horizontal axis) and support for
Democratic candidates (vertical axis). Each point in the figure denotes a single precinct in Mari-
copa County. The figure’s left panel is for the United States presidential contest, and in this panel
  15
      Because the author of Bromberg Declaration has not, to the best of my knowledge, disclosed his computer code,
I cannot be entirely what he did to produce his Figures 18 and 19. However, the text of Bromberg Declaration refers
generically to precinct “size,” which I take to mean, the number of votes cast in the precinct.
   16
      These       returns       are       available      at     https://recorder.maricopa.gov/media/
ArizonaExportByPrecinct_110320.txt (last accessed December 3, 2020).


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Democratic vote share means, Joe Biden’s vote share. In Figure 1’s right panel, Democratic vote
share for the United State Senate race means, Mark Kelly’s vote share.

                                       Figure 1: Democratic candidate support and turnout by precinct

                                                  President                            United States Senate

                             100




                              75
     Democratic vote share




                              50




                              25




                               0

                                   0      2,500    5,000      7,500   10,000 0      2,500     5,000     7,500   10,000
                                                                       Turnout




72                           Both panels of Figure 1 have superimposed linear regression lines to ease interpretation.
These lines are sloped down, indicating that precincts in Maricopa County with greater voter
turnout had lower Biden vote share (left panel) and lower Kelly vote share (right panel).


73                           The key implication of Figure 1 is the similarly between its two panels. They are, evidently,
virtually identical. This suggests that the relationship between turnout and Democratic vote share
across Maricopa County precincts reflects established political preference in the county—not vote
switching that affected the 2020 presidential contest.


74                           More evidence to this effect is apparent in Figure 2, which plots Joe Biden and Mark Kelly
vote shares against each other. Each point in the figure is again a precinct where the size of each

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point is proportional to overall precinct turnout.

                   Figure 2: Joe Biden and Mark Kelly support rates by precinct


                                    100




                                    75
                    Kelly percent




                                    50




                                    25




                                      0

                                          0   25          50       75     100
                                                   Biden percent




75     Figure 2 has a dashed 45-degree line superimposed on it. Points above the line connote
precincts where Mark Kelly’s vote share was greater than Joe Biden’s; points below the line con-
note precincts where Joe Biden’s vote share was greater than Mark Kelly’s; and, points on the line
connote precincts where Joe Biden’s vote share was equal to Mark Kelly’s.


76     The points in Figure 2 show that precincts in Maricopa County where Joe Biden did well
(upper right of the figure) are also precincts where Mark Kelly did well. And, precincts in Mari-
copa County where Joe Biden did less well (lower left) are similarly precincts where Mark Kelly
did not do well. This clear regularity suggests that the relationship noted in the Bromberg Decla-
ration between precinct turnout and Biden vote share is spurious and has nothing to do with voter
fraud. Rather, the distribution of precincts across the county is such that smaller ones (namely,
those with lower turnout in the 2020 election) tended to be consistently Democratic. There is noth-

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ing anomalous about this correlation between political preferences and geography and nothing
irregular.



G      Allegations in the Bromberg Declaration of voter fraud

       beyond Arizona

77      Most of claims in the Bromberg Declaration do not directly concern Arizona, instead speak-
ing to alleged voter fraud in Georgia (pp. 4-5), Pennsylvania (pp. 5-6) and Milwaukee, Wisconsin
(pp. 6-8).


78      The number of fraudulent votes claimed in Bromberg Declaration is extensive. For exam-
ple, the Declaration claims “that 105,639 fraudulent Biden ballots were added between Wednesday
and Thursday of 11/05/2020 in Milwaukee alone” (p. 8). Total turnout in Milwaukee was 315,483
voters,17 meaning that the Bromberg Declaration asserts that roughly one-third of Milwaukee’s
ballots were contaminated by fraud. There is nothing remotely close to a result like this in the
literature on voter fraud that I have surveyed above.


79      None of what follows bears directly on the Bromberg Declaration’s discussion of Maricopa
County. However, the material below is nonetheless notable insofar as it shows that literally all
of the claims in the Declaration about voter fraud—and not simply those concerning Arizona—do
not follow from the analysis in the Declaration.


G.1     A model of voting and voter fraud

80      The Bromberg Declaration offers what its author calls two models of candidate vote share.
One model assumes that there is no voter fraud (see equation (2) in the Declaration) and the second
  17
    “SUMMARY REPORT,” City of Milwaukee Election Commission, December 6, 2020, https://city.
milwaukee.gov/election/ElectionInformation/ElectionResults (last accessed December 4,
2020).



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that there is a form of voter fraud in which a some votes are switched from one candidate to another
(see equation (3)). Henceforth I refer to a singular model in the Bromberg Declaration, by which I
mean both the no-fraud and fraud-based models mentioned in this paragraph.


81      Two key assumptions render the model in the Bromberg Declaration of no use in the study
of voter fraud.


G.2     An arbitrary assumption for the prior probability of fraud

82      Key to the technical exposition of the model in Bromberg Declaration is a parameter called
pF that denotes what is called the “prior probability of fraud.” Intuitively, this prior probability of
fraud is the probability of fraud in a jurisdiction that one would have assumed before (i.e., prior
to) an election.


83      The Bromberg Declaration assumes that pF = 0.01, meaning that there is a one percent
chance of vote switching in a jurisdiction (p. 3).


84      The Bromberg Declaration provides no explanation, no justification, and no citations for
its assumption about the likelihood of fraud. The number 0.01 is simply invented.


85      Sometimes scholars must make assumptions in their research. However, it is incumbent
on such researchers to explore the consequences of their assumptions and to see if their results
depend on a particular assumption or are robust to alternative assumptions. No such robustness
checks appear in the Bromberg Declaration. I cannot conduct any robustness checks because, to
the best of my knowledge, no computer code associated with the Declaration has been disclosed.
Thus, the arbitrariness of the prior fraud parameter in Bromberg Declaration undermines any value
that the model could have had.




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G.3     Changes in candidate support among absentee ballots do not constitute

86      Underlying the model in Bromberg Declaration is the implicit assumption that there is
no correlation between the timing of when a set of ballots was counted in November 2020 and
the presidential votes on these ballots. The model, when it encounters temporal changes in a
jurisdiction’s presidential candidate support (i.e., ten hours after polls closed on November 3, Joe
Biden’s support changes from 42 percent to 44 percent) attributes these changes to fraud.


87      Intuitively speaking, this is because the model does not allow for the possibility that ballot
counting is not completed uniformly across a jurisdiction, like a state. For example, the model rules
out (with the exception of fraud) the possibility that ballots counted in the immediate aftermath of
an election are different than those counted 24 hours later.


88      This assumption is contrary to what is known about contemporary American elections. In
particular, Foley (2013) and Foley and Stewart III (2020) document what they call a “blue shift”
in which a state’s presidential results shift in the days after an election in a Democratic direction.
The Bromberg Declaration is written as if the blue shift phenomenon simply does not exist.


89      The 2020 election was historic in its heavy use of mail-in ballots. However, Democrats
were more likely to vote via mail than Republicans, and this was known well before November
3.18 Give that some states counted absentee ballots in the days after November 3 (in particular
Pennsylvania), this feature of the 2020 election certainly exaggerated the blue shift compared to
what one would have expected had ballots been case in 2020 like they were in 2016.19


90      Ignoring the issue regarding the technical assumption about the prior fraud parameter noted
above, the results in the Bromberg Declaration about Georgia, Pennsylvania, and Milwaukee, Wis-
  18
     See “Huge Absentee Vote in Key States Favors Democrats So Far,” The New York Times, October 10, 2020, avail-
able at https://www.nytimes.com/2020/10/10/us/politics/early-voting-swing-states.
html (last accessed December 4, 2020).
  19
     On Pennsylvania, see “Why Pennsylvania is still counting votes after Election Day,” ABCNews, Novem-
ber 3, 2020, available at https://abcnews.go.com/Politics/pennsylvania-counting-votes-
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consin are not examples of fraud. They can be easily rationalized by the blue shift.


G.4    Concluding thoughts about analyses beyond Arizona

91     Earlier I noted that the part of Bromberg Declaration that engages states other than Arizona
does not bear directly on the claims made in this litigation. Nonetheless, I have now explained
that all the Declaration’s claims about voter fraud rest on false assumptions, either an assumption
about a “theory” relating precinct size and presidential vote share (no such theory exists) or an
assumption that when a ballot is counted is orthogonal to the presidential vote on it (which is
known not to be the case).


92     None of the claims in Bromberg Declaration about voter fraud—and not simply those con-
cerning Arizona—follow from the arguments made in the Declaration.



H     Conclusion

93     This report evaluates the contention in the Bromberg Declaration that there was voter fraud
in Maricopa County, Arizona in the 2020 presidential election.


94     The contention relies on a “theory” that does not exist and a misunderstanding of how in-
person voting proceeded in Maricopa County county this past November. Namely, the Bromberg
Declaration assumes that voters in the county cast in-person ballots in their precincts (of which
there were 744), but in reality they did not, voting in-person in voting centers (of which there
were 175). This misunderstanding of how Maricopa County voters cast ballots is a fatal flaw to
the Declaration’s analysis of the county, which was already flawed based on its reliance on a non-
existent theory. In short, Bromberg Declaration contains no evidence whatsoever that there were
any fraudulent ballots cast in Maricopa County in the 2020 General Election.




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95     The Bromberg Declaration also contains no evidence whatsoever that there were any fraud-
ulent ballots cast in Georgia, Pennsylvania, and the Milwaukee, Wisconsin. Its claims of voter
fraud in these locales rest on a faulty assumption that when a ballot is counted has no bearing on
the presidential candidate supported on it. In fact, it is known that ballots counted later in presiden-
tial elections tend to be Democratic, and this fact undermines the Bromberg Declaration’s analysis
of Georgia, Pennsylvania, and Milwaukee, Wisconsin.




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          “Post–Estimation Uncertainty in Limited Dependent Variable Models.” Political Analysis 8(1): 83–98.
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          “Measurement of Political Effects in the United States Economy: A Study of the 1992 Presidential
          Election” (with James Lavin, Donald Cram, and Jay Silver). Economics & Politics 11(1): 51–81. 1999.
          “The Influence of Family Regulation, Connection, and Psychological Autonomy on Six Measures of
          Adolescent Functions” (with Melissa R. Herman, Sanford M. Dornbusch, and Jerald R. Herting). Jour-
          nal of Adolescent Research 12(1): 34–67. 1997.

       Book chapters
          “Wait Times and Voter Confidence: A Study of the 2014 General Election in Miami-Dade County”
          (with Daniel A. Smith, Wendy Serra, and Joseph Bafumi). In Races, Reforms, & Policy: Implications of the
          2014 Midterm Elections, Christopher J. Galdieri, Tauna S. Sisco, and Jennifer C. Lucas, eds. Akron, OH:
          University of Akron Press. 2017.
          “A Dynamic Model of Multidimensional Collective Choice” (with David P. Baron). In Computational
          Models in Political Economy, Ken Kollman, John H. Miller, and Scott E. Page, eds. Cambridge, MA: The
          MIT Press. 2003.
          “Law and Data: The Butterfly Ballot Episode” (with Henry E. Brady, Walter R. Mebane Jr., Jasjeet
          Singh Sekhon, Kenneth W. Shotts, and Jonathan Wand). In The Longest Night: Polemics and Perspectives
          on Election 2000, Arthur J. Jacobson and Michel Rosenfeld, eds. Berkeley: University of California Press.
          2002.




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       Book reviews
          The Timeline of Presidential Elections: How Campaigns Do (and Do Not) Matter, Robert S. Erikson and
          Christopher Wlezien. Political Science Quarterly 128(3): 552-553. 2013.
          Voting Technology: The Not-So-Simple Act of Casting a Ballot, Paul S. Herrnson, Richard G. Niemi, Michael
          J. Hanmer, Benjamin B. Bederson, and Frederick C. Conrad. Review of Policy Research 25(4): 379-380.
          2008.

       Other publications
          “In two political battlegrounds, thousands of mail-in ballots are on the verge of be-
          ing rejected” (with Daniel A. Smith).      The Conversation, October 23, 2020.  Avail-
          able at https://theconversation.com/in-two-political-battlegrounds-thousands-
          of-mail-in-ballots-are-on-the-verge-of-being-rejected-148616.
          “Rejected mail ballots pile up in Florida” (with Daniel A. Smith). Tampa Bay Times, October 16, 2020.
          Available at https://www.tampabay.com/opinion/2020/10/16/rejected-mail-ballots-
          pile-up-in-florida-column.
          “Minor postal delays could disenfranchise thousands of Florida vote-by-mail voters” (with Daniel A.
          Smith). Tampa Bay Times, August 14, 2020. Available at https://www.tampabay.com/opinion/
          2020/08/14/minor-postal-delays-could-disenfranchise-thousands-of-florida-
          vote-by-mail-voters-column.

          “Want to know how many people have the coronavirus? Test randomly” (with Daniel N. Rockmore).
          The Conversation, April 13, 2020. Available at https://theconversation.com/want-to-know-
          how-many-people-have-the-coronavirus-test-randomly-135784.
          “If more states start using Ohio’s system, how many voters will be purged?” (with Daniel A. Smith).
          The Washington Post, Monkey Cage, June 17, 2018.

          “Do we have a right not to vote? The Supreme Court suggests we don’t” (with Daniel A. Smith). New
          York Daily News, June 12, 2018.
          “Nearly 4 million black voters are missing. This is why” (with David Cottrell, Javier M. Rodriguez,
          and Daniel A. Smith). The Washington Post, Monkey Cage, April 11, 2018.

          “We can’t find any evidence of voting fraud in New Hampshire” (with David Cottrell and Sean West-
          wood). The Washington Post, Monkey Cage, February 28, 2017.
          “We checked Trump’s allegations of voter fraud. We found no evidence at all” (with David Cottrell
          and Sean Westwood). The Washington Post, Monkey Cage, December 2, 2016.

          “High ballot rejection rates should worry Florida voters” (with Daniel A. Smith). Tampa Bay Times,
          October 28, 2012.
          “Logistic Regression.” The Encyclopedia of Political Science, George Thomas Kurian, James E. Alt, Simone
          Chambers, Geoffrey Garrett, Margaret Levi, and Paula D. McClain, eds., Washington, D.C.: CQ Press.
          2010.

          “Using XEmacs Macros to Process ASCII Data Files.” The Political Methodologist 13(2): 13–18. 2005.
          “Ohio 2004 Election: Turnout, Residual Votes and Votes in Precincts and Wards” (with Walter R.
          Mebane, Jr.), in “Democracy At Risk: The 2004 Election in Ohio,” report published by the Democratic
          National Committee. 2005.




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          “Poisson Regression.” The Encyclopedia of Social Science Research Methods, Alan Bryman, Michael Lewis-
          Beck, and Tim Futing Liao, eds. Thousand Oaks, CA: Sage Publications, 2003.
          “Pork barrel race to the bottom” (with Brett A. Theodos). Illinois Issues 29(2): 22–23. 2003.
          “Teaching Introductory Probability Theory.” The Political Methodologist 10(2): 2–4. 2002.

          “Ballot cost Gore thousands of votes” (with Henry E. Brady and Jonathan N. Wand). The San Diego
          Union–Tribune, p. G3, November 19, 2000.


       Work in progress
          “Residual votes in the 2020 election in Georgia” (with David Cottrell, Felix E. Herron, and Daniel A.
          Smith).
          “Vote-by-mail ballot rejection and experience with mail-in voting” (with David Cottrell and Daniel A.
          Smith).
          “Did ballot design oust an incumbent senator? A study of the 2018 midterm election in Florida” (with
          Michael D. Martinez and Daniel A. Smith).


       Awards
          Best Paper Award, State Politics and Policy Section, 2013 Annual Meeting of the American Political
          Science Association. Getting Your Souls to the Polls: The Racial Impact of Reducing Early In-Person Voting
          in Florida (with Daniel A. Smith).


       Grants
          Committee for Scholarly Innovation and Advancement Awards, Dartmouth College, February, 2014.
          Project title: “The Dynamics of Voting Lines in Miami-Dade County.” Financial support: $32,000.
          The Rockefeller Center for Public Policy and the Social Sciences, Dartmouth College, May, 2006. Project
          title: “Large Scale Survey of Americans in Multiple Congressional Districts.” Financial support: $8,500.

          National Science Foundation, SES-041849, July, 2004. Project title: “A Ballot-Level Study of Intentional
          and Unintentional Abstention in Presidential Election Voting.” Financial support: $65,749.
          Nelson A. Rockefeller Center for the Social Sciences, Dartmouth College, January, 2004. Project title:
          “Intentional Invalid Votes in Leon County, Florida.” Financial support: $1,115.

          American Enterprise Institute, August, 1999. Project title: “Tenure in Office and Congressional Voting”
          (with Kenneth W. Shotts). Financial support: $182,500.
          University Research Grants Committee, Northwestern University, February, 1999. Project Title: “Rep-
          resentation, Policy Uncertainty, and Divided Government.” Financial support: $4,087.

          Stanford University Graduate School of Business, 1997–1998 Academic Year. Dissertation Research
          Grant.




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       Recent conference presentations
          “Ballot design, voter intentions, and representation: A study of the 2018 midterm election in Florida,”
          2019 Annual Meeting of the American Political Science Association, Washington, DC.

          “Ballot design, voter intentions, and representation: A study of the 2018 midterm election in Florida,”
          Election Sciences, Reform, and Administration conference, 2019, University of Pennsylvania.
          “Did ballot design oust an incumbent senator? A study of the 2018 midterm election in Florida,”
          Congressional Elections & the Presidency: Politics in 2018, March 30, 2019, Saint Anselm College,
          Manchester NH.
          “Estimating the Differential Effects of Purging Inactive Registered Voters,” 2018 Annual Meeting of the
          American Political Science Association, Boston MA.
          “Estimating the Differential Effects of Purging Inactive Registered Voters,” Election Sciences, Reform,
          and Administration conference, 2018, University of Wisconsin-Madison.

          Keynote address, “Mortality, Incarceration, and African-American Disenfranchisement,” Balancing the
          Scales: The United States in an Age of Inequality, November 11, 2016, John F. Kennedy Institute, Freie
          Universität Berlin.
          “Missing Black Men and Representation in American Political Institutions,” 2016 Annual Meeting of
          the Midwest Political Science Association, Chicago, IL.




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       Michael C. Herron                                                                                  8


       Invited seminars

        University of Iowa, 1999                    University of Mannheim, 2011
        Boston University, 2000                     University of Heidelberg, 2011
        Dartmouth College, 2000                     University of Passau, 2012
        Harvard University, 2000                    University of Göttingen, 2012
        University of Minnesota, 2000               Freie Universität Berlin, 2012
        University of Rochester, 2000               Laval University, 2012
        University of Wisconsin, Madison, 2000      University of Montreal, 2012
        Yale University, 2000                       Middlebury College, 2013
        Columbia University, 2001                   University of Illinois, Champaign, 2013
        University of California, Berkeley, 2002    University of Illinois, Chicago, 2013
        University of Illinois, 2002                University of Wisconsin, Madison, 2013
        Brown University, 2003                      Yale University, 2014
        Temple University, 2003                     University of Virginia, 2015
        University of Chicago, 2003                 University of California, San Diego, 2015
        New York University, 2004                   American University, 2015
        Princeton University, 2004                  Massachusetts Institute of Technology, 2015
        University of Michigan, 2005                Princeton University, 2015
        George Washington University, 2006          University of California, Los Angeles, 2016
        Emory University, 2006                      The Ohio State University, 2016
        Harvard University, 2007                    Freie Universität Berlin, 2016
        Loyola Law School, 2007                     Deutsch-Amerikanisches Institut, Nürnberg, 2017
        Columbia University, 2007                   Universität Bonn, 2018
        University of Chicago, 2007                 Freie Universität Berlin, 2018
        Yale University, 2007                       Northwestern University, 2018
        Stanford University, 2008                   University of Pittsburgh, 2019
        Columbia University, 2008                   University of Salzburg, 2019
        Northwestern University, 2008               Universität Bonn, 2019
        Princeton University, 2008                  Freie Universität Berlin, 2019
        Duke University, 2009                       Humboldt University, 2019
        Hertie School of Governance, 2010           University of North Carolina, Charlotte, 2019
        Emory University, 2010


       Professional activities
          Division Chair, Representation and Electoral Systems, 2017 Annual Meeting of the Midwest Political
          Science Association.
          Associate Editor, Research & Politics. November, 2016–present.
          Editorial Board, American Politics Research, September, 2015–present.
          Editorial Board, Political Analysis, January, 2010–present.
          Editorial Board, USENIX Journal of Election Technology and Systems, March 2013–June 2016.
          Editorial Board, American Political Science Review, 2010–2012.
          Editorial Board, American Journal of Political Science, 2006–2009.
          “Race, Voting Procedures, and New Developments in Voting Rights,” panel organized for the 2013
          Annual Meeting of the Midwest Political Science Association.




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          Division Chair, Formal Theory, 2007 Annual Meeting of the American Political Science Association.
          Co-editor, The Political Methodologist, Fall 2004–Spring 2006.
          Publications Committee, Society for Political Methodology, 2005–2006, 2015–present.


       Dartmouth College activities
          Chair, American Politics Search Committee, Department of Government, August 2018–March 2019.

          Chair, Committee on Priorities, July 2015–June 2016.
          Committee on Priorities, July 2013–June 2015, Fall 2019–present.
          American politics search committee, Department of Government, August 2014–December 2014.

          Research Computing Director search committee, October 2013–October 2014.
          Senior Search Committee, Department of Government, 2013.
          Research Computing Advisory Committee, Spring 2013.
          Chair, American Politics Search Committee, Department of Government, 2012-2013.

          Recruitment Planning Committee, Department of Government, 2010 and 2012-2013.
          Committee on Standards, 2008-2010.
          Task Force on Collaboration and Social Software, 2007-2008.

          Biostatistics search committee, Dartmouth Medical School, 2006-2007.
          Research Computing Oversight Committee, 2006.
          Council on Computing, 2005-2007.
          Clement Chair search committee, Department of Government, 2005-2006.


       Northwestern University activities
          Program Committee, Mathematical Methods in the Social Sciences, 2001-2002.
          American Politics Search Committee, Department of Political Science, 2000–2001, 2001-2002.
          Formal Theory Search Committee, Department of Political Science, 1997–1998.


       Teaching interests
          Statistical methods: introductory and applied statistics, research design, computing in R.

          American politics: representation, election irregularities, election administration.
          Political economy: game theory.




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       Michael C. Herron                                                                                        10


       Reviewer for

        American Journal of Political Science                       Political Behavior
        American Political Science Review                           Political Research Quarterly
        American Politics Quarterly                                 Political Science Quarterly
        American Politics Review                                    Political Science Research and Methods
        British Journal of Political Science                        Political Studies
        Cambridge University Press                                  Politics & Gender
        Chapman & Hall                                              Politics, Groups, and Identities
        Congress & the Presidency                                   Polity
        Du Bois Review                                              Prentice Hall Higher Education Group
        Economics & Politics                                        Proceedings of the National Academy of Sciences
        Election Law Journal                                        Public Administration
        Electoral Studies                                           Public Choice
        Emerging Markets Finance & Trade                            Public Opinion Quarterly
        Interest Groups & Advocacy                                  PS: Political Science and Politics
        Int’l Journal of Environmental Research and Public Health   Quarterly Journal of Economics
        John Wiley & Sons, Inc.                                     Quarterly Journal of Political Science
        Journal of Legal Studies                                    Race and Social Problems
        Journal of Money, Credit and Banking                        Science Advances
        Journal of Politics                                         The Social Science Journal
        Journal of Public Economics                                 Social Science Quarterly
        Journal of Race, Ethnicity, and Politics                    Sociological Methods & Research
        Journal of Theoretical Politics                             The Sociological Quarterly
        Journal of Women, Politics & Policy                         Springer
        Legislative Studies Quarterly                               State Politics & Policy Quarterly
        The National Science Foundation                             Time-Sharing Experiments for the Social Sciences
        Nonprofit Policy Forum                                      The University of Michigan Press
        Perspectives on Politics                                    W. W. Norton & Company
        Policy Studies Journal                                      World Politics
        Political Analysis


       Foreign language
       German: C1 (telc Prüfung, Ausstellung July 27, 2017).


       Other employment
          Intelligence Analyst and Military Officer, United States Air Force, Foreign Technology Division,
          Wright–Patterson Air Force Base, 1989–1992.



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B     Maricopa County description of voting center

96     This appendix displays part of the Maricopa County elections department page that
explains to eligible voters that they can vote in any voting center in the county. The source of this
image is http://web.archive.org/web/20201104002036/https:
//recorder.maricopa.gov/pollingplace/ (last accessed December 4, 2020).



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